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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                CASE NO. 08-md-01916

        IN RE: CHIQUITA BRANDS,                West Palm Beach, Florida
        INTERNATIONAL, INC.,
        ALIEN TORT STATUTE AND                   April 29, 2024
        SHAREHOLDERS DERIVATIVE
                                                 9:56 a.m. - 4:53 p.m.

                                           Volume 4
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                                 JURY TRIAL DAY 4
                       BEFORE THE HONORABLE KENNETH A. MARRA
                           UNITED STATES DISTRICT JUDGE

        APPEARANCES:

        FOR THE PLAINTIFF(S):      JOHN SCAROLA
                                   VICTORIA MESA-ESTRADA
                                   BORIS ZHADANOVSKIY
                                   MARIANO GARCIA
                                   Searcy Denney Scarola Barnhart & Shipley
                                   2139 Palm Beach Lakes Boulevard
                                   West Palm Beach, FL 33402-3626
                                   _scarolateam@searcylaw.com
                                   vmestrada@searcylaw.com

                                   MARCO SIMONS
                                   MARISSA VAHLSING
                                   RICHARD L. HERZ
                                   WYATT GJULLIN
                                   EarthRights International
                                   1612 K. Street, NW
                                   Suite 800
                                   Washington, DC 20006
                                   marco@earthrights.org
                                   marissa@earthrights.org
                                   rick@earthrights.org
                                   wyatt@earthrights.org

                                   JONATHAN C. REITER
                                   Jonathan C. Reiter Law Firm, PLLC
                                   350 Fifth Avenue
                                   Suite 6400
                                   New York, NY 10118
                                   jcreiter@jcreitlerlaw.com
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        APPEARANCES: (Continued)

        FOR THE PLAINTIFF(S):      WILLIAM ROBERT SCHERER, III
                                   Conrad & Scherer, LLP
                                   633 S. Federal Highway
                                   4th Floor
                                   Fort Lauderdale, FL 33301
                                   wrs3@conradscherer.com

                                   ERIC JAMES HAGER
                                   Conrad & Scherer LLP
                                   Edificio Officenter, Oficina 304
                                   Avenida Pampite S/N y Chimborazo -
                                   Cumbay
                                   Quito 170901
                                   ehager@conradscherer.com

                                   TERRENCE P. COLLINGSWORTH
                                   Conrad & Scherer, LLP
                                   1156 15th Street, NW, Suite 502
                                   Washington, DC 20009
                                   tc@iradvocates.org

                                   NICHOLAS J. JACQUES
                                   Cohen Milstein
                                   1100 Fifth Floor
                                   Washington, DC 20005
                                   njacques@cohenmilstein.com

                                   LESLIE KROEGER
                                   Cohen Milstein Sellers & Toll PLLC
                                   11780 US Highway 1, Suite 500N
                                   Palm Beach Gardens, FL 33408-3042
                                   lkroeger@cohenmilstein.com

                                   JAMES KELLOGG GREEN
                                   James K. Green
                                   222 Lakeview Avenue
                                   Suite 1650 Esperante
                                   West Palm Beach, FL 33401
                                   jkg@jameskgreenlaw.com
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        FOR THE PLAINTIFF(S):      WILLIAM J. WICHMANN
                                   12 SE 7th Street
                                   Suite 609
                                   Fort Lauderdale, FL 33301
                                   Email: wwichmann@me.com

        FOR THE DEFENDANT(S):      MICHAEL L. CIOFFI
                                   FRANK A. DANTE
                                   MELISSA FUNDORA-MURPHY
                                   SERENA GOPAL
                                   MICHAEL STOOLMAN
                                   Blank Rome Comisky & McCauley LLP
                                   1700 PNC Center
                                   201 E. Fifth Street
                                   Cincinnati, OH 45202
                                   cioffi@blankrome.com
                                   dante@blankrome.com
                                   mfmurphy@blankrome.com
                                   serena.gopal@blankrome.com
                                   michael.stoolman@blankrome.com

        REPORTED BY:               JILL M. WELLS, RMR, CRR, CSR
                                   Official Court Reporter
                                   400 N. Miami Avenue
                                   Miami, FL 33128
                                   jill_wells@flsd.uscourts.gov
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   1    (Case called to order of the court at 9:56 a.m.)

   2               THE COURT:    Good morning.   Please be seated.     We have

   3    got, I believe -- I don't know if all the jurors -- prospective

   4    jurors are here yet or not.      But they are close.

   5               Before we get started with them, I had -- I believe

   6    before we left on Friday, I suggested that the parties see if

   7    they can agree on some of the cause -- prospective cause

   8    challenges.

   9               I got a submission, I guess it was this morning, from

  10    Chiquita outlining some of the cause challenges that they

  11    thought were justified based upon the questionnaires that we

  12    received from the jurors.      I don't know if there is any

  13    discussion with the plaintiffs about those challenges, whether

  14    there's any agreement as to any of them.

  15               MR. CIOFFI:    Judge, there has not been a discussion.

  16    We were just able to pull the list together this morning

  17    shortly before we sent it out, which is why we put, for each

  18    juror, the specific reasons and tried to make it as clear as

  19    possible.

  20               THE COURT:    Mr. Scarola, I don't know who is handling

  21    that aspect of it.

  22               MR. SCAROLA:   I am, your Honor.     Thank you.

  23               Your Honor, we had attempted to obtain this

  24    information from Chiquita starting on Friday, and we received

  25    Chiquita's list the same time your Honor did this morning.
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   1               We are not prepared, because we haven't had the

   2    opportunity to review that, to stipulate that any of the jurors

   3    Chiquita is challenging on the basis of questionnaire responses

   4    should be excused.

   5               We would like an opportunity to be able to talk to

   6    them to gauge the responses that they have to your Honor's

   7    questions.

   8               THE COURT:   All right.    I understand you got their

   9    response -- or their suggested challenges this morning, but

  10    wasn't it obvious for some of them that you needed to hear from

  11    them before you could look through them and say, gee, this

  12    looks like a potential problem?       As a matter of fact, I thought

  13    you quoted one to me on Friday afternoon.

  14               MR. SCAROLA:   The one who said "absolutely."       Yes.

  15               THE COURT:   But that one needs to stay in.

  16               MR. SCAROLA:   No, sir.    All I am telling your Honor

  17    is -- and I don't think that the "absolutely" quote appears in

  18    what we received this morning, but I only had an opportunity to

  19    look at it very briefly.

  20               It may be that we are able to stipulate to excusing

  21    some of these jurors, but having just received it this morning

  22    in spite of repeated efforts over the course of the weekend to

  23    try to get it earlier -- we just got it this morning.          I

  24    haven't had a chance to talk to my co-counsel about it.            And as

  25    your Honor knows, I am not lead counsel.        I am liaison counsel.
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   1    I am the spokesperson on behalf of that very esteemed group.

   2               THE COURT:   Mr. Scarola, we don't need to -- I am just

   3    pointing out that seems like some of them are pretty obvious.

   4               MR. SCAROLA:   I would think --

   5               THE COURT:   That's my only point.     And I thought you

   6    might -- you and your esteemed colleagues over here for whom

   7    you are not lead counsel but liaison counsel, might have

   8    discussed one or two of them.       But okay.

   9               We will go through it.     We will bring every one of

  10    these individuals sidebar.      We will take the time to have to go

  11    over their responses saying, "I hate big corporations because

  12    they cheat people and they cheat -- and they cheat their

  13    workers," and say, "Well, even though you said that, do you

  14    think you could be fair?"       We will go through that whole

  15    process with everyone.

  16               MR. SCAROLA:   I hope to be able to save the court that

  17    trouble with regard to some of these individuals before they

  18    are actually called up.

  19               THE COURT:   Okay.    All right.   Thank you.   So I guess

  20    we have nothing other than bringing them up.        And we will go

  21    through the process.

  22               While we are waiting for the jurors to come up, is

  23    Ms. Mesa-Estrada here?     You are the one who has been dealing

  24    with the deposition designations, I believe.

  25               MS. MESA-ESTRADA:     To the best of my ability, yes,
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   1    your Honor.

   2               THE COURT:   Okay.   All right.    And I believe yesterday

   3    I got -- or through my courtroom deputy -- an email from you

   4    regarding some deposition designations that you hadn't yet

   5    received.

   6               MS. MESA-ESTRADA:    Correct, your Honor.

   7               THE COURT:   In particular, Mr. Ordman.      You said you

   8    hadn't gotten Mr. Ordman's ATA deposition designations yet.

   9               MS. MESA-ESTRADA:    Correct, your Honor.

  10               THE COURT:   Okay.   And I received from you on April 10

  11    a list of all of the deposition designations that you wanted,

  12    and I asked to prioritize them so I can do the ones you were

  13    going to present first so I could do them as you were going to

  14    be presenting them.

  15               On your list was Mr. Ordman, and in parentheses, after

  16    Mr. Ordman's name, it said "2018 depo," which was the ATS depo.

  17    You didn't ask for the ATA depo, which was taken in another

  18    year.

  19               So just to let you know by way of explanation, you

  20    haven't gotten it because you didn't tell me you wanted it

  21    until yesterday.     So --

  22               MS. MESA-ESTRADA:    I stand corrected, your Honor.      I

  23    apologize.

  24               THE COURT:   I still, as far as I know, don't have

  25    Carlos Arrieta's deposition transcript.        I don't know if I have
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   1    that or not.    I don't think I do, but if I -- if you think I

   2    have it already, let me know.

   3               MS. MESA-ESTRADA:    Absolutely, your Honor.     I will

   4    double-check right now.

   5               MR. SCAROLA:   Your Honor, may we address the Fernando

   6    Aguirre issue?

   7               THE COURT:   Is he the one who is the --

   8               MR. SCAROLA:   He is one who has moved through counsel

   9    to quash his subpoena served on him in the St. Augustine area.

  10               THE COURT:   Well, if you are going to agree to not

  11    enforce the subpoena, yes; but if you are not, his counsel is

  12    not here, so I don't want to --

  13               MR. SCAROLA:   I am going to agree to the motion to

  14    quash, assuming that that gives us the opportunity to be able

  15    to use his deposition testimony.       I don't want to face an

  16    argument that:    The motion to quash should have been denied; he

  17    is therefore available; you are not able to use his deposition.

  18               We are prepared to use his depo, but we don't want to

  19    face an argument from Chiquita that we are not permitted to use

  20    his depo.

  21               THE COURT:   Okay.   That sounds perfectly reasonable.

  22               MR. SCAROLA:   I am glad I finally hit one.

  23               MR. DANTE:   Your Honor, that's acceptable to Chiquita.

  24               THE COURT:   Okay.

  25               MR. SCAROLA:   Thank you.    Then there is no need for us
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   1    to respond beyond informing the court that we will let

   2    Mr. Aguirre know that we do not oppose his motion to quash the

   3    subpoena.

   4               THE COURT:    Then if someone can call his counsel so

   5    that they know.     Rather than contacting him directly, if you

   6    can contact just his counsel.

   7               MR. SCAROLA:   We will do that through counsel, your

   8    Honor.

   9               THE COURT:    All right.    Thank you.   Anything else we

  10    want to take up while we are waiting?

  11               MR. SCAROLA:   May I have an opportunity to poll the

  12    jury?

  13               THE COURT:    Mr. Cioffi, is there anything you think we

  14    need to talk about while we have a chance?

  15               MR. CIOFFI:    We probably should deal with this during

  16    a break, Judge.     But the interpreter sitting next to our

  17    counsel table is disruptive.        So could we -- we could work this

  18    out with Irene, but maybe we will find another table off to the

  19    side or something like that.

  20               THE COURT:    She's disruptive in what sense?

  21               MR. CIOFFI:    The sound, plus we need to put people

  22    there during the course of the trial.

  23               THE COURT:    Okay.

  24               THE INTERPRETER:      Your Honor, my apologies.   The

  25    interpreter equipment is here.
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 1               THE COURT:    I'm sorry.    I'm having trouble hearing.

 2               THE INTERPRETER:      Your Honor, my apologies for the

 3     interruption.    I just wanted to mention that the interpreter's

 4     table is here.    So unless you want to move the equipment -- and

 5     I don't mean to be disruptive.       However your Honor would wish

 6     to handle this.

 7               THE COURT:    I am having a great deal of difficulty

 8     hearing what you are saying.       But I understand you are

 9     apologizing and you said the interpreter's table is right

10     there.

11               THE INTERPRETER:      Exactly, the equipment.

12               THE COURT:    Okay.   I guess we will try and deal with

13     it.

14               MR. CIOFFI:    We will work it out during a break with

15     Irene and the Marshals perhaps, Judge.

16               THE COURT:    Okay.   I don't think the Marshals will

17     need to be involved, but...

18               MR. CIOFFI:    Judge, in terms of the argument for

19     cause, just logistically, I know you are going to question them

20     at sidebar.    Are you going to question those on our list first

21     or as they --

22               THE COURT:    As we get to them.     Okay.   I don't want

23     to -- let's just do them as we get to them.        Okay?

24               MR. CIOFFI:    Understood.    Just to alert the court, the

25     first one is number 1.
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 1               THE COURT:    I saw Ms. Wolff's statement when she --

 2     whenever it was, last Wednesday.       So I don't know if you were

 3     made aware, but two of the jurors from the first day, after

 4     they left, they contacted Ms. Ferrante and told them they would

 5     only get paid for two weeks -- well, one was two weeks, and one

 6     was five days of jury service.

 7               So that was Jurors Number 16 and 24.        Sixteen said she

 8     would only get paid for two weeks; and 24, five days.          So that,

 9     as we have done with everyone else, if they tell us that that's

10     a hardship for them financially, I will be in inclined to

11     excuse them.

12               MR. CIOFFI:    Are you going to excuse them when they

13     come up or --

14               THE COURT:    You know, I don't like excusing people in

15     front of the entire panel when they give a specific answer that

16     might prompt others to chime in and get on board.         So probably

17     not.   I will probably wait.

18               A few of the jurors mentioned that they wanted

19     corporations to keep jobs here in the United States, rather

20     than having them overseas.      And is it accurate if I say to

21     those jurors, well, bananas aren't produced in the

22     United States, so if a company wants to produce bananas, they

23     have to use workers in other parts of the world because they

24     don't -- you can't -- there is no -- it's not the right climate

25     to produce bananas in the United States?        Is that an accurate
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 1     statement?    Or if I use that as a way of seeing if that would

 2     assuage their concern on that issue, is that true?

 3               MR. CIOFFI:    It's true, Judge, that bananas are not

 4     grown in the United States.      It's not far enough south.      But my

 5     concern is that if we have to explain away and put on

 6     additional evidence and satisfy them over and over again, it's

 7     really an unfair burden.

 8               THE COURT:    I just want to know if that's an accurate

 9     statement.

10               MR. CIOFFI:    It's an accurate statement.

11               THE COURT:    Okay.   Do the plaintiffs disagree on that?

12               MR. SCAROLA:    No, your Honor.     We do agree.    Testimony

13     is that there is a latitudinal limit for where bananas may be

14     grown north and south of the equator, and the entire

15     United States is outside that limit.

16               THE COURT:    Thank you.     Are we ready?

17               THE DEPUTY CLERK:     Yes.

18               THE COURT:    All right.     Let's bring the jurors in,

19     please.   You may want to change your -- move your chairs.

20               (The panel of prospective jurors entered the courtroom

21     at 10:13 a.m.)

22               THE COURT:    Good morning, ladies and gentlemen.

23     Welcome back.    Thank you again for being with us this morning

24     and for your willingness to be considered to serve on the jury

25     in this case.
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 1               We appreciate, again, your willingness to make a

 2     sacrifice to be with us today.       For those of you who have

 3     indicated you might be able to serve for the entire time that

 4     we may need you, again, we thank you for that willingness.

 5               You are still under oath, and we are going to question

 6     you further based upon the answers you have given us in the

 7     questionnaire.    And the lawyers may have some further questions

 8     for you after I have finished speaking to you.

 9               But before we begin that process, has anyone read or

10     heard anything about this case since you last were with us,

11     whether it was Wednesday, Thursday, or Friday of last week?

12     Has anyone read or heard anything about this case?

13               Okay.   I don't see any hands.      Very well.

14               I will reemphasize, to the extent that you are still

15     involved in the case, if it goes past today, you cannot read or

16     hear or listen to any news reports or any other reports about

17     the case.    So please refrain or avoid any news reports or media

18     reports about the case.      And you are required not to conduct

19     any independent research and go on the Internet and try and

20     learn anything about this case.

21               So last week when we were together, we were -- we

22     didn't get real specific about the subject matter of this case,

23     and I want to just give you a very brief description of what is

24     involved in the case so you have an understanding of some of

25     the questions that might be posed to you and some of the
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 1     questions that were on the questionnaire as well.

 2               Again, this is just a very brief description.         If you

 3     are selected to be on the jury, you will get a lot more

 4     specific information regarding the case and the respective

 5     parties' positions regarding the claims in this case.          But,

 6     again, very briefly.

 7               The plaintiffs, the individuals who have brought the

 8     lawsuits here, are relatives of persons who they allege were

 9     killed in the South American country of Colombia by a group

10     called the Autodefensas Unidas de Colombia.        Please excuse my

11     poor Spanish translation or accent there.        But this group is --

12     you will hear throughout the case is referred to as AUC.

13               Defendant Chiquita is a company that produces and

14     distributes bananas, and during the relevant time period,

15     Chiquita had business operations in Colombia.

16               The plaintiffs claim that Chiquita knowingly provided

17     substantial assistance to the AUC in the form of cash payments

18     and other support to a degree sufficient to create a

19     foreseeable risk of harm to others, including the plaintiffs'

20     relatives.

21               Chiquita denies these claims.       First, Chiquita claims

22     that plaintiffs are unable to prove that the AUC killed their

23     relatives, and Chiquita further asserts that any payments it

24     made to the AUC were not voluntary but, rather, made under

25     threat of injury or death to its own employees and
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 1     representatives in Colombia.

 2                So that's, very briefly, what the case is about.        And

 3     so with that knowledge, I am going to ask on a row-by-row

 4     basis, is there anyone in the first row who, based upon that

 5     just brief description of what this case is about, would feel

 6     that you could not be fair and impartial in sitting as a juror

 7     in this particular case, just based upon that description that

 8     I gave you?    Anyone in the first row who feels you have any

 9     concern?

10                All right.   I just want you to raise your hand.        I

11     don't want to discuss it with you.       I just want to find out who

12     might have a problem.     We will discuss that with you further

13     later.

14                Ms. Wolff, that might be a problem for you?

15                THE PROSPECTIVE JUROR:     Yes.

16                THE COURT:   Okay.   Thank you.    Anyone else in that

17     first row?    Is that Juror Number 14?

18                That might be a problem for you?

19                THE PROSPECTIVE JUROR:     Yes.

20                THE COURT:   Ms. Cifuentes Tellez?

21                THE PROSPECTIVE JUROR:     Tellez.

22                THE COURT:   I'm sorry.    I keep making that same

23     mistake.

24                THE PROSPECTIVE JUROR:     That's all right.    Don't

25     worry.
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 1               THE COURT:    Anyone else in that first row?      Juror 17,

 2     and that is Ms. Zesut.       Thank you.

 3               Again, we will talk to you about that in more detail

 4     separately from the others.

 5               Anyone else in that row first?

 6               Okay.   How about the second row?      Anyone in the second

 7     row, based upon the description of the case that I just gave

 8     you, that might affect your ability to be fair and impartial in

 9     deciding a case involving those issues?

10               I don't see anyone in the second row that has given

11     that indication.

12               How about the third row?        Anyone in the third row

13     feels that based upon the description of the case I just gave

14     you, that you might have -- you might not be able to be a fair

15     and impartial juror in deciding the case?

16               Fourth row?    Anyone in the fourth row feels that way?

17     I'm sorry, Juror Number 90.       Hold on.   Let me get number 90.

18     That's Ms. Brush?     Yes?   Correct?

19               THE PROSPECTIVE JUROR:      Yes.

20               THE COURT:    Okay.   Then Juror 97, Negron, correct?

21               THE PROSPECTIVE JUROR:      Correct.

22               THE COURT:    And Juror 113, that's Ms.      Lindor-Jean.

23     That may be a problem for you?       Yes?

24               THE PROSPECTIVE JUROR:      Uh-huh.

25               THE COURT:    Juror 104, Ms. Halim.
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 1               Anyone else in that row?

 2               How about the next row?      Anyone in the next row?

 3     Juror 139.    Karen Huebbers.

 4               Anyone else in the last row?       Okay.

 5               Thank you.    We will speak to you more -- in more

 6     detail later about how you feel about the case and why you

 7     might not be able to be fair based upon that description.

 8               Now, the plaintiffs in this case are going to be

 9     asking -- they are going to ask you to find that Chiquita is

10     responsible financially for the harm that these individuals

11     suffered, and they are going to be asking you to award monetary

12     damages for them, for the harm.       And the amount of money that

13     they are going to probably be seeking from you is going to be

14     significant, very significant, large amounts of money.

15               Is there anyone in the first row who feels that there

16     is a limit on how much money you would award in a case

17     regardless of what the evidence might show or be presented?           Is

18     there any limit in your mind that you could say, oh, I would

19     never award an amount of money in excess of a certain amount,

20     regardless of the evidence?      Anyone in the first row that has,

21     in your mind, a limit on how much money you would award in a

22     lawsuit to a plaintiff?      Anyone has a limit?     Okay.

23               No one in the first row.

24               How about the second row?      Is there anyone in the

25     second row who thinks in your mind, there is a limit on how
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 1     much money I would award to a plaintiff if the plaintiff proved

 2     the case and presented evidence that, in your mind, justified

 3     an award of damages of a significant amount?        Is there any

 4     limit on how much you might award in your mind?         In the second

 5     row?

 6               How about the third row?      Is there anyone in the third

 7     row who feels like, regardless of the evidence that's

 8     presented, there is a limit on how much damages I might award

 9     to a plaintiff who proves his or her case?        No.

10               How about the next row?      Anybody -- any prospective

11     jurors feel in your mind that there is a limit on how much

12     damages you might award to a plaintiff, regardless of what the

13     evidence was that was presented in the case?        I don't see

14     anyone who has indicated they would have a -- place a limit.

15               All right.    I'd like to speak to some of you

16     individually because of some of the responses that you have

17     given us in your questionnaires.

18               And, Ms. Wolff, would you mind coming up here to the

19     side of the bench here.      We are going to talk to you separately

20     about some of the information you have given us.         If I can have

21     counsel join us up here.

22               (Thereupon, the following was heard sidebar.)

23               THE COURT:    We are trying to shortcut some of the

24     questioning if you think it might not be necessary.         So if you

25     can give us a minute.     Can we dispense with speaking to
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 1     Ms. Wolff?

 2               MR. SCAROLA:    No.   All but.

 3               THE COURT:    All but.   Okay.     Got you.   All right.

 4               MR. SCAROLA:    I will also need that for just a minute

 5     to take down the numbers.

 6               THE COURT:    Come over here, Ms. Wolff.

 7               (Prospective Juror Wolff approaches bench.)

 8               So thank you again for being with us.         So I want to

 9     ask you a few questions about, one, you mentioned that based on

10     the description of the case, that you think you might not be

11     able to be fair.

12               THE PROSPECTIVE JUROR:      Yes.

13               THE COURT:    Can you tell us why?

14               THE PROSPECTIVE JUROR:      Mostly because of the big

15     agriculture aspect of Chiquita.       I know this might sound kind

16     of weird, but my husband and I were very involved when we lived

17     in California with farmers and also when we lived in Illinois.

18     We named all our kids after farmers from small farms.

19               And we've kind of had this philosophy our whole

20     20-plus-year relationship of how, kind of, food has gotten too

21     big, and how we need to focus more on small farms and the

22     sustainability of the planet and that.        And just, like, the

23     chemicals that they companies use are wrecking the planet, our

24     food, our bodies.     We just really have had this whole

25     philosophy.    So I don't think I could be impartial because I am
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 1     kind of against it philosophically to begin with.

 2               THE COURT:    Now, do you know anything about how

 3     Chiquita operates its businesses and how it grows its bananas?

 4               PROSPECTIVE JUROR:     No, I really don't.     I mean, I

 5     know it's not Monsanto, but I can't imagine that such a big

 6     operation doesn't use harmful chemicals, maybe bad hiring

 7     practices.    You know, there's something that is not -- I really

 8     don't -- philosophically --

 9               THE COURT:    Okay.   You think that you'd carry those

10     feelings into this case if you are on the jury?

11               THE PROSPECTIVE JUROR:      I think I would.    I really do.

12               THE COURT:    You think you would have a hard time

13     putting those feelings aside and listening to the evidence in a

14     fair --

15               THE PROSPECTIVE JUROR:      I really do believe I would.

16     I think on a very core level, I am just against big

17     agriculture.

18               THE COURT:    Okay.   All right.    Let me just ask you

19     about some of the answers you gave on the questionnaire.

20               THE PROSPECTIVE JUROR:      Sure.

21               THE COURT:    I guess that pretty much covers what you

22     said here.

23               THE PROSPECTIVE JUROR:      Uh-huh.

24               THE COURT:    You don't need to -- anything you want to

25     add to that statement?
                                                                             21of
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 1               THE PROSPECTIVE JUROR:      I guess maybe just knowing --

 2     you know, having this information all weekend, just thinking

 3     about that it was a big company, I kind of realize that I

 4     probably wouldn't be able to be impartial, as I thought about

 5     it over the weekend.     So...

 6               THE COURT:    Okay.    Mr. Scarola, do you have any

 7     questions?

 8               MR. SCAROLA:    Thank you very much, your Honor.

 9               Ms. Wolff, thank you.      We appreciate and respect your

10     opinions.    And the last thing we want to do is to seat a juror

11     who has preconceived ideas about liability in this case.

12               And I think we can fairly tell you that this case has

13     nothing to do about Chiquita's agricultural practices.          They

14     may be extremely good.     They may be a model of sustainability

15     and responsibility.     They may also not be doing some good

16     things.   But that's not going to be anything that we are going

17     to be discussing in this litigation.

18               If we can give that you assurance that you are not

19     going to have to deal with those issues that are of obvious

20     concern to you in your deliberations in this case, do you think

21     you are able to set aside those feelings and not allow them to

22     become an obstacle to your being a fair and impartial juror

23     under the particular circumstances of this lawsuit?

24               THE PROSPECTIVE JUROR:      No.

25               MR. SCAROLA:    You don't think you could do that?
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 1               THE PROSPECTIVE JUROR:      I really don't.

 2               MR. SCAROLA:    All right.    Thank you very much.     We

 3     appreciate your candor.

 4               THE PROSPECTIVE JUROR:      Thank you.    I mean, if you

 5     would like me to explain why, I can.

 6               THE COURT:    No, you don't need to.      But I'd ask you

 7     not to discuss any of your views with the other jurors.          Okay?

 8               THE PROSPECTIVE JUROR:      Absolutely.    I haven't talked

 9     to anybody.

10               THE COURT:    Thank you very much.

11               MR. CIOFFI:    Thank you for your candor.

12               MR. SCAROLA:    We are sorry to lose you.

13               THE PROSPECTIVE JUROR:      Thank you.

14               (Prospective Juror Wolff exits bench.)

15               THE COURT:    I am going to --

16               MR. SCAROLA:    We agree.

17               THE COURT:    You agree to strike her?

18               MR. CIOFFI:    We do not oppose the defense's motion to

19     strike.

20               THE COURT:    Thank you.    I guess they felt confident

21     with that.    They didn't need to stick around.

22               MR. SCAROLA:    Thank you.

23               (In open court.)

24               THE COURT:    All right.    Thank you, Ms. Wolff.

25               And thank you for your patience, ladies and gentlemen.
                                                                             23of
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 1     We may have to go through this with a number of you.          So,

 2     again, please try and be patient with us as we go through this

 3     process.    Again, it's one of the most important aspects of a

 4     trial is getting a fair and impartial jury.        So if you can

 5     really understand that and appreciate that as we go through

 6     this.

 7                All right.   Ms. Cifuentes Tellez.     Did I get it this

 8     time?    Okay.   Could we speak to you up here?

 9                (Prospective Juror Cifuentes Tellez approaches bench.)

10                (Thereupon, the following was heard sidebar.)

11                THE COURT:   I need to get everybody around.       The court

12     reporter is listening to us through this microphone.          So we

13     have to kind of try and stay near here.

14                So thank you again for being with us.       We appreciate

15     your time this morning.      When I asked about -- I gave a

16     description of the case, you raised your hand and said you

17     think, based on that description, you don't think you could be

18     fair and impartial in the case.

19                THE PROSPECTIVE JUROR:     Correct.

20                THE COURT:   You also had some answers on your

21     questionnaire that -- did you -- I'm sorry, did you already

22     agree?

23                MR. DANTE:   I think we agreed.

24                THE COURT:   You agreed?

25                I mistakenly brought you up here for no reason.          I
                                                                             24of
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 1     apologize.    I am having trouble keeping track of who is in and

 2     who is out.

 3               THE PROSPECTIVE JUROR:      That's okay.    As long as you

 4     say my last name correctly.

 5               MR. DANTE:    I'm sorry, your Honor, for talking while

 6     were you talking.     I just wanted to confirm with him that --

 7               THE COURT:    That's fine.    So you both agree on

 8     Juror 14?

 9               MR. SCAROLA:    Yes.

10               MR. CIOFFI:    Yes, sir.

11               THE COURT:    Okay.    I apologize for bringing you up

12     here.

13               THE PROSPECTIVE JUROR:      It's important.

14               THE COURT:    I would ask you to not discuss your views

15     with any of the other jurors.

16               Okay?   All right.     Thank you so much.    I didn't

17     know --

18               (Prospective Juror Cifuentes Tellez exits bench.)

19               MS. FUNDORA-MURPHY:      We will give you the ones that we

20     agree on.

21               MR. DANTE:    Jack, I think it's 14, 17 -- you confirmed

22     that.   14, 17.

23               THE COURT:    Hold on.   Can I get something to write on

24     so I can make sure I get this?       So, now, these are the

25     prospective jurors that you both are agreeing should be excused
                                                                             25of
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 1     for cause.    Am I correct?

 2               MR. DANTE:     I am going to read them and, Jack, you

 3     just confirm.    Okay?

 4               MR. SCAROLA:    Okay.

 5               MR. DANTE:     It's 14 --

 6               THE COURT:     That's in addition to the one -- number 1

 7     we already discussed, right?

 8               MR. DANTE:     Number 1 we discussed.    Then 14, 17.

 9               MR. SCAROLA:    Yes.

10               MR. DANTE:     19.

11               MR. SCAROLA:    Yes.

12               MR. DANTE:     Then we did not agree to 48.

13               MR. SCAROLA:    We did not agree to 48.

14               MR. DANTE:     Our next one is 63, and I think you agreed

15     to 63.

16               MR. SCAROLA:    We agreed to 63.

17               MR. DANTE:     You agreed to 79?

18               MR. SCAROLA:    We agreed to 79.

19               MR. DANTE:     And you did not agree to 90.

20               MR. SCAROLA:    We did not agree to 90.

21               MR. DANTE:     97, you agreed to, correct?

22               MR. SCAROLA:    97, we agreed to.

23               MR. DANTE:     104, you did not agree to, right?

24               MR. SCAROLA:    104, we did not agree to.

25               MR. DANTE:     115, you did not agree to?
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 1               MR. SCAROLA:    Correct.

 2               MR. DANTE:    135, you did not agree to?

 3               MR. SCAROLA:    That is correct.

 4               MR. DANTE:    139, I believe you agreed to.

 5               MR. SCAROLA:    139, we agreed to.

 6               THE COURT:    So the only ones we need to bring up here

 7     to talk to is 48, 90, 104, 115, and 135?

 8               MR. DANTE:    That's correct, according to my notes,

 9     your Honor.

10               Let Mr. Scarola confirm that.

11               MR. SCAROLA:    48, 90, 104, 115, and 135.

12               THE COURT:    Okay.   So I will just bring those.

13               MR. SCAROLA:    I have a procedural suggestion.       The

14     speech that I made to the juror that we have already spoken to

15     is a speech that I would repeat to each of the other jurors.

16     It might save some time if I had the opportunity to make that

17     speech to everybody and not have to repeat it again.          But --

18               THE COURT:    Well, we only have five more.      So I'd

19     rather have them tell us their views, and then you can give it

20     your best.

21               MR. CIOFFI:    We would object to that because --

22               THE COURT:    Okay.   So why don't you all stay here,

23     rather than going back and forth, and I will bring up 48.

24               (In open court.)

25               THE COURT:    I apologize.    We are trying to shorten
                                                                             27of
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 1     this process as best we can.      So I am going to ask,

 2     Ms. Spencer, why don't you come up here.        If we could speak to

 3     you briefly, ma'am.

 4                (Prospective Juror Sears Spencer approaches bench.)

 5                (Thereupon, the following was heard sidebar.)

 6                THE COURT:   Good morning.    How are you, ma'am?

 7                THE PROSPECTIVE JUROR:     I am good.

 8                THE COURT:   Thank you again for being with us and for

 9     your willingness to be considered for this case.         You were

10     going to check on pay.     And what happened with that?

11                THE PROSPECTIVE JUROR:     I will be compensated.

12                THE COURT:   So that's not going to be an issue for

13     you?

14                THE PROSPECTIVE JUROR:     No, not compensation.

15                THE COURT:   Okay.   Is there some other issue?

16                THE PROSPECTIVE JUROR:     Well, again, I have a senior,

17     so kind of running around with her --

18                THE COURT:   Can you get closer to the microphone?

19                THE PROSPECTIVE JUROR:     I have children, and so I do a

20     lot of the running around because for the next few weeks, my

21     husband works in Lakeland, and so I am the one who is taking --

22     like, tomorrow, I have to take her to a scholarship interview

23     in Boca.    We live in Belle Glade.     So having to come -- it's

24     just a lot of more so getting -- being able to transport my

25     daughters.
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 1               THE COURT:    Okay.   So you have a scholarship --

 2               THE PROSPECTIVE JUROR:      She has a scholarship

 3     interview.

 4               THE COURT:    In Boca tomorrow?

 5               THE PROSPECTIVE JUROR:      In Boca tomorrow.

 6               THE COURT:    And is she going to be able to get there

 7     if you are on the jury?

 8               THE PROSPECTIVE JUROR:      No.

 9               THE COURT:    She is not?

10               THE PROSPECTIVE JUROR:      No, because my husband is

11     working in Lakeland for the next few weeks.

12               THE COURT:    Do you have any other family members that

13     might be able to help you get her to this -- we don't want her

14     to lose a scholarship opportunity.

15               PROSPECTIVE JUROR:     The only days I have help is

16     Monday and Fridays, which is my mom, but because she works --

17     she works at night on Tuesdays through Thursday.         So Mondays

18     and Fridays, I have her help, but Tuesday, Wednesday, Thursday,

19     it's just me.

20               THE COURT:    So you have got a problem tomorrow with

21     getting your daughter to her scholarship --

22               THE PROSPECTIVE JUROR:      Yes.   I am trying to figure

23     out how to get her over to the scholarship.        We are in Belle

24     Glade.   So I have to -- I haven't figured it out.

25               THE COURT:    It's a little bit of a drive.
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 1               THE PROSPECTIVE JUROR:      It is.

 2               THE COURT:    All right.    So that's a separate issue.

 3               Let's talk about some of the answers you have given on

 4     your questionnaire, if you don't mind.

 5               So you mentioned in one of your answers that -- there

 6     was a question:

 7               "Have you heard or read about some of these areas of

 8     Colombia?"

 9               And you wrote:

10               "Not much, but have heard about Colombia being

11     dangerous and known for drug-related violence."

12               THE PROSPECTIVE JUROR:      Yes.

13               THE COURT:    Okay.   Now, is that something that might

14     be a problem for you in terms of being able to be fair and

15     impartial in this case?

16               THE PROSPECTIVE JUROR:      I don't think so.    I am not

17     really sure, like, what the case is.         Like, I get that there

18     was some death; there was someone that paid something, but I am

19     not really fully sure what's going on.         But I don't think that

20     would enter -- or interfere with me being impartial or fair.

21               THE COURT:    Okay.   The other thing you mentioned was

22     that you feel most large corporations tend to prioritize

23     profits over human safety and well-being.

24               THE PROSPECTIVE JUROR:      Yeah.

25               THE COURT:    Is that something that you think is going
                                                                             30of
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 1     to affect your ability to be fair to Chiquita in this case?

 2               THE PROSPECTIVE JUROR:      That, yeah.    I do have this

 3     bias, especially with corporations, that I feel like they sort

 4     of -- you know, they prioritize, like, profits and how -- in

 5     their corporation, and not really put a priority on the safety

 6     of workers or consumers or individuals, and it's just kind of

 7     like they knowingly do things that --

 8               THE COURT:    Now, but you don't know anything about

 9     Chiquita particularly?

10               PROSPECTIVE JUROR:     Not Chiquita in particular.      But

11     especially when it comes to foods, I just have this thing where

12     I just feel like our whole food source has knowingly put

13     chemicals and things in our foods that they know are harmful to

14     us.   But we have to consume it, so we do.

15               THE COURT:    Again, you don't know that Chiquita --

16               THE PROSPECTIVE JUROR:      No, nothing about Chiquita in

17     particular.    I just feel like that in general about

18     corporations.

19               THE COURT:    Okay.   So do you think that these opinions

20     that you have might carry over and affect your ability

21     throughout the trial?

22               THE PROSPECTIVE JUROR:      Possibly.   I will try not to,

23     but possibly.

24               THE COURT:    Okay.   If you hear evidence during the

25     course of this trial that relates to drugs, drug trafficking,
                                                                             31of
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 1     if that comes -- something that comes up during the course of

 2     the trial in the evidence, is that going to cause you to have

 3     any concerns about being fair to one side or the other?

 4               THE PROSPECTIVE JUROR:      I am not sure.    I can't really

 5     say.

 6               THE COURT:    All right.    Then the last question, you

 7     said you think your ability to be fair is dependent on your own

 8     personal beliefs.     Is one of those beliefs the belief that you

 9     are talking about, large corporations, or something else?

10               THE PROSPECTIVE JUROR:      I just think it's my beliefs

11     in general.    I sort of feel like my experiences and opinions

12     will sort of come into play when I am thinking about what's

13     happening.    I don't know, I feel like my -- I guess I am trying

14     to figure out how to say it.

15               I feel like my opinions will sort of play a part in

16     how I feel about the case as opposed to solely relying on the

17     evidence and the -- and what's presented.        I might sort of put

18     in my own little beliefs that I feel.

19               THE COURT:    Would that include the beliefs about

20     corporations tend to prioritize profits over human safety and

21     well-being?

22               THE PROSPECTIVE JUROR:      Yes, it could.    Just for now.

23     Like, I don't know.

24               THE COURT:    No, you know, we appreciate your honesty.

25     We know this is not an easy thing to express.
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 1                So, Mr. Scarola, do you have any questions?

 2                MR. SCAROLA:   Thank you very much.

 3                Ms. Sears Spencer --

 4                THE COURT:   He is going to ask you some questions.

 5                MR. SCAROLA:   I just have a couple of questions.       I

 6     want to deal with that that is most immediately of concern to

 7     you, and that's obviously your ability to get your daughter to

 8     her scholarship interview.

 9                Is there anybody else in Belle Glade at her school who

10     is going through the same process who might be able to provide

11     transportation for her?

12                THE PROSPECTIVE JUROR:     The other kids that had --

13     that is interviewing for the scholarship, they did theirs

14     already.    So she is the only one that I think is going

15     tomorrow.    Because I know a few of the kids who did the

16     interview.    They were talking about it yesterday.       Like, they

17     did it already.    So I know hers is tomorrow.

18                MR. SCAROLA:   What time is the interview, do you know?

19                THE PROSPECTIVE JUROR:     It's at 7.

20                MR. SCAROLA:   7:00 a.m. or 7:00 p.m.?

21                THE PROSPECTIVE JUROR:     P.m.

22                MR. SCAROLA:   7:00 p.m.

23                THE PROSPECTIVE JUROR:     So I have to go to -- my

24     daughter is in school in Loxahatchee.        So she goes to Osceola

25     Creek.   So I would have to leave here, go to Osceola Creek,
                                                                             33of
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 1     pick her up, then go to Belle Glade, and then come back over

 2     this way.

 3               MR. SCAROLA:    Which means you would need to leave here

 4     at what time in order to get all of that done to make the

 5     7:00 p.m. appointment?

 6               THE PROSPECTIVE JUROR:      Osceola Creek is like 45

 7     minutes to an hour.

 8               MR. SCAROLA:    In one of the worst traffic times of the

 9     day.

10               THE PROSPECTIVE JUROR:      Yeah.   And it's another hour

11     back to Belle Glade, and then to Boca is maybe, like, an hour

12     and 20 minutes.    So that's about four hours.

13               MR. SCAROLA:    I don't think we need to get beyond

14     that.   I know that that would be a major concern to you.         I

15     thank you.

16               THE PROSPECTIVE JUROR:      You are welcome.

17               MR. CIOFFI:    Thank you, ma'am.

18               THE PROSPECTIVE JUROR:      I am done?

19               MR. CIOFFI:    Yes, you are done.

20               (Prospective Juror Sears Spencer exits bench.)

21               MR. SCAROLA:    We would agree to the defense challenge

22     for cause to this prospective juror.

23               MR. DANTE:    Judge, the only other person that needs to

24     be called up, we believe, is 113.

25               Jack, you are not stipulating to 113, right?
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 1               THE COURT:    I thought there were others.      I thought

 2     there were four others.

 3               MS. FUNDORA-MURPHY:     There are four others based on

 4     the questionnaires, and then there's -- 113 spoke up and said

 5     she couldn't be fair after she heard about the case.          That's

 6     the only other one that needs to be added to the list.          So

 7     there should be five total left.

 8               THE COURT:    I thought there were four total left.

 9               MR. DANTE:    One additional one, 113, that I didn't

10     mention last time.

11               MR. CIOFFI:    Who is left, Judge, is 90, 104, 113, who

12     raised their hand when we read the facts -- again, 90, 104,

13     113, 115, and 135.

14               MS. FUNDORA-MURPHY:     Yes.

15               MR. SCAROLA:    I agree.

16               THE COURT:    Okay.   Those are the ones we have to speak

17     to?

18               MR. DANTE:    Speak to, yes.

19               THE COURT:    All right.    Why don't you just wait here.

20               (In open court.)

21               THE COURT:    Ms. Brush, could we speak to you up here,

22     ma'am.   If you would come up here, please.

23               Again, ladies and gentlemen, thank you.        We don't have

24     that many more to speak to.      So we are trying to, again, save

25     some time in the long run.
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 1               (Prospective Juror Brush approaches bench.)

 2               (Thereupon, the following was heard sidebar.)

 3               THE COURT:    Hi, Ms. Brush.     How are you?   Why don't

 4     you come a little closer to this microphone.        We are going to

 5     ask you a few questions.      All right?

 6               THE PROSPECTIVE JUROR:      Uh-huh.

 7               THE COURT:    First, I remember when we spoke to you

 8     last, you seemed that -- you were a little concerned about your

 9     ability to understand English; is that correct?

10               THE PROSPECTIVE JUROR:      Yes.

11               THE COURT:    Have you thought about, since we were here

12     the other day, whether you think you can listen to everything

13     and understand everything that's being presented?

14               THE PROSPECTIVE JUROR:      Just I am, like, I am not sure

15     because my English is limited.       I don't want to like -- I don't

16     want to be -- like looking at somebody and say, oh, because I

17     can't understand.     That's my issue.     If I no feel like

18     security, I understand, like I can do it.        I want to feel like

19     I understand, like I can do it, yeah.

20               THE COURT:    Okay.   So you still have a concern about

21     that?

22               THE PROSPECTIVE JUROR:      Yeah.

23               THE COURT:    All right.    The other thing I wanted to

24     ask you about was, you mentioned -- when I described the case

25     this morning, I think you raised your hand.        You said that that
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 1     description of the case might present a problem for you in

 2     being fair.

 3                THE PROSPECTIVE JUROR:     Yeah, because I don't

 4     understand really well, the English.         I don't want to be

 5     unfair.    Yeah.

 6                THE COURT:   Was when you raised your hand this

 7     morning, was that because of your ability to understand

 8     English?

 9                THE PROSPECTIVE JUROR:     Yes.

10                THE COURT:   It wasn't because of the description of

11     the case that I gave you?

12                THE PROSPECTIVE JUROR:     Also this, because I have high

13     blood pressure.    I am getting so anxiety with all this stuff

14     around me.

15                THE COURT:   So you are feeling a little anxious?

16                THE PROSPECTIVE JUROR:     Yeah.

17                THE COURT:   You are having some blood pressure issues?

18                THE PROSPECTIVE JUROR:     Yeah.    Yeah.   I took my

19     medication in the morning, but I still feel like all this

20     stuff, it's not for me.

21                THE COURT:   Okay.   You are having --

22                THE PROSPECTIVE JUROR:     I try my best, but yeah.

23                THE COURT:   So you are very anxious about what's going

24     on here?

25                THE PROSPECTIVE JUROR:     Yeah.    Yeah.
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 1                THE COURT:   We are not trying to frighten you in any

 2     way.

 3                THE PROSPECTIVE JUROR:     Yeah, I know.    It's not you

 4     guys.    It's me, I guess.    I am getting older.     I am getting

 5     worse.

 6                THE COURT:   Let me ask you -- so, again, the reason

 7     you raised your hand this morning was because of your concern

 8     for being able to understand everything and your language

 9     difficulty, not because of the type of case this is or the

10     issues that are involved in this case?

11                THE PROSPECTIVE JUROR:     I don't understand really well

12     the case, like, what is the case.       Yeah.

13                THE COURT:   You don't understand what it's about?

14                THE PROSPECTIVE JUROR:     What it's about, yeah.

15                THE COURT:   Mr. Scarola, did you have any questions?

16                MR. SCAROLA:   Ms. Brush, I get very nervous when I am

17     surrounded by lawyers also.      So I appreciate that concern.       I

18     thank you very much for being willing to be with us as long as

19     have you been.    Thank you.

20                THE PROSPECTIVE JUROR:     You are welcome.    I'm sorry.

21                MR. SCAROLA:   There's nothing to apologize about.

22     Thank you.

23                THE COURT:   Thank you so much.      You may have a seat.

24     Ms. Brush, you need to sit back down.         Okay?

25                THE PROSPECTIVE JUROR:     Yeah.
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 1               (Prospective Juror Brush exits bench.)

 2               MR. SCAROLA:    We agree to a cause challenge.

 3               (In open court.)

 4               THE COURT:    Ms. Halim, would you mind coming up and

 5     speaking to us, please.

 6               (Thereupon, the following was heard sidebar.)

 7               MR. SCAROLA:    May I suggest a sign?      If I put my hand

 8     here like this, that means I've heard enough.

 9               THE COURT:    Okay.

10               MR. SCAROLA:    It sometimes helps.

11               (Prospective Juror Halim approaches bench.)

12               THE COURT:    Hi, Ms. Halim.    How are you?

13               THE PROSPECTIVE JUROR:      Not feeling good.      Feeling out

14     of breath and my feet hurts.

15               THE COURT:    Your foot hurts?      Is that a "yes"?

16               THE PROSPECTIVE JUROR:      Yes.

17               THE COURT:    Okay.   Is that something new that just

18     happened over the last few days?

19               THE PROSPECTIVE JUROR:      My blood pressure high.

20               THE COURT:    You have high blood pressure?

21               THE PROSPECTIVE JUROR:      Yeah.   Nervous.

22               THE COURT:    It's affects your leg?

23               THE PROSPECTIVE JUROR:      Yes.    My leg is --

24               THE COURT:    This morning when I gave all of you a

25     description of what the case is about, you raised your hand or
                                                                             39of
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 1     your number then, you said that the description of the case

 2     might be a problem for you.

 3                THE PROSPECTIVE JUROR:     Yeah.   Understanding problem.

 4     I don't have good English.

 5                THE COURT:   You have a difficulty understanding

 6     English?

 7                THE PROSPECTIVE JUROR:     Yes.

 8                THE COURT:   Okay.   Thank you so much.     We appreciate

 9     your time.    I hope your leg feels better soon.

10                THE PROSPECTIVE JUROR:     Thank you so much.    I

11     appreciate it.    Thank you.

12                (Prospective Juror Halim exits bench.)

13                (In open court.)

14                THE COURT:   Ms. Lindor Jean, could we speak to you up

15     here, ma'am.

16                (Prospective Juror Lindor Jean approaches bench.)

17                (Thereupon, the following was heard sidebar.)

18                THE COURT:   Hi.   How are you?    Come closer to over

19     here.   There is a microphone here.      So the court reporter can

20     hear what we are saying so she can take it down.         All right?

21                THE PROSPECTIVE JUROR:     Okay.

22                THE COURT:   I wanted to ask you a few questions.       This

23     morning when I gave a description of the case and asked whether

24     anyone -- the issues in the case might affect people's ability

25     to be fair, you raised your hand.       Is that a "yes"?
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 1               THE PROSPECTIVE JUROR:      Yes.

 2               THE COURT:    Can you tell us why you felt, based on the

 3     description of the case, you might have some issues with being

 4     fair?

 5               THE PROSPECTIVE JUROR:      I might have some issues.     I

 6     really like bananas.     I'm sorry, it sounds funny.      But,

 7     actually, I was eating one this morning and didn't even realize

 8     the case had anything to do with that.

 9               And also I have an issue because my mother worked for

10     a company that I would consider was abusive towards her in a

11     way, and if we were understanding of the law of here in

12     America, we would have sued that company.        So I have, like, a

13     double -- like, I feel like I am in the middle of, like, would

14     I really be able to be fair if I found out more things about

15     what happened to those people.

16               THE COURT:    Okay.   So explain to me about the banana

17     this morning.    You were eating a banana.

18               THE PROSPECTIVE JUROR:      Yeah.

19               THE COURT:    How did that affect your -- affect you as

20     far as this case is concerned?

21               THE PROSPECTIVE JUROR:      I eat bananas every day.     I

22     did not know that this case dealt with people -- with a company

23     that I guess produces that particular company.

24               THE COURT:    Okay.   So you ate a Chiquita banana today?

25               THE PROSPECTIVE JUROR:      Yeah.
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 1               THE COURT:    Okay.   That's fine.    I eat them too.

 2               MR. SCAROLA:    Me too.

 3               THE COURT:    That's because that's all they sell in

 4     the --

 5               THE PROSPECTIVE JUROR:      I know.

 6               THE COURT:    I don't have any choice.      But the fact

 7     that you eat bananas that Chiquita may produce, why would you

 8     feel that that's a problem for you?

 9               THE PROSPECTIVE JUROR:      I just -- I don't know.     Like,

10     I didn't know, like -- I heard the name, but I didn't make the

11     association.    And I literally -- my family, we eat bananas

12     every day, and I just --

13               THE COURT:    I think most -- go ahead.

14               THE PROSPECTIVE JUROR:      I just feel like I might have

15     a bias.

16               THE COURT:    For the banana company or against the

17     banana company?

18               THE PROSPECTIVE JUROR:      Both.

19               THE COURT:    Both?

20               THE PROSPECTIVE JUROR:      Because not only that, my

21     mother was -- I felt like this company that my mother worked

22     for -- and she's still suffering from issues.         If we were -- if

23     we were understanding of what the laws are here in America, we

24     would have sued that company.

25               THE COURT:    Can you tell me what company your mother
                                                                             42of
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 1     worked for?    Do you know?

 2               THE PROSPECTIVE JUROR:      I don't want to share.

 3               THE COURT:    Where was this?     In what country?

 4               THE PROSPECTIVE JUROR:      It's local.    It's here.

 5               THE COURT:    So your mother worked -- is this in the

 6     past?   She used to work --

 7               THE PROSPECTIVE JUROR:      Uh-huh.

 8               THE COURT:    -- for a company here locally?

 9               THE PROSPECTIVE JUROR:      Uh-huh.

10               THE COURT:    Yes?

11               THE PROSPECTIVE JUROR:      Uh-huh.

12               THE COURT:    And you think something was done to her

13     that was improper?

14               THE PROSPECTIVE JUROR:      She worked there for more than

15     20 years.    She never got a raise and was really mistreated.

16               THE COURT:    Okay.   But it wasn't Chiquita, was it?

17               THE PROSPECTIVE JUROR:      No.

18               THE COURT:    Okay.   All right.    So the fact that your

19     mother worked for a company locally here and was mistreated,

20     can you explain, why would that affect your ability to be fair

21     in this case?

22               THE PROSPECTIVE JUROR:      Because I felt like she was

23     taken advantage of.     She was really abused over those years as

24     far as her medical issues that she's dealing with now.

25               THE COURT:    Again, it wasn't Chiquita who she worked
                                                                             43of
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 1     for?

 2                THE PROSPECTIVE JUROR:     No.

 3                THE COURT:    And why would the fact that another

 4     company mistreated your mother, why would that affect your

 5     ability to be fair in this case?

 6                THE PROSPECTIVE JUROR:     I felt like at times,

 7     companies do take advantage, and because people do not know the

 8     law, they take advantage of them and mistreat them because they

 9     know they won't be able to do anything about it.

10                THE COURT:    Again, since it wasn't Chiquita that

11     mistreated your mother, are you going to have that feeling in

12     this case?

13                THE PROSPECTIVE JUROR:     Yeah.   I am going to have a

14     bias regarding that.      Because companies do do that, and people

15     do suffer long terms because companies are unfair.

16                THE COURT:    Even though Chiquita wasn't the one that

17     dealt with your mother, you think it's going to carry over into

18     this case?

19                THE PROSPECTIVE JUROR:     Yeah.   That's my mom, and I am

20     dealing with her and the issues that she has now.

21                THE COURT:    Mr. Scarola.

22                MR. SCAROLA:    Thank you very much.

23                MR. CIOFFI:    Thank you, ma'am.

24                MR. SCAROLA:    Ms. Lindor Jean, my name is Jack

25     Scarola.    I have just a few questions for you, if I could.        Do
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 1     you have children?

 2                THE PROSPECTIVE JUROR:     I do.   I have one child.

 3                MR. SCAROLA:   One child.

 4                THE PROSPECTIVE JUROR:     Uh-huh.

 5                MR. SCAROLA:   Okay.   You wouldn't think that it was

 6     appropriate to take action against your child because one of

 7     the neighbor's children did something wrong, would you?

 8                THE PROSPECTIVE JUROR:     No.

 9                MR. SCAROLA:   No.   Each child needs to be dealt with

10     separately based upon that child's conduct, right?

11                THE PROSPECTIVE JUROR:     Uh-huh.

12                THE COURT:   Is that a "yes"?

13                THE PROSPECTIVE JUROR:     Yes, that's a "yes."

14                MR. SCAROLA:   Okay.   So I am having a little bit of

15     the same difficulty that Judge Marra expressed in understanding

16     why it is that you think because you've had an experience where

17     a different company did something wrong to your mother, you

18     would have difficulty being fair with an entirely different

19     company.

20                Chiquita had nothing to do with your mom.       This case

21     doesn't have anything at all to do with your mother's

22     mistreatment.    Why is it that you think that that could

23     interfere with your being fair to Chiquita that obviously needs

24     to be treated based upon what it did or what it didn't do and

25     not what some other company did or didn't do?         Does that make
                                                                             45of
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 1     sense to you?

 2               THE PROSPECTIVE JUROR:      It does.

 3               MR. SCAROLA:    Do you think that you could draw that

 4     distinction and decide whether Chiquita did something wrong

 5     based upon what you hear in this courtroom and not something

 6     that happened to your mom by an entirely different company?

 7     Could you do that?

 8               THE PROSPECTIVE JUROR:      I can't say yes fully because

 9     my mom is dealing with what happened to her then, and if I was

10     more understanding of what the laws are here in America, I

11     would not have allowed that to happen to my mom.

12               MR. SCAROLA:    Well, I do appreciate your responses.        I

13     thank you for your candor.

14               THE COURT:     Thank you so much.

15               MR. CIOFFI:    Thank you, ma'am.

16               THE COURT:     Don't talk about your feelings with the

17     other jurors.    Okay?

18               THE PROSPECTIVE JUROR:      No, I do not.    Thank you.

19               (Prospective Juror Lindor Jean exits bench.)

20               MR. SCAROLA:    We agree to cause to Ms. Lindor Jean.

21               (In open court.)

22               THE COURT:     Mr. Gray.   Mr. Gray, would you mind

23     stepping up here, please.      Thank you.

24               (Prospective Juror Gray approaches bench.)

25               (Thereupon, the following was heard sidebar.)
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 1               THE COURT:    Hi, Mr. Gray.    How are you today?

 2               THE PROSPECTIVE JUROR:      I hurt my ankle, but I am

 3     okay.

 4               THE COURT:    Could you get a little closer to this

 5     microphone?    The court reporter is taking down what we are

 6     saying.

 7               THE PROSPECTIVE JUROR:      Okay.

 8               THE COURT:    Did you find out what whether you get paid

 9     or not?   I know that that was an issue the other day.

10               THE PROSPECTIVE JUROR:      I just went with what you

11     were -- actually --

12               THE COURT:    You didn't check?

13               THE PROSPECTIVE JUROR:      Yeah.

14               THE COURT:    You took my word for it?      If you don't get

15     paid, I guess I will have to reimburse you.

16               MR. SCAROLA:    You didn't hurt your ankle slipping on a

17     banana peel, did you?

18               THE PROSPECTIVE JUROR:      No.

19               THE COURT:    I wanted to ask you a few questions about

20     some of the answers you gave in your questionnaire.

21               So you mentioned something about you heard some --

22     what's that word?

23               THE PROSPECTIVE JUROR:      I am trying to read my own

24     handwriting now.     Like, "details," I think that's --

25               THE COURT:    Okay.   Details from Colombian friends
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 1     about life and drug enforcement there.        Yes.

 2               THE PROSPECTIVE JUROR:      Yeah.

 3               THE COURT:    Whatever you may have heard from your

 4     friends about drug enforcement in Colombia, does that have any

 5     affect on your ability to be fair in this case?

 6               THE PROSPECTIVE JUROR:      No.

 7               THE COURT:    No?

 8               THE PROSPECTIVE JUROR:      No.

 9               THE COURT:    Okay.   Now, you also answered that --

10     regarding the question about do you have any negative opinions

11     about large corporations, you said that you felt that large

12     corporations used their power and influence to keep the vast

13     majority of people poor, especially in lesser developed

14     countries.

15               So what you are going to hear in this case is about

16     Chiquita had banana operations in Colombia.          Do you think that

17     your opinion about large corporations in lesser developed

18     countries might affect your ability to be a fair juror in this

19     case?

20               THE PROSPECTIVE JUROR:      I guess it would probably

21     depend on the details of it, I guess.

22               THE COURT:    Okay.   You also said you believed that

23     U.S. corporations are solely focused and driven by money and

24     making sure that they stay rich.       They use foreign countries

25     because they would have to pay Americans more than a
                                                                             48of
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 1     corporation operated -- more than if the corporation operated

 2     here.

 3               Now, Chiquita was involved with producing bananas.

 4     You can't grow bananas in the United States.        If you are going

 5     to produce bananas, you have to grow them in other countries.

 6               Would you hold it against Chiquita that they are a

 7     banana-producing company and they -- the only place you can

 8     grow it is in other countries?       Would that be a problem for

 9     you?

10               THE PROSPECTIVE JUROR:      No.   Yeah, no.

11               THE COURT:    Okay.   What about your opinion that the

12     question -- the last question was:

13               "Would you have difficulty being fair in a lawsuit

14     involving individuals suing a corporation?"

15               And you said:

16               "Yes.   Depending on the information, I would be more

17     inclined to side with the people suing because I know most

18     corporations are million- or billion-dollar companies and will

19     recoup those losses."

20               Do you think that you -- because of that opinion, you

21     might have a difficulty being fair in this case to Chiquita?

22               THE PROSPECTIVE JUROR:      Like I said, depending on the

23     circumstances.    I would try to be unbiased.

24               THE COURT:    Okay.   Your answer here was "yes" to the

25     question of whether you think you would have difficulty being
                                                                             49of
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 1     fair.   So we know you are going to try your best, but do you

 2     think you would be able to keep your -- these opinions about

 3     large corporations and influence, keep it out of your

 4     decision-making, or is that going to come into play?

 5                THE PROSPECTIVE JUROR:     I would say no, I guess.

 6                THE COURT:   No to which?

 7                THE PROSPECTIVE JUROR:     I wouldn't, I guess, let it

 8     affect my decision-making.

 9                THE COURT:   You are sure about that?

10                THE PROSPECTIVE JUROR:     Yeah.

11                THE COURT:   You can assure Chiquita's counsel here

12     that you can -- they can count on you to be fair and not let

13     these opinions that you've indicated on this sheet would

14     influence your decision?

15                THE PROSPECTIVE JUROR:     Yeah, I would try to, yeah.

16                THE COURT:   Well, try to and --

17                THE PROSPECTIVE JUROR:     Yeah.

18                THE COURT:   Is it you'd try to, or is it that you can

19     be certain about it?

20                THE PROSPECTIVE JUROR:     I can be certain.    I will be

21     certain.

22                THE COURT:   Okay.   Don't let me pressure you one way

23     or the other as to what the answer should be.         You have to tell

24     us.

25                THE PROSPECTIVE JUROR:     Depending on, I guess, the
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 1     case, like, hearing the details that would determine, like,

 2     which way I would go.

 3               THE COURT:    Did you have any follow-up, Mr. Scarola?

 4               MR. SCAROLA:    Briefly.

 5               Mr. Gray, thank you very much.       We appreciate the

 6     responses that you have given.       I just want to explore them a

 7     little bit further with you.

 8               THE PROSPECTIVE JUROR:      Okay.

 9               MR. SCAROLA:    I am sure you understand that every

10     decision we make in our lives is influenced by our past

11     experience, by things we have heard.

12               And the issue that we need to be concerned about with

13     jurors is whether they can use those past experiences as tools

14     to help them to be better jurors or whether their past

15     experiences overwhelm their opinions so much that those past

16     experiences become obstacles.      Instead of deciding the case on

17     the evidence presented in the courtroom, they decide the case

18     based on something that happened to them years ago that has

19     nothing to do with the evidence in this courtroom.

20               Can you give us an assurance that your past experience

21     will be used as a tool to help you to be fair and impartial,

22     and you won't let it become an obstacle to fairness?          Can you

23     do that for us?

24               THE PROSPECTIVE JUROR:      Yeah.

25               MR. SCAROLA:    Thank you, sir.
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 1               MR. CIOFFI:    Mr. Gray, this isn't about whether you

 2     are biased or whether you can be fair in every circumstance.

 3     We have things that happen to us in the past that cause us to

 4     believe certain things.

 5               But as you go into this case, you believe that you

 6     will be more inclined, as you start out, to decide with people

 7     suing a corporation.     Is that true?

 8               THE PROSPECTIVE JUROR:      Uh-huh.

 9               MR. CIOFFI:    That's how you feel going into the case?

10               THE PROSPECTIVE JUROR:      Yeah.

11               MR. CIOFFI:    Does that give plaintiffs an advantage

12     going into the case because they are suing a corporation?

13               THE PROSPECTIVE JUROR:      I would say I guess

14     technically, yes.

15               MR. CIOFFI:    You also said it's not about your

16     character, it's about how you feel.       And you feel, you believe,

17     that U.S. corporations are solely focused and driven by money,

18     right?

19               THE PROSPECTIVE JUROR:      Uh-huh.

20               THE COURT:    Is that a "yes"?

21               THE PROSPECTIVE JUROR:      Yeah.

22               MR. CIOFFI:    Is that true?    And that they use foreign

23     countries so that they have to pay Americans -- that they can

24     make more profit.     Is that true?

25               THE PROSPECTIVE JUROR:      Yeah.
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 1               THE COURT:    Does that cause you to feel opposed to big

 2     corporations?

 3               THE PROSPECTIVE JUROR:      Technically, yes.

 4               MR. CIOFFI:    You also feel that big corporations,

 5     because they are big, use their power to influence, to keep the

 6     vast majority of poor people, especially in lesser developed

 7     countries suppressed or oppressed.       Is that how you feel?

 8               THE PROSPECTIVE JUROR:      Yeah.

 9               MR. CIOFFI:    That would give the plaintiffs, who are

10     people from a developing country suing Chiquita, that would

11     cause you to feel that they were suing Chiquita because they

12     were oppressed.    Is that true?

13               THE PROSPECTIVE JUROR:      Well, I guess technically,

14     yeah, I guess.    Like I said, I guess based off the evidence, I

15     would determine.     But, yeah, I guess based off that prior...

16               MR. CIOFFI:    So going into the case, you have all

17     those feelings?

18               THE PROSPECTIVE JUROR:      Uh-huh.

19               THE COURT:    Is that a "yes"?

20               THE PROSPECTIVE JUROR:      Yeah.

21               MR. CIOFFI:    Nothing further.

22               MR. SCAROLA:    And all of those feelings are feelings

23     that you are confident you can set aside and decide the case on

24     the evidence presented in this courtroom; is that correct?

25               THE PROSPECTIVE JUROR:      Yeah.
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 1               MR. SCAROLA:    Thank you, sir.

 2               THE COURT:    Thank you, Mr. Gray.

 3               (Prospective Juror Gray exits bench.)

 4               THE COURT:    I am sure you are not going to agree, so

 5     we will hold off on that until later.

 6               (In open court.)

 7               THE COURT:    Mr. Davis, come up here, please.

 8               (Prospective Juror Davis approaches bench.)

 9               (Thereupon, the following was heard sidebar.)

10               THE COURT:    Mr. Davis, I have two questions about some

11     of the answers you gave on your questionnaire.         Particularly,

12     one of the questions was:

13               "Do you have any negative opinions about large

14     corporations?"

15               And you wrote:

16               "I don't like it when a large corporation does

17     something that hurts a small business, whether on purpose or

18     not."

19               Then you said:

20               "I hate to see" -- to another question:

21               "Do you have any negative opinions about corporations

22     operating in foreign countries?       That's U.S. corporations.

23               "I hate to see American jobs being sent overseas.         I

24     understand why they do it, but I still don't like it."

25               And then you answered to the question:
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 1               "Would you have difficulty in being fair in a lawsuit

 2     involving or suing a U.S. corporation?"

 3               You said, no, you would not have difficulty being

 4     fair.

 5               So we want to make sure the answers to the questions

 6     about large corporations doesn't affect your answer -- to the

 7     last one, you say you can still be fair, despite your opinion.

 8               THE PROSPECTIVE JUROR:      I thought about this answer

 9     after I turned this in.

10               THE COURT:    Which answer are you talking about?

11               THE PROSPECTIVE JUROR:      The one about jobs going

12     overseas.    I don't mind if an American company works overseas

13     and hires locals to work.       That's different than eliminating a

14     job here just to do the same job there.

15               THE COURT:    Okay.    Let me give you a little more

16     information.

17               Since Chiquita is involved in producing bananas, you

18     can't grow bananas here.      If you are going to be in a banana

19     production business, you've got to go there.

20               THE PROSPECTIVE JUROR:      Go there, yeah.    So I

21     understand that part.     I think what meant more is I don't like

22     to see factories shut down, like car plants, and they start

23     building them someplace overseas instead of here.         That, I

24     don't like.

25               But to go there and build a product there that can
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 1     only be done there or harvest something that can only be grown

 2     there, that's not the same thing.       I don't have a problem with

 3     that.

 4               THE COURT:    So the fact that they are in business in

 5     Colombia and other parts of Central America producing bananas,

 6     that's only where it can be done, you understand that?

 7               THE PROSPECTIVE JUROR:      Yeah.   I didn't even know -- I

 8     thought Chiquita was a South American company.         I didn't know

 9     that they were even an American company.

10               THE COURT:    Okay.   Well, they are an American company,

11     but they had business operations in Colombia.

12               THE PROSPECTIVE JUROR:      I thought they were from

13     there.

14               THE COURT:    So that's not going to be an issue for

15     you?

16               THE PROSPECTIVE JUROR:      No.

17               THE COURT:    So the other one is that you don't like

18     when a large corporation does something that hurts a small

19     business.

20               Do you have any reason to believe that Chiquita is

21     involved in hurting small businesses?

22               THE PROSPECTIVE JUROR:      At least not here.    I don't

23     know about down there.     Because I don't know anything about

24     down there.    But up here, I don't think there's too many banana

25     companies, you know, mom-and-pop banana companies they could
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 1     put out of business.

 2               THE COURT:    Would that opinion that you had in any way

 3     have any impact on your ability to be fair in this case?

 4               THE PROSPECTIVE JUROR:      In this one, no.    I mean, they

 5     are not like Home Depot shutting down mom-and-pop hardware

 6     stores.   That's not who I think they are.       They didn't just

 7     move -- as far as I know, they didn't just come in and take

 8     over a bunch of small mom-and-pop things.

 9               THE COURT:    Well --

10               THE PROSPECTIVE JUROR:      I mean, I don't know.     I don't

11     know anything about them.

12               THE COURT:    Okay.   But if there's evidence that they

13     bought farms in Colombia --

14               THE PROSPECTIVE JUROR:      I don't mind if they bought

15     them and paid for them.      That's fine.    If they forced somebody

16     out, that's different.     I have a problem with that.      But if

17     they paid a fair price, I am okay.       No problem at all.

18               THE COURT:    Okay.   All right.    So anything about what

19     we have discussed, the fact that Chiquita is a large

20     corporation, they do business overseas, that would in any way,

21     as far as you can tell, impact your ability to be a fair juror

22     in this case?

23               THE PROSPECTIVE JUROR:      I don't think so.    I

24     understand why they are there.       That's where the bananas are.

25     So that's -- you know, they can't change that if they wanted.
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 1               THE COURT:    Mr. Cioffi, do you have any questions?

 2               MR. CIOFFI:    Yes.

 3               Mr. Davis, thank you again.

 4               THE COURT:    Why don't you both get a little closer to

 5     the microphone.

 6               MR. CIOFFI:    Yes.   There is a court reporter taking

 7     down.

 8               So thanks for your honesty.      We appreciate it.

 9               You talked about forcing people to give up farms and

10     things like that.     One of the allegations in this case that the

11     plaintiffs will argue is that Chiquita forcibly took over

12     farms, paid less than market prices for those farms, and so

13     forth.

14               Will you be able to be fair and impartial when you

15     hear that evidence?

16               THE PROSPECTIVE JUROR:      I can be fair about it, but if

17     I hear evidence that says that they did do that, that will make

18     my mind up right there, as far as that goes, you know.          If

19     there's evidence that proved that they forced somebody off

20     their farm, just took it from them, then I will have a problem.

21     But if they paid them for it, I don't have a problem, if they

22     paid a fair price.

23               MR. CIOFFI:    Just to be clear, we deny those

24     allegations.    You will hear evidence about that.       The question

25     is, because of your feelings -- this is not about your
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 1     character, this is about your feelings -- would you be able to

 2     judge that evenly?

 3               THE PROSPECTIVE JUROR:      I think so.    If there's

 4     evidence that they didn't do it, then I will have to decide

 5     which side I believe, but if there's no evidence that they

 6     didn't do that --

 7               MR. CIOFFI:    What if there is conflicting evidence?

 8     It's about weighing the evidence.

 9               THE PROSPECTIVE JUROR:      That's what I mean.     Then I

10     have to figure out which one I believe.

11               MR. CIOFFI:    But would your feelings influence that

12     decision?

13               THE PROSPECTIVE JUROR:      I hope not.    I hope they

14     don't.   It's possible.     I can't swear they won't.     It just

15     depends, because I've never -- I haven't heard what happened.

16               MR. CIOFFI:    But in weighing that conflicting

17     evidence, your feelings will come into play?

18               THE PROSPECTIVE JUROR:      I don't know how they

19     couldn't.    I will try not to.    But I don't know how I could not

20     be who I am.    You know?

21               THE COURT:    Do you have any follow-up, Mr. Scarola?

22               MR. SCAROLA:    Whether there is any evidence that

23     Chiquita forced anyone to give up their farm, even that is a

24     matter that's in conflict, because although it's been

25     represented to you that that's the position that the plaintiffs
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 1     take, I will tell you that's not the position that the

 2     plaintiffs take.     But what I hear you telling us is, you want

 3     to decide this case based on the evidence, is that right?

 4               THE PROSPECTIVE JUROR:      Yeah.

 5               MR. SCAROLA:    All right.    Thank you very much, sir.

 6               MR. CIOFFI:    Just so the record is clear, you are also

 7     being honest with us in telling us that it's possible your

 8     feelings as set forth in your answers to the questions could

 9     influence on how you make that decision?

10               THE PROSPECTIVE JUROR:      I am not going to say that

11     it's impossible that they won't.       I don't know.    Because I

12     don't know the story.     And I will try my best not to let

13     something like, you know, my feelings, get in the way.          Because

14     I understand how that can create a problem.        But I just got to

15     hear both sides before I could even think about how I feel

16     about it, I think.     I don't know.    I mean, it's a tough one.

17               THE COURT:    Thank you, Mr. Davis.     We appreciate your

18     time.

19               (Prospective Juror Davis exits bench.)

20               THE COURT:    Okay.   I am not sure I need to ask any

21     more questions as a group.      Do you want to start your voir

22     dire?   Or do you want to take an early lunch and then come

23     back?

24               MR. SCAROLA:    I am happy to start now.

25               THE COURT:    How long do you think you are going to
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 1     have?

 2               MR. SCAROLA:    I am going to take every minute of the

 3     hour that you are going to give me.

 4               THE COURT:    Well, I don't want to go -- it's almost

 5     11:30.

 6               MR. SCAROLA:    If the court would prefer to break now,

 7     take an early lunch, then come back, that's fine.         I don't have

 8     any problem with that.

 9               THE COURT:    How about if I give you 35 minutes?

10               MR. SCAROLA:    That, I have a problem with.

11               MR. CIOFFI:    Judge, regardless, if we could take a

12     break, I need to take a break to use the men's room.

13               THE COURT:    If we are going to take a break, it makes

14     more sense to break early for lunch than to take a break, come

15     back, and then --

16               MR. SCAROLA:    That's fine.

17               THE COURT:    So why don't we do that.      I will ask them

18     to be back at 12:30.

19               MR. SCAROLA:    That's good.    Thank you.

20               THE COURT:    Thank you.

21               (In open court.)

22               THE COURT:    Thank you again, ladies and gentlemen, for

23     your patience.    What we'd like to do at this point is since

24     it's -- the lawyers are going to ask you some questions,

25     follow-up questions based upon the information you have
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 1     provided to us in your questionnaires, and it's going to take a

 2     couple of hours for them to finish with their questioning.

 3               And so in order to not have to interrupt that process,

 4     I am going to ask you to -- let's take a lunch break now and

 5     then get back here at 12:30.      And then at 12:30, we will have

 6     the lawyers present their questioning, after which we will

 7     decide who is going to be on the jury.        And we will -- that

 8     will get done sometime by midafternoon, hopefully.

 9               So I know it's a long process, it's tedious, and most

10     of the time you are just sitting either in the jury room or

11     sitting here, and that's somewhat frustrating.         And I

12     appreciate your concern for -- you think we are wasting your

13     time, but we are actually trying to save your time by having

14     these questions asked over here at the sidebar.

15               So why don't we get back at 12:30.       Don't discuss the

16     case with anyone.     Don't form any opinions about the case just

17     based upon the very brief description that you have been given.

18     Don't conduct any independent research about the case during

19     the break.

20               If you happen to see any of the lawyers that have been

21     introduced to you and they don't acknowledge you, please don't

22     be offended.    They are not being rude or discourteous.        They

23     are obligated to avoid contact with you so.        Please understand

24     that.

25               And we will continue at 12:30 and try and get this
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 1     completed by midafternoon.      Thank you very much for your

 2     cooperation.

 3                Can you come back at 12:30 down in the jury assembly

 4     room, and Ms. Ferrante will bring you up from there.          Thank you

 5     so much.

 6                (The panel of prospective jurors exit the courtroom.)

 7                THE COURT:    We will see everyone at 12:30.     Thank you.

 8                (Recess taken 11:30 am. through 12:31 p.m.)

 9                THE COURT:    Are we ready to bring the jurors up?

10                MR. SCAROLA:   I have a couple of questions for your

11     Honor, if I may.

12                THE COURT:    Yes.

13                MR. SCAROLA:   Is the court going to excuse those

14     jurors for cause, as to who we had agreement, so that it's not

15     necessary to deal with them now?       I would request that we do

16     that.   I think it will help to abbreviate the selection

17     process, because there are a fair number of them, and they

18     would take up time if we need to address them.

19                THE COURT:    Seems to make sense.

20                MR. CIOFFI:    It makes sense, Judge.     I think there

21     were two hardships that you mentioned as well.

22                THE COURT:    Well, you know, I didn't speak to them.       I

23     neglected to ask them.      Do you want to excuse those two?

24                MR. SCAROLA:   I understood, and I thought that maybe

25     we had dealt with that briefly at side bar, that you confirmed
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 1     with them that they were not going to be paid.

 2               THE COURT:    I don't remember speaking to them, because

 3     it's numbers 16 and 24.      I don't think we spoke to them.

 4               MR. CIOFFI:    Correct.    Maybe we should bring them up,

 5     probably, Judge, and excuse them as well.

 6               MR. SCAROLA:    Yes, I would agree that if they are

 7     going for hardship, we might as well release them at the same

 8     time that we release the cause jurors, and it would also be

 9     helpful to know whether your Honor, at this point, has made a

10     determination as to the size of the jury that we will be

11     dealing with and the number of peremptory challenges.

12               THE COURT:    Well, assuming we have at least 20, it

13     will be ten and -- ten jurors and five peremptories per side.

14     And I think we will wind up with at least 20 unless some things

15     come up that haven't already arisen that might rise to the

16     level of cause challenge.      If we had less than 20, then I may

17     have to make some adjustments.

18               MR. SCAROLA:    All right, sir, thank you.      Appreciate

19     you responding to those questions.

20               THE COURT:    You are welcome.

21               MR. CIOFFI:    Judge, it appears that Mr. Scarola is

22     going to use some sort of demonstrative evidence.

23               THE COURT:    I haven't seen that.     I don't know what it

24     is.

25               MR. CIOFFI:    I haven't seen it either, which is our
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 1     first objection.     In the trial plan we agreed to disclose

 2     demonstratives 24 hours in advance, number one.         Number two,

 3     it's certainly unusual in jury selection to use them, and we

 4     would object to using them.

 5                And the third point is there is some argument

 6     vis-à-vis the facts at sidebar.       We'd also ask that you caution

 7     counsel not to make arguments about the facts of the case.

 8                THE COURT:   Is there something on the screen?

 9                MR. SCAROLA:   No, sir.    Actually, yes, there is.

10     There is a number 1 in the upper left-hand corner of the

11     screen.    I will tell your Honor that this is not demonstrative

12     evidence.    I have written out some of the voir dire questions

13     that I want to ask of the jurors.       I thought it would be

14     helpful if they could see those questions so that they can read

15     them and they don't have to be repeated 30 times.

16                THE COURT:   You are going to write them out as you ask

17     them?

18                MR. SCAROLA:   No, no, no, I have them written out in

19     advance.

20                THE COURT:   Can you show them to counsel?

21                MR. SCAROLA:   I would be happy to.     I have an extra

22     copy for the court.     I have an extra copy for counsel.       I will

23     be happy to provide them.

24                May I approach the bench?

25                THE COURT:   Yes.
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 1               While we are going through this, let's agree on the

 2     cause challenges thus far so Irene can excuse them before they

 3     even come up.    She can --

 4               MR. SCAROLA:    Yes, sir.

 5               THE COURT:    So I have -- and tell me if I am wrong --

 6     1, 14, 17, 19, 48, 63, 79.

 7               MR. SCAROLA:    I'm sorry, your Honor, you're just

 8     getting ahead of me a little bit.

 9               THE COURT:    I'm sorry.

10               MR. SCAROLA:    You lost me after 19.

11               THE COURT:    48.

12               MR. SCAROLA:    Yes, sir.

13               THE COURT:    63.    Do you agree?

14               MR. SCAROLA:    Yes.

15               THE COURT:    Okay.    79.

16               MR. SCAROLA:    Yes.

17               THE COURT:    90.

18               MR. CIOFFI:    Yes.

19               MR. SCAROLA:    Yes.

20               THE COURT:    97.

21               MR. SCAROLA:    Yes.

22               MR. CIOFFI:    Yes.

23               THE COURT:    104.

24               MR. SCAROLA:    Yes.

25               THE COURT:    113.
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 1               MR. SCAROLA:    Yes, sir.

 2               MR. CIOFFI:    Yes.

 3               THE COURT:    And 139.

 4               MR. SCAROLA:    Yes.

 5               MR. DANTE:    Correct.

 6               THE COURT:    And we haven't yet decided on 115 and 135.

 7               MR. SCAROLA:    Yes, sir.

 8               THE COURT:    Okay.

 9               MR. CIOFFI:    Judge, with respect to those two, I would

10     ask agreement from counsel that we won't question them about

11     their ability to be fair, in light of their statements, et

12     cetera; that if there are going to be additional fairness

13     questions, that those happen at side bar so that the whole

14     panel is not poisoned.

15               MR. SCAROLA:    I would agree that we shouldn't be

16     reasking them questions that have already been asked of them.

17     If they express reservations about different matters, I think

18     that I should be entitled to get into whatever those

19     reservations may be.

20               THE COURT:    Yes, on another issue.

21               MR. SCAROLA:    Yes, sir, on another issue.

22               THE COURT:    I don't think he was suggesting you

23     couldn't examine them about other issues.

24               MR. SCAROLA:    That's fine.    That's what I understood,

25     but I am pleased that I was mistaken.
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 1               THE COURT:    Maybe I was.    So any others that we have

 2     to talk about right now?

 3               MR. SCAROLA:    The two potential hardships.

 4               THE COURT:    I have to ask them when they get here.

 5               MR. SCAROLA:    I understand.    Do you want to bring them

 6     up separately or...?

 7               THE COURT:    No.   Well, I will ask them.     That's not

 8     something that I can ask them out in front of everyone.

 9               MR. SCAROLA:    Very good.    Thank you, sir.

10               THE COURT:    We are going to excuse those that we just

11     mentioned, not even bring them up.

12               MR. SCAROLA:    I agree.

13               THE COURT:    Okay.   You can tell them.

14               MR. CIOFFI:    We object to using these.      They are much

15     less about learning something about the jurors and whether

16     there's anything in their background that would keep them from

17     being fair and impartial as opposed to trying to get them to

18     pledge allegiance to certain principles that Mr. Scarola and

19     the plaintiffs believe are important in their case.

20               That's one objection.

21               Others have questions about proof beyond a reasonable

22     doubt and the preponderance of the evidence, things the court

23     hasn't even instructed them about yet.        Some of them have

24     appeals to religious beliefs, et cetera, about being "my

25     brother's keeper" and things of that nature.
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 1               So, again, we would object to using these as a way of

 2     conditioning the jurors or having them pledge allegiance to

 3     principles the plaintiffs believe are important.

 4               MR. SCAROLA:    I don't know how Mr. Cioffi can suggest

 5     that I am asking a juror to pledge allegiance to opposite

 6     statements.    And a legitimate purpose of voir dire is to

 7     explore jurors' thoughts and feelings that may impact upon

 8     their ability to be fair and impartial.        That's what these

 9     questions are designed to do.      I simply intend to ask jurors

10     which of these statements they more closely identify with by

11     placing themselves on a scale of 1 to 5.

12               THE COURT:    Do you want to get a jury in this case

13     or --

14               MR. SCAROLA:    Yes, sir, absolutely.      That's why I

15     believe that using this methodology will enable us to be able

16     to do that in an efficient and effective manner.         I have used

17     it in the past.    It has proven very effective.       I have never

18     had a court sustain any objection to it, and objecting to it

19     has been rare.    But obviously your Honor controls what I am

20     permitted to do.     But I don't understand how they could

21     possibly be objectionable to ask them about their thoughts and

22     feelings coming into this courtroom without any reference to

23     any of the facts involved in this case.        I certainly am not

24     preconditioning them in any respect at all with regard to

25     facts.   There is no reference to any facts.
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 1               MR. CIOFFI:    Judge, I don't think it's a coincidence

 2     that some of the demonstratives we argued about, those

 3     principles show up in here.      Like businesses get sued because

 4     they too often put profit over people and so forth.

 5               It's a patent attempt to precondition the jurors to

 6     think as the plaintiffs believe is beneficial for their case,

 7     and to preview for them themes they are going to hear

 8     throughout the plaintiffs' case.       I think it's totally

 9     inappropriate.

10               MR. SCAROLA:    I am not going to suggest in the

11     remotest way that there is a right answer.        I just want to know

12     what their feelings are coming into this courtroom.         And I

13     would think that the defense would want to know that as well.

14     If there are people out -- sitting out there who believe that

15     corporations put people -- excuse me, put profit over people as

16     a matter of routine, I would think that that's information that

17     is of value to both sides.      And I would respectfully request

18     that before an objection is sustained to a question, that the

19     court at least get to hear the question.

20               THE COURT:    I thought these were the questions.

21               MR. SCAROLA:    They are the demonstrative that will be

22     used to pose questions to the jury.       Each of those pages has

23     what may be viewed as opposite statements.        And I am going to

24     ask the jurors which more closely aligns with their own

25     thoughts and feelings.     I only have one hour.      We have --
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 1                THE COURT:    Believe me, that's a lot more than I have

 2     ever given to another lawyer.

 3                MR. SCAROLA:   I understand that, and I am appreciative

 4     of it.   I am not complaining, but I want to use that time in a

 5     way that is most effective and efficient to serve the interests

 6     of our clients.

 7                MR. CIOFFI:    Slide number 5, for example, "Big

 8     verdicts are sometimes necessary to balance big harm."          Totally

 9     divorced of any kind of legal standard.        And those kinds of

10     equations, Judge, are totally inappropriate, I would submit,

11     even in closing argument unless the evidence supports them.

12     But here, they are asked to assume that big verdicts are okay

13     because there is big harm that's coming or they are going to be

14     told about.    These, again, are totally divorced from any kind

15     of evidence in the case.

16                MR. SCAROLA:   Which is why they are not at all

17     objectionable, because they are not tied to evidence in this

18     case.    They are tied to the thoughts and attitudes that jurors

19     are bringing with them into this case, independent of any

20     evidence.    And there is no suggestion as to there being any

21     right answer.    And if I do my job properly, I will impress upon

22     the jury the fact that there are no right answers.         There are

23     only answers that accurately reflect their feelings and those

24     that do not accurately reflect their feelings, which is all we

25     are attempting to discern.
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 1               With regard to the last question that opposing counsel

 2     has called the court's attention to, I thought I heard the

 3     court saying very much the same thing.

 4               THE COURT:    Which one was that?

 5               MR. SCAROLA:    About big verdicts, your Honor.

 6     Alerting the jury to the fact that there may be a request for

 7     very large damages; does anyone have a problem with that?

 8               THE COURT:    Which I already asked them.

 9               MR. SCAROLA:    Yes, sir, you did, but I am trying to

10     gauge the strength of their feelings with regard to that issue.

11               THE COURT:    Well, I will overrule the objection and

12     let you go forward, see what happens.

13               MR. SCAROLA:    Thank you, sir.

14               THE COURT:    All right.    Let's bring the jurors in.

15               THE DEPUTY CLERK:     Judge, Juror Number 18, Steven

16     Kahn, wanted to let you know that he's got two other dates that

17     he has to be called in to testify.

18               THE COURT:    Okay.   I guess we will ask him about that

19     before the lawyers start their voir dire.        So let's bring

20     everyone in.

21               (The panel of prospective jurors entered the courtroom

22     at 12:54 p.m.)

23               THE COURT:    Welcome back.    Thank you again for your

24     patience and your cooperation, ladies and gentlemen.

25               Before we start hearing from the lawyers, Mr. Kahn --
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 1     can we get Mr. Kahn the microphone.

 2               Where's Mr. Kahn?

 3               Oh, there you are.     Okay.

 4               Mr. Kahn, the last time we spoke, you had a expert

 5     witness appointment.     You weren't sure when it was going to be,

 6     but it might be during this next six-week period.         Then you had

 7     your son you were taking to college on -- I think it was the

 8     17th.   But so tell us about your expert witness situation.

 9               THE PROSPECTIVE JUROR:      So, your Honor, I have three

10     trials that are occurring in May and June.        I do have a copy of

11     the printout of case matters that I will be an expert witness.

12     One of the three trials, I have some tentative dates that were

13     provided by counsel.     The other two trials, it's to be

14     determined based upon the case and being shuffled, I guess,

15     within these three trials plus this matter.

16               THE COURT:    Okay.

17               THE PROSPECTIVE JUROR:      And I still am taking my son

18     on the 17th.    But you indicated that the trial was --

19               THE COURT:    The 17th is not a problem.      All right.    So

20     the date of the first trial, when is that first trial coming up

21     for your testimony?

22               THE PROSPECTIVE JUROR:      I believe trial is starting on

23     the 4th, but they are having a hearing today at 3:00 p.m.          So I

24     will get finalization on that.       But I was asked for May 16 or

25     May 21st.
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 1                THE COURT:   For that trial?

 2                THE PROSPECTIVE JUROR:     For being available for

 3     expert.

 4                THE COURT:   Okay.   And the others?

 5                THE PROSPECTIVE JUROR:     To be determined based upon

 6     working with this court and the other two courts.         So if

 7     there's a particular date -- as you indicated, the 17th, there

 8     was no trial occurring on that day, at least for the jury.            If

 9     there are two other dates, maybe it's manageable.

10                THE COURT:   And June, we are not sure about June, what

11     dates we might be or not be in session.        So I am not sure.      All

12     right.    Thank you for that additional information.

13                Ms. Piana, I forgot to ask you earlier today.        You

14     told us you were only going to be getting paid for two weeks?

15                THE PROSPECTIVE JUROR:     Yeah, that's correct.

16                THE COURT:   Okay.   And is that going to be a problem

17     for you financially if you are unable to get compensated for

18     the reminder of the time?

19                THE PROSPECTIVE JUROR:     Yeah, if it's going to be for

20     six weeks, I can't afford to not get paid for four weeks out of

21     it.

22                THE COURT:   All right.    Thank you, ma'am.    I should

23     have asked you that earlier.

24                And then Ms. -- is it Leite?      "Leite"?

25                THE PROSPECTIVE JUROR:     Yes, sir.
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 1               THE COURT:    What's your situation?

 2               THE PROSPECTIVE JUROR:      It took a while.    I had to go

 3     all the way up to the managing director of my company.          He said

 4     they would only pay me for five days.

 5               THE COURT:    And if you don't get paid for the

 6     remainder, would that be a problem for you financially?

 7               THE PROSPECTIVE JUROR:      Yes, it would, financially.

 8     And I also had a death in the family over the weekend, so I

 9     have to fly back to Massachusetts for a funeral.         I am flying

10     out tomorrow.

11               THE COURT:    Flying out tomorrow.

12               THE PROSPECTIVE JUROR:      And coming back, flying back

13     Thursday.

14               THE COURT:    Okay.   Thank you for that information.

15               Mr. Perez.    Yes, sir.    You were going to check with

16     your employer about compensation while on jury duty.          Did you

17     find out anything?

18               THE PROSPECTIVE JUROR:      Yes.

19               THE COURT:    And what's the answer?

20               THE PROSPECTIVE JUROR:      I do get paid.

21               THE COURT:    You do?

22               THE PROSPECTIVE JUROR:      Uh-huh.   Yes.

23               THE COURT:    Okay.   So you can be with us if you need

24     to be?

25               THE PROSPECTIVE JUROR:      Yes.
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 1               THE COURT:    Okay.   Thank you, sir.

 2               All right, ladies and gentlemen, now the attorneys are

 3     going to follow up with some additional questions for you, and

 4     we will first hear from plaintiffs' counsel, Mr. Scarola.

 5               Mr. Scarola.

 6               MR. SCAROLA:    Thank you very much, your Honor.

 7               Your Honor, if I may, I am going to try to speak

 8     without a microphone, and if there's a problem with that, I

 9     would be happy to use one, but I generally am easily heard.

10               A lapel microphone.     Ah.   Thank you very much.

11     Testing 1, 2, 3.

12               Good afternoon.     I want to begin with one of the most

13     important things I have to say to you, and that is, and I know

14     this has been said previously, but it bears repeating:          We know

15     what a significant sacrifice it entails for you to have given

16     up as much time as you have given up already, and to express a

17     willingness to be able to give up substantially more time from

18     all of the important things going on in your lives is something

19     for which we are extremely grateful because without that

20     willingness, the system just could not work.        So thank you

21     very, very much on behalf of, I am sure, everybody involved in

22     the serious responsibilities of putting on this lawsuit.

23               This part of the trial is referred to by a French

24     phrase.   I think that the law uses a lot of French and Latin so

25     that we can get charged more in tuition when we go to law
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 1     school.   This part of the trial is referred to by the French

 2     phrase "voir dire."     V-O-I-R, separate word, D-I-R-E.       I don't

 3     speak French.    Unfortunately, I also don't speak Spanish.        But

 4     I am told by French-speaking friends that voir dire literally

 5     translated means to see by asking.       The more common

 6     translation, the one that is more frequently used in a

 7     courtroom setting, is "to speak the truth."        And we certainly

 8     anticipate that each of you will honor the oaths you have taken

 9     as jurors and do the very best you can to respond to the

10     questions that we ask truthfully.       But the literal translation

11     is even a better description with what we are attempting to do

12     in this process:     To see, by asking you questions, whether you

13     can be fair and impartial jurors under the particular

14     circumstances of this case.      We assume that you are fair and

15     impartial people generally.      But each of us brings with us to

16     every decision in life we have to make all of the past

17     experiences that we have had, and whether it's consciously or

18     subconsciously, those past experiences influence what we decide

19     and how we come to that decision.

20               Things are a little bit backwards at this point.         We

21     can't talk to you about the details of this case and then say,

22     "Are there experiences in your life which might make it more

23     difficult for you to make a decision about circumstances

24     involving these facts?"      We are not going to get into the facts

25     right now.    But we still need to ask you about individual
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 1     experiences that you have had and attitudes that you bring with

 2     you.

 3               And let me give you a very simple example.        I hate

 4     liver.   I just don't like it.     I have a psychological barrier

 5     to liver.    When my mom would make it and she would smother it

 6     with sauteed onions, which I really like, and bacon, which I

 7     love, she would think that maybe now I would eat the liver, but

 8     I wasn't going to eat the liver if I knew that underneath all

 9     the good stuff was liver.      It didn't happen.    If somebody asked

10     me to be a judge in a cooking contest and one of the dishes

11     involved liver, I couldn't be fair and impartial.         I already

12     knew that I didn't like it even though I would never taste it.

13               So what we are trying to find out from you is whether

14     there are experiences, attitudes, feelings, thoughts, that may

15     make it more difficult for you to be a fair and impartial judge

16     under the particular circumstances of this case.         Does that

17     make sense to everybody?      If it doesn't, this is one of the few

18     times we actually get a chance to talk directly to you in a

19     conversation.    You get to ask questions; I do the best can I to

20     answer those questions.      I get to ask you questions, and you do

21     the best can you to answer my questions.        So feel free, please,

22     please, to speak up.     If at any time I say something that you

23     are not sure of and you think you have a question about that,

24     let's talk about it.

25               Now, there are, for purposes of this process, two
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 1     kinds of past experiences.      Actually, three.    Probably the

 2     broadest category is past experiences that have nothing at all

 3     to do with anything you are going to be asked to decide in this

 4     case.   They are just not relevant.      But there are other past

 5     experiences, and those past experiences can fall into one of

 6     two categories.    They can be tools to help you be a better

 7     juror, or they can be obstacles to fairness.        You filled out

 8     detailed questionnaires, which have helped us a great deal to

 9     learn a lot about your backgrounds.       And some of you, in the

10     responses to those questionnaires, have talked about

11     experiences that you have had which have resulted in thoughts

12     about corporations.     Some of you disclosed answers about

13     experiences that you have had about litigation, lawsuits in

14     general.    Those kinds of experiences can be either tools or

15     obstacles.    Even experiences that give rise to strong

16     suspicions.    "I am really suspicious about people who bring

17     injury lawsuits."     "I am really suspicious about big

18     corporations."    Suspicions can be tools, because suspicions

19     make you dig beneath the surface.       They make you look at what

20     the facts are in this case.

21                Does that make sense to everybody?      I see a lot of

22     heads going up and down.      Is there anybody that doesn't

23     understand that or that disagrees with what I just said?          Even

24     suspicions can be helpful to you, because they can help you to

25     be better jurors.     They can be tools that make you dig beneath
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 1     the surface and examine the facts to be sure that what you are

 2     relying upon is indeed reliable.

 3               Make sense?     Okay.

 4               However, suspicions, past experiences, can be

 5     obstacles, because they put up a wall to your looking at the

 6     facts.   My dislike of liver creates a wall.       The recipe isn't

 7     going to get into my mouth, where I can taste it.         It's a wall.

 8     It's an obstacle.     So if, while we are talking, at any time at

 9     all, about any subject, you say to yourself, "You know, I think

10     that that creates an obstacle to fairness for me, and I want to

11     bring that up.    I need to tell people candidly, that's an

12     obstacle."    I don't like the taste of it before I have ever

13     tasted it, okay?     Can you all do that for us?      Can you be sure

14     that you are willing to volunteer if you think there is a

15     problem with your being fair and impartial under the particular

16     circumstances of this case, because the obstacle is so great

17     that you cannot look beyond the surface to dig in, to find out

18     what the actual facts are?

19               Fair?   Okay.

20               Now, I have a very limited amount of time.        We,

21     collectively, have a very limited amount of time to speak to

22     you.   And so what I have attempted to do is to present some

23     statements to you that reflect relatively opposite attitudes.

24     I want you to look at those statements and I want you to be

25     able to tell us which of those opposite attitudes more closely
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 1     reflects your thoughts and your feelings.        There will be a

 2     statement here, there will be a statement here, and you are

 3     going to do just one thing:      You are going to give me a number.

 4               And I will show you what this looks like.        I hope.

 5     Some of you in the back may have trouble reading that.          I am

 6     going to read it to you.      But this gives you an idea of what we

 7     are going to be looking at.      And there is another monitor right

 8     over here that might even be a little bit easier for some of

 9     you to see.    I am going to turn that a little bit.       Only a

10     little bit.    But this will give you an idea of what we are

11     going to do.    On the left side, it says:

12               "I have serious reservations about the ability of the

13     jury system to produce just results.       It's broken and doesn't

14     work as intended.     People abuse the system to make money."

15               On the other side of the scale, it says:

16               "I strongly believe in the jury system and am

17     confident that juries usually do the right thing."

18               If you completely agree with the statement on the

19     left, you are going to say, "My number is number 1."

20               If you completely agree with the statement on the

21     right, you are going to say, "My number is number 5."

22               And if you are somewhere in the middle, you are going

23     to pick a number that's closest on that scale to how you feel.

24     Does that make sense to everybody?       Okay.

25               Now, there's another important part about this.         All
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 1     of us have a tendency to be influenced by other people's

 2     thoughts and feelings.     You don't want to be the only one that

 3     says 1.   You don't want to be the only one that says 5.

 4               And even though when you first look at this, your

 5     number may be 5, if everybody else is saying 1, certainly your

 6     number is going from 5 to 4 to 3.       We don't want that to

 7     happen.

 8               So I am going to ask you to lock your number in, lock

 9     it in, before anybody else says anything, and don't worry about

10     what is said by anyone else.      It just doesn't matter.       There

11     are no right answers.     There are no wrong answers.      There are

12     only truthful and untruthful answers.        And you have sworn to

13     tell the truth, so you are going to give us your truthful

14     response.

15               Make sense?    Okay.

16               I'm not going to have to go through that long

17     explanation each time.     We have got a number of these

18     questions, but now you know what you are to do.         Okay?   So all

19     you are going to have to do is hold up your paddle and give us

20     your number.    Okay?   And we are going to go right down the

21     rows.   We are going to be able to do this quickly.        That allows

22     us to gather a lot of information in a very short period of

23     time.

24               Yes, sir.

25               THE PROSPECTIVE JUROR:      Clarifying question.
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 1               THE COURT:    I'm sorry, sir.     Can you hold the juror

 2     number up so we can see who is speaking?

 3               And if you can, if we can get a microphone to him.

 4               THE PROSPECTIVE JUROR:      I think I can raise my voice.

 5               THE COURT:    Hold on, sir.

 6               You are Juror Number 70?      Mr. White?

 7               THE PROSPECTIVE JUROR:      Yes, sir.

 8               THE COURT:    Okay.   Yes, sir.

 9               THE PROSPECTIVE JUROR:      The numbers 1 through 5, it

10     looks to be like 3 would be dead in the middle, but yet it's

11     skewed to the left of the line.       Is that intentional?

12               MR. SCAROLA:    Astutely observant.     Thank you.

13               THE PROSPECTIVE JUROR:      Is that intentional?

14               MR. SCAROLA:    It is not intentional.       3 is intended to

15     be right in the middle of 1 through 5.

16               THE PROSPECTIVE JUROR:      Thanks for the clarification.

17               MR. SCAROLA:    No, and I appreciate your attention to

18     detail.   That's very good.     Thank you for it.

19               The scale goes from 1 to 5.

20               3, "I am somewhere right between those two

21     statements."

22               4, "I am leaning a little bit closer one way."

23               2, "I am leaning a little bit closer the other way."

24               Everybody understand that now?       Okay.

25               Everybody lock your numbers in?       Do I need to read it
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 1     again?    No, no, no, no.    Good.

 2                We start.

 3                Juror Number 3.

 4                THE PROSPECTIVE JUROR:     For the first question,

 5     number 1.    For the second question --

 6                MR. SCAROLA:   Okay.   I didn't do a very good job.      I

 7     am going to try again.      We will get this all straightened out

 8     quickly.    You only get to pick one number.      Okay?   You get to

 9     pick the number that is closest to reflecting your feelings

10     about the subject matter discussed by those two statements.

11     Okay?    So where on that scale do you put you?

12                THE PROSPECTIVE JUROR:     Number 5.

13                MR. SCAROLA:   Thank you very much.

14                Next.   Hold up your paddle.    And just give us your

15     number.

16                THE PROSPECTIVE JUROR:     Number 4.

17                MR. SCAROLA:   Thank you.

18                THE PROSPECTIVE JUROR:     Number 5.

19                MR. SCAROLA:   Thank you very much.

20                THE PROSPECTIVE JUROR:     Number 5.

21                MR. SCAROLA:   Thank you very much.

22                Juror Number 51.

23                THE PROSPECTIVE JUROR:     Number 2.

24                MR. SCAROLA:   Thank you.

25                43.
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 1               THE PROSPECTIVE JUROR:      4.

 2               MR. SCAROLA:     Thank you.

 3               37.

 4               THE PROSPECTIVE JUROR:      4.

 5               MR. SCAROLA:     Thank you.

 6               36.

 7               THE PROSPECTIVE JUROR:      4.

 8               MR. SCAROLA:     31.

 9               THE PROSPECTIVE JUROR:      5.

10               THE PROSPECTIVE JUROR:      5.

11               MR. SCAROLA:     24 is 5.

12               THE PROSPECTIVE JUROR:      4.

13               MR. SCAROLA:     You've got the paddle backwards.      Got

14     it.   Thank you.

15               Okay.    Next.

16               THE COURT:    21 was 4?

17               THE PROSPECTIVE JUROR:      4.

18               THE PROSPECTIVE JUROR:      52.   Number 5.

19               MR. SCAROLA:     Thank you.

20               THE PROSPECTIVE JUROR:      4.

21               THE COURT:    58.

22               THE PROSPECTIVE JUROR:      Number 61. 4.

23               MR. SCAROLA:     Thank you.

24               THE PROSPECTIVE JUROR:      Number 64.   5.

25               MR. SCAROLA:     Thank you.
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 1               THE PROSPECTIVE JUROR:      68.    4.

 2               THE PROSPECTIVE JUROR:      70.    2.

 3               MR. SCAROLA:    Thank you.

 4               THE PROSPECTIVE JUROR:      115.    3.

 5               MR. SCAROLA:    Thank you.

 6               THE PROSPECTIVE JUROR:      109.    3.

 7               THE COURT:    I'm sorry.    What was your number, ma'am?

 8     109?

 9               MR. SCAROLA:    109.   Number 3.

10               THE COURT:    Okay.    Thank you.

11               THE PROSPECTIVE JUROR:      96.    4.

12               MR. SCAROLA:    Thank you.

13               THE PROSPECTIVE JUROR:      4.

14               MR. SCAROLA:    88.    4.

15               THE PROSPECTIVE JUROR:      4.

16               MR. SCAROLA:    125.   4.

17               THE PROSPECTIVE JUROR:      4.

18               MR. SCAROLA:    127.   4.

19               THE PROSPECTIVE JUROR:      130.    4.

20               MR. SCAROLA:    Thank you.

21               THE PROSPECTIVE JUROR:      4.

22               MR. SCAROLA:    133 was 4.

23               THE PROSPECTIVE JUROR:      5.

24               MR. SCAROLA:    134.   5.

25               135?
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 1               THE PROSPECTIVE JUROR:      4.

 2               MR. SCAROLA:     Thank you.

 3               THE PROSPECTIVE JUROR:      140.   5.

 4               MR. SCAROLA:     Excellent.   Congratulations.     I think we

 5     got it.   We are going to move on to the next one.         And see if I

 6     can zoom.    Whoops, that's not it.

 7               "Juries are far too generous with other people's

 8     money, and the law should impose limits on how much a jury is

 9     allowed to award as compensation in a wrongful death case,

10     because money can't bring back someone who has died."

11               First statement.

12               Next statement:

13               "I trust juries to do the right thing in making

14     decisions about what is just and reasonable compensation,

15     including in a death case."

16               Everybody understand the two statements?         Everybody

17     lock their number in?

18               Okay.   Again.

19               You have to hold up your paddle.

20               THE PROSPECTIVE JUROR:      Number 3.      I choose number 5.

21               MR. SCAROLA:     Thank you.

22               3 is 5.

23               THE PROSPECTIVE JUROR:      16.    5.

24               MR. SCAROLA:     Thank you.

25               THE PROSPECTIVE JUROR:      18.    Five.
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 1               MR. SCAROLA:    Thank you, sir.

 2               THE PROSPECTIVE JUROR:      20. 5.

 3               THE PROSPECTIVE JUROR:      3.

 4               MR. SCAROLA:    51.   3.

 5               THE PROSPECTIVE JUROR:      3.

 6               MR. SCAROLA:    43.   3.

 7               THE PROSPECTIVE JUROR:      4.

 8               MR. SCAROLA:    37.   4.

 9               THE PROSPECTIVE JUROR:      5.

10               MR. SCAROLA:    36.   5.

11               31?

12               THE PROSPECTIVE JUROR:      5.

13               THE PROSPECTIVE JUROR:      24.   4.

14               THE PROSPECTIVE JUROR:      4.

15               MR. SCAROLA:    21.   4.

16               THE PROSPECTIVE JUROR:      4.

17               MR. SCAROLA:    52.   4.

18               THE PROSPECTIVE JUROR:      4.

19               MR. SCAROLA:    58.   4.

20               THE PROSPECTIVE JUROR:      4.

21               MR. SCAROLA:    61. 4.

22               THE PROSPECTIVE JUROR:      4.

23               MR. SCAROLA:    64. 4.

24               THE PROSPECTIVE JUROR:      5.

25               MR. SCAROLA:    68.   5.
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 1               THE PROSPECTIVE JUROR:      3.

 2               MR. SCAROLA:    70.    3.

 3               THE PROSPECTIVE JUROR:      4.

 4               MR. SCAROLA:    115.   4.

 5               109?

 6               THE PROSPECTIVE JUROR:      3.

 7               MR. SCAROLA:    3.

 8               THE PROSPECTIVE JUROR:      3.

 9               MR. SCAROLA:    96.    3.

10               88?

11               THE PROSPECTIVE JUROR:      5.

12               MR. SCAROLA:    125?

13               THE PROSPECTIVE JUROR:      3.

14               MR. SCAROLA:    3.

15               THE PROSPECTIVE JUROR:      4.

16               THE PROSPECTIVE JUROR:      127.   4.

17               THE PROSPECTIVE JUROR:      5.

18               MR. SCAROLA:    130.   5.

19               THE PROSPECTIVE JUROR:      3.

20               MR. SCAROLA:    133 is 3.

21               THE PROSPECTIVE JUROR:      5.

22               MR. SCAROLA:    134.   5.

23               THE PROSPECTIVE JUROR:      4.

24               MR. SCAROLA:    135.   4.

25               THE PROSPECTIVE JUROR:      4.
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 1               MR. SCAROLA:    140.   4.

 2               Thank you very much.     You're doing great.

 3               Moving on to the next question.

 4               "Most injury lawsuits are frivolous.        Frivolous

 5     lawsuits get weeded out before they ever reach a jury."

 6               Everybody understand the two statements?        Got your

 7     numbers locked in?

 8               Let's do it.    Announce your paddle number; announce

 9     your number.

10               Juror Number 3.

11               THE COURT:    Let's get the microphone, Mr. Scarola.

12               MR. SCAROLA:    Oh, sorry.

13               3?

14               THE PROSPECTIVE JUROR:      Number 4.

15               MR. SCAROLA:    Thank you.

16               116?

17               THE PROSPECTIVE JUROR:      Number 3.

18               MR. SCAROLA:    Thank you.

19               THE PROSPECTIVE JUROR:      18.   4.

20               MR. SCAROLA:    Thank you.

21               20.    4.

22               51?

23               THE PROSPECTIVE JUROR:      3.

24               MR. SCAROLA:    43?

25               THE PROSPECTIVE JUROR:      3.
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 1               MR. SCAROLA:    Thank you.

 2               THE PROSPECTIVE JUROR:      3.

 3               MR. SCAROLA:    37.   3.

 4               THE PROSPECTIVE JUROR:      2.

 5               MR. SCAROLA:    36.   2.

 6               THE PROSPECTIVE JUROR:      4.

 7               MR. SCAROLA:    31. 4.

 8               THE PROSPECTIVE JUROR:      4.

 9               MR. SCAROLA:    24.   4.

10               THE PROSPECTIVE JUROR:      3.

11               MR. SCAROLA:    21.   3.

12               THE PROSPECTIVE JUROR:      4.

13               MR. SCAROLA:    52.   4.

14               THE PROSPECTIVE JUROR:      3.

15               MR. SCAROLA:    58.   3.

16               THE PROSPECTIVE JUROR:      61.   4.

17               MR. SCAROLA:    61.   4.

18               64?

19               THE PROSPECTIVE JUROR:      3.

20               MR. SCAROLA:    2.

21               THE PROSPECTIVE JUROR:      68.   3.

22               MR. SCAROLA:    Thank you.

23               THE PROSPECTIVE JUROR:      Number 70.   4.

24               MR. SCAROLA:    Thank you.

25               THE PROSPECTIVE JUROR:      3.
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 1               MR. SCAROLA:    115.   3.

 2               109?

 3               THE PROSPECTIVE JUROR:      3.

 4               MR. SCAROLA:    Thank you.

 5               THE PROSPECTIVE JUROR:      4.

 6               MR. SCAROLA:    96.    4.

 7               THE PROSPECTIVE JUROR:      88.    4.

 8               MR. SCAROLA:    88.    4.

 9               THE PROSPECTIVE JUROR:      4.

10               MR. SCAROLA:    125.   4.

11               THE PROSPECTIVE JUROR:      4.

12               MR. SCAROLA:    127.   4.

13               THE PROSPECTIVE JUROR:      130.   3.

14               MR. SCAROLA:    130.   3.

15               THE PROSPECTIVE JUROR:      3.

16               MR. SCAROLA:    133.   3.

17               THE PROSPECTIVE JUROR:      4.

18               MR. SCAROLA:    134.   4.

19               THE PROSPECTIVE JUROR:      3.

20               MR. SCAROLA:    135.   3.

21               140?

22               THE PROSPECTIVE JUROR:      3.

23               MR. SCAROLA:    Thank you very much.

24               Next question.

25               "Big verdicts hurt everyone" -- excuse me.        Not quite
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 1     yet.

 2               "Big businesses get targeted with lawsuits because

 3     they have deep pockets."

 4               "Big businesses get sued because they too often put

 5     profit over people."

 6               Everybody understand the two statements?

 7               "Big businesses get targeted with lawsuits because

 8     they have deep pockets."

 9               "Big businesses get sued because they too often put

10     profit over people."

11               Lock your numbers in.      Ready?

12               Yes, sir.    3.

13               THE PROSPECTIVE JUROR:      Number 3.

14               MR. SCAROLA:      Thank you.

15               16?

16               THE PROSPECTIVE JUROR:      Number 5.

17               MR. SCAROLA:      Thank you.

18               18?

19               THE PROSPECTIVE JUROR:      3.

20               MR. SCAROLA:      Thank you.

21               20?

22               THE PROSPECTIVE JUROR:      3.

23               MR. SCAROLA:      Thank you.

24               51?

25               THE PROSPECTIVE JUROR:      3.
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 1               MR. SCAROLA:    43?

 2               THE PROSPECTIVE JUROR:      5.

 3               MR. SCAROLA:    37?

 4               THE PROSPECTIVE JUROR:      4.

 5               MR. SCAROLA:    36?

 6               THE PROSPECTIVE JUROR:      3.

 7               MR. SCAROLA:    31?

 8               THE PROSPECTIVE JUROR:      3.

 9               MR. SCAROLA:    Thank you.

10               THE PROSPECTIVE JUROR:      3.

11               MR. SCAROLA:    That's 24.

12               21?

13               THE PROSPECTIVE JUROR:      3.

14               MR. SCAROLA:    3.

15               THE PROSPECTIVE JUROR:      4.

16               MR. SCAROLA:    52.   4.

17               THE PROSPECTIVE JUROR:      4.

18               MR. SCAROLA:    58. 4.

19               61?

20               THE PROSPECTIVE JUROR:      61.   3.

21               MR. SCAROLA:    3.

22               THE PROSPECTIVE JUROR:      64.   3.

23               MR. SCAROLA:    Thank you.

24               THE PROSPECTIVE JUROR:      68.   3.

25               MR. SCAROLA:    Thank you.
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 1               70?

 2               THE PROSPECTIVE JUROR:       4.

 3               MR. SCAROLA:    4.

 4               115?

 5               THE PROSPECTIVE JUROR:       5.

 6               MR. SCAROLA:    5.

 7               THE PROSPECTIVE JUROR:       4.

 8               MR. SCAROLA:    109.    4.

 9               THE PROSPECTIVE JUROR:       96.    4.

10               MR. SCAROLA:    Thank you.

11               THE PROSPECTIVE JUROR:       88.    4.

12               MR. SCAROLA:    Good.   Thank you.

13               THE PROSPECTIVE JUROR:       3.

14               MR. SCAROLA:    125.    3.

15               THE PROSPECTIVE JUROR:       3.

16               MR. SCAROLA:    127.    3.

17               THE PROSPECTIVE JUROR:       130.   4.

18               MR. SCAROLA:    130 is 4.

19               THE PROSPECTIVE JUROR:       133.   4.

20               MR. SCAROLA:    133. 4.

21               THE PROSPECTIVE JUROR:       3.

22               MR. SCAROLA:    134.    3.

23               THE PROSPECTIVE JUROR:       2.

24               MR. SCAROLA:    135.    2.

25               THE PROSPECTIVE JUROR:       3.
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 1               MR. SCAROLA:    140.   3.

 2               Thank you.

 3               Number 5:

 4               "Big verdicts hurt everyone because they tend to

 5     increase prices for everything we need, from food and fuel to

 6     health care and insurance costs."

 7               "Big verdicts are sometimes necessary to balance big

 8     harm, and to hold others responsible when they are careless or

 9     illegal conduct hurts other people."

10               Lock your numbers in.

11               Able to see that in the back?       Okay.

12               Number 3.

13               THE PROSPECTIVE JUROR:      Number 4.

14               MR. SCAROLA:    4.    Thank you very much.

15               I don't mean to rush you, and I appreciate the fact

16     that you are thinking about this carefully.        Thank you.

17               THE PROSPECTIVE JUROR:      Number 5.

18               MR. SCAROLA:    16. 5.

19               THE PROSPECTIVE JUROR:      Number 3.

20               MR. SCAROLA:    18.    3.

21               THE PROSPECTIVE JUROR:      3.

22               MR. SCAROLA:    20.    3.

23               51?

24               THE PROSPECTIVE JUROR:      3.

25               MR. SCAROLA:    Thank you.
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 1               43?

 2               THE PROSPECTIVE JUROR:      3.

 3               MR. SCAROLA:    Thank you.

 4               37?

 5               THE PROSPECTIVE JUROR:      3.

 6               MR. SCAROLA:    3.

 7               36?

 8               THE PROSPECTIVE JUROR:      4.

 9               MR. SCAROLA:    Thank you.

10               31?

11               THE PROSPECTIVE JUROR:      5.

12               MR. SCAROLA:    Thank you.

13               THE PROSPECTIVE JUROR:      24.    4.

14               THE PROSPECTIVE JUROR:      21.    4.

15               THE PROSPECTIVE JUROR:      52.    4.

16               MR. SCAROLA:    Thank you.

17               THE PROSPECTIVE JUROR:      58.    3.

18               THE PROSPECTIVE JUROR:      61.    4.

19               THE PROSPECTIVE JUROR:      64.    4.

20               THE PROSPECTIVE JUROR:      68.    3.

21               THE PROSPECTIVE JUROR:      70.    3.

22               THE PROSPECTIVE JUROR:      3.

23               MR. SCAROLA:    115.   3.

24               THE PROSPECTIVE JUROR:      109.   3.

25               THE PROSPECTIVE JUROR:      96.    5.
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 1                THE PROSPECTIVE JUROR:     88.    3.

 2                THE PROSPECTIVE JUROR:     4.

 3                MR. SCAROLA:   125.   4.

 4                THE PROSPECTIVE JUROR:     127.   5.

 5                THE PROSPECTIVE JUROR:     130.   4.

 6                MR. SCAROLA:   Thank you.

 7                THE PROSPECTIVE JUROR:     133.   4.

 8                MR. SCAROLA:   Thank you.

 9                THE PROSPECTIVE JUROR:     3.

10                MR. SCAROLA:   134.   3.

11                THE PROSPECTIVE JUROR:     135.   4.

12                MR. SCAROLA:   Thank you.

13                THE PROSPECTIVE JUROR:     140.   3.

14                MR. SCAROLA:   Thank you very much.

15                We have reached the halfway point.      I am going to

16     break away from the scales for just a moment to ask you a

17     different kind of question.

18                How many of you, as you are sitting here right now,

19     are hoping against hope you can find a way to still tell the

20     truth, to still honor your civic responsibility, but to get out

21     of here?    Stand up and hold up your number, and I am serious

22     about this.

23                Okay.   127, 115, 51, 133, 43, 24, 52.

24                PROSPECTIVE JUROR:    What's the question again?      I'm

25     sorry.
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 1               MR. SCAROLA:    That's quite all right.

 2               How many of you, recognizing that you have an

 3     obligation to tell the truth, understanding your civic duty to

 4     be here, are nonetheless hoping against hope you can find a way

 5     to get out of here?     Okay?

 6               Anybody else?

 7               Okay.   Now, yes, ma'am.     Your number, please.

 8               96.   16.   Thank you.

 9               I am going to flip that coin over.

10               How many of you want to be on this jury?        You

11     recognize that this is an opportunity for you to be a

12     participant in something that's extremely important, and as big

13     a sacrifice as it is, it's a sacrifice that you are hoping you

14     get to make?    Is there anyone that's feeling that way right

15     now?

16               3, 31, 18, 37, 36, 20, 140, 134.       All right.     Thank

17     you.   Appreciate that.

18               And let's get back -- let's get back to our scales.

19     And this one requires just a little bit of an introduction.

20     This is a civil lawsuit.      It is not a criminal case.      Anyone

21     who has watched even a little bit of television over the course

22     of their lifetime and had occasion to flip channels through for

23     some law program has heard somebody stand up and use the phrase

24     "beyond and to the exclusion of every reasonable doubt."          Does

25     that sound familiar to people?       Okay.   That's the burden of
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 1     proof in criminal cases.      In order for the government to take

 2     away someone's freedom, the law says that all of the material

 3     elements of the crime that is charged must be proven beyond and

 4     to the exclusion of every reasonable doubt.

 5               The burden of proof in a civil case is different.          The

 6     matters that we will be discussing here in this courtroom are

 7     very important.    But as important as they are, they don't

 8     equate to the value of an individual's freedom.         And the law

 9     recognizes that distinction by observing a different burden of

10     proof.   The plaintiffs in this action carry the burden of

11     proving their case, but we are not obliged to prove our case

12     beyond every reasonable doubt.       Our obligation is to prove the

13     case by what the law refers to as a preponderance of the

14     evidence or the greater weight of the evidence.         If we are

15     looking at a scale, the party in a civil lawsuit who is able,

16     at the conclusion of the case, to tip the scale even a little

17     bit in their favor is the party that prevails.         The greater

18     weight of the evidence, no matter how slight that greater

19     weight may be.    Preponderance of the evidence, greater weight

20     on one side; beyond and to the exclusion of every reasonable

21     doubt on the other side.

22               Whether you like that difference or not, that's the

23     distinction that the law recognizes.       But that doesn't mean

24     that that's the way have you to feel.

25               So this question is a question about your feelings.
                                                                             100
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  1                "I need more proof than simply a preponderance of the

  2     evidence before I could return a large verdict.        For a large

  3     verdict, the proof needs to be beyond a reasonable doubt."

  4                "The law may say a preponderance of the evidence is

  5     enough, but my mind and my heart tell me something different.

  6     I need more."

  7                On the other side:    The size of the verdict necessary

  8     to balance the harm suffered by a claimant should not increase

  9     their burden of proof.

 10                No matter how much money we ultimately may be talking

 11     about, the burden is what the law says it is: greater weight of

 12     the evidence.

 13                Everybody understand that distinction?      Okay.

 14                Same process.   Lock your numbers in.     Where are you on

 15     that scale?

 16                Juror Number 3.

 17                I need to interrupt again for just a moment.

 18                I am terribly sorry that we have reduced you to

 19     numbers.    That depersonalization offends me, and I suspect it

 20     offends you as well.     You have names.    Eventually, when we

 21     select the jurors who will be trying this case, we will get to

 22     know your names, and know them well, because we will be living

 23     together for a considerable period of time.        But right now,

 24     especially for the benefit of the court reporter, who needs to

 25     take everything down and attribute your statements to a
                                                                             101
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  1     particular individual, again, efficiency requires that we

  2     identify you by number.     I'm sorry about that.

  3               Juror Number 3, your number?

  4               THE PROSPECTIVE JUROR:     Number 4.

  5               MR. SCAROLA:    Thank you.

  6               16?

  7               THE PROSPECTIVE JUROR:     Number 3.

  8               MR. SCAROLA:    Thank you.

  9               THE PROSPECTIVE JUROR:     18.   Number 3.

 10               MR. SCAROLA:    Thank you.

 11               THE PROSPECTIVE JUROR:     Number 4.

 12               MR. SCAROLA:    Thank you.

 13               That was Juror Number 20.

 14               51?

 15               THE PROSPECTIVE JUROR:     Number 2.

 16               MR. SCAROLA:    2.

 17               THE PROSPECTIVE JUROR:     3.

 18               MR. SCAROLA:    43.   3.

 19               THE PROSPECTIVE JUROR:     3.

 20               MR. SCAROLA:    37.   3.

 21               36?

 22               THE PROSPECTIVE JUROR:     4.

 23               MR. SCAROLA:    Thank you.

 24               31?

 25               THE PROSPECTIVE JUROR:     3.
                                                                             102
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  1               THE PROSPECTIVE JUROR:      24.    4.

  2               THE PROSPECTIVE JUROR:      21.    3.

  3               MR. SCAROLA:    Thank you.

  4               THE PROSPECTIVE JUROR:      52.    4.

  5               THE PROSPECTIVE JUROR:      58.    3.

  6               THE PROSPECTIVE JUROR:      61.    3.

  7               THE PROSPECTIVE JUROR:      64.    4.

  8               THE PROSPECTIVE JUROR:      68.    4.

  9               THE PROSPECTIVE JUROR:      Number 70.   4.

 10               THE PROSPECTIVE JUROR:      2.

 11               MR. SCAROLA:    115.   2.

 12               THE PROSPECTIVE JUROR:      3.

 13               MR. SCAROLA:    109.   3.

 14               THE PROSPECTIVE JUROR:      96.    3.

 15               MR. SCAROLA:    96.    3.

 16               THE PROSPECTIVE JUROR:      88.    4.

 17               MR. SCAROLA:    Thank you.

 18               THE PROSPECTIVE JUROR:      3.

 19               MR. SCAROLA:    125.   3.

 20               THE PROSPECTIVE JUROR:      127.   5.

 21               MR. SCAROLA:    127.   5.

 22               THE PROSPECTIVE JUROR:      130.   4.

 23               MR. SCAROLA:    Thank you.

 24               THE PROSPECTIVE JUROR:      133.   4.

 25               THE PROSPECTIVE JUROR:      3.
                                                                             103
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  1               MR. SCAROLA:    134.   3.

  2               THE PROSPECTIVE JUROR:      135.   5.

  3               MR. SCAROLA:    135.   5.

  4               THE PROSPECTIVE JUROR:      140.   3.

  5               MR. SCAROLA:    140.   3.

  6               Thank you very much.     Moving on to the next one.

  7               "You cannot expect business to be conducted in foreign

  8     countries by the same standards that apply in the U.S."

  9               On the other side of the scale:

 10               "American companies should be expected to observe the

 11     same high standards no matter where they conduct business."

 12               THE PROSPECTIVE JUROR:      Can you repeat that, please?

 13               MR. SCAROLA:    Yes.   On one side of the scale:

 14               "You cannot expect American" -- excuse me.

 15               "You cannot expect business to be conducted in foreign

 16     countries by the same standards that apply in the

 17     United States."

 18               On the other side:

 19               "American companies should be expected to observe the

 20     same high standards no matter where they conduct business."

 21               Okay?   Lock in your numbers.

 22               Juror Number 3.

 23               THE PROSPECTIVE JUROR:      Number 4.

 24               MR. SCAROLA:    Thank you.

 25               16?
                                                                             104
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                                     228


  1               THE PROSPECTIVE JUROR:     Number 5.

  2               MR. SCAROLA:    18.

  3               THE PROSPECTIVE JUROR:     Number 2.

  4               THE PROSPECTIVE JUROR:     5.

  5               MR. SCAROLA:    Twenty is 5.

  6               51?

  7               THE PROSPECTIVE JUROR:     2.

  8               MR. SCAROLA:    2.

  9               43?

 10               THE PROSPECTIVE JUROR:     5.

 11               MR. SCAROLA:    Thank you, sir.

 12               37?

 13               THE PROSPECTIVE JUROR:     4.

 14               MR. SCAROLA:    4.

 15               THE PROSPECTIVE JUROR:     5.

 16               MR. SCAROLA:    36 is 5.

 17               31?

 18               THE PROSPECTIVE JUROR:     5.

 19               MR. SCAROLA:    24?

 20               THE PROSPECTIVE JUROR:     5.

 21               MR. SCAROLA:    And 21?

 22               THE PROSPECTIVE JUROR:     4.

 23               MR. SCAROLA:    Thank you.   Passing it back.

 24               THE PROSPECTIVE JUROR:     5.

 25               MR. SCAROLA:    52.   5.
                                                                             105
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  1               THE PROSPECTIVE JUROR:      58.    4.

  2               MR. SCAROLA:    58.    4.

  3               THE PROSPECTIVE JUROR:      61.    4.

  4               MR. SCAROLA:    61.    4.

  5               THE PROSPECTIVE JUROR:      64. 5.

  6               MR. SCAROLA:    Thank you.

  7               THE PROSPECTIVE JUROR:      68.    5.

  8               MR. SCAROLA:    Thank you.

  9               THE PROSPECTIVE JUROR:      Number 70.   5.

 10               MR. SCAROLA:    Thank you very much.

 11               THE PROSPECTIVE JUROR:      5.

 12               MR. SCAROLA:    115 is 5.

 13               109?

 14               THE PROSPECTIVE JUROR:      5.

 15               THE PROSPECTIVE JUROR:      96.    5.

 16               MR. SCAROLA:    96.    5.

 17               88?

 18               THE PROSPECTIVE JUROR:      5.

 19               MR. SCAROLA:    Thank you.

 20               THE PROSPECTIVE JUROR:      2.

 21               MR. SCAROLA:    125.   2.

 22               THE PROSPECTIVE JUROR:      127.   4.

 23               MR. SCAROLA:    127.   4.

 24               THE PROSPECTIVE JUROR:      130.   5.

 25               MR. SCAROLA:    Thank you.
                                                                             106
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                                     228


  1               THE PROSPECTIVE JUROR:     133.   5.

  2               MR. SCAROLA:    Thank you.

  3               THE PROSPECTIVE JUROR:     134.   5.

  4               MR. SCAROLA:    Thank you.

  5               THE PROSPECTIVE JUROR:     135.   5.

  6               MR. SCAROLA:    Thank you very much.

  7               140?

  8               THE PROSPECTIVE JUROR:     4.

  9               MR. SCAROLA:    Thank you.

 10               How many of you are bored to death with this already?

 11     Do you find it stimulating you to think about things that you

 12     haven't ever had the opportunity to think about before?

 13               Okay.   Good.   Good.

 14               And we are doing what we need to do, helping you to

 15     find out something about yourselves to share with us.         So thank

 16     you for that.

 17               Okay.   Next:

 18               "Charity begins and ends at home.       I have an

 19     obligation to share what I have with those less fortunate.           I

 20     am my brother's keeper."

 21               "Charity begins and ends at home.       I have an

 22     obligation to share what I have with other people.         I am my

 23     brother's keeper."

 24               Lock in your numbers.     Let's go.

 25               Number 3.
                                                                             107
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                                     228


  1               THE PROSPECTIVE JUROR:     Number 5.

  2               MR. SCAROLA:    Thank you.

  3               THE PROSPECTIVE JUROR:     Number 5.

  4               MR. SCAROLA:    16.   5.

  5               18?

  6               THE PROSPECTIVE JUROR:     Number 4.

  7               MR. SCAROLA:    Number 20?

  8               THE PROSPECTIVE JUROR:     5.

  9               MR. SCAROLA:    51?

 10               THE PROSPECTIVE JUROR:     4.

 11               MR. SCAROLA:    43?

 12               THE PROSPECTIVE JUROR:     4.

 13               MR. SCAROLA:    37?

 14               THE PROSPECTIVE JUROR:     3.

 15               THE PROSPECTIVE JUROR:     3.

 16               MR. SCAROLA:    36.   3.

 17               31?

 18               THE PROSPECTIVE JUROR:     4.

 19               MR. SCAROLA:    24?

 20               THE PROSPECTIVE JUROR:     4.

 21               MR. SCAROLA:    21?

 22               THE PROSPECTIVE JUROR:     5.

 23               MR. SCAROLA:    Thank you.   Passing it back.

 24               THE PROSPECTIVE JUROR:     3.

 25               MR. SCAROLA:    52 is 3.
                                                                             108
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  1               THE PROSPECTIVE JUROR:      58.    3.

  2               MR. SCAROLA:    Thank you.

  3               THE PROSPECTIVE JUROR:      61.    4.

  4               THE PROSPECTIVE JUROR:      64.    3.

  5               THE PROSPECTIVE JUROR:      68.    3.

  6               THE PROSPECTIVE JUROR:      70.    4.

  7               THE PROSPECTIVE JUROR:      115.   5.

  8               MR. SCAROLA:    Thank you.

  9               109?

 10               THE PROSPECTIVE JUROR:      4.

 11               THE PROSPECTIVE JUROR:      96.    4.

 12               MR. SCAROLA:    Thank you.

 13               THE PROSPECTIVE JUROR:      88.    4.

 14               MR. SCAROLA:    Thank you.

 15               THE PROSPECTIVE JUROR:      3.

 16               MR. SCAROLA:    125 is 3.

 17               THE PROSPECTIVE JUROR:      127.   3.

 18               MR. SCAROLA:    Thank you.

 19               THE PROSPECTIVE JUROR:      130.   4.

 20               THE PROSPECTIVE JUROR:      133.   4.

 21               THE PROSPECTIVE JUROR:      134.   5.

 22               MR. SCAROLA:    Thank you.

 23               THE PROSPECTIVE JUROR:      135.   3.

 24               MR. SCAROLA:    Thank you.

 25               And 140?
                                                                             109
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                                     228


  1               THE PROSPECTIVE JUROR:     4.

  2               MR. SCAROLA:    All right.   Thank you very much.

  3               What you may have already learned from the statement

  4     that Judge Marra made about the nature of this claim, the

  5     plaintiffs in this action are citizens and residents of the

  6     South American country of Colombia.       Most of them are Spanish

  7     speaking, do not speak English, and will communicate with you

  8     through an interpreter.

  9               So I have some questions that are directed at that

 10     circumstance.    And the first of them is the following:

 11               "People in other countries should look to their own

 12     government and their own neighbors to take care of their

 13     needs."

 14               Next statement, opposite end of the scale:

 15               "Our legal system should be open to address wrongs

 16     done by an American company no matter where the victims live."

 17               Numbers locked in?     Same drill.

 18               Number 3.

 19               THE PROSPECTIVE JUROR:     Can you just give me one

 20     second?

 21               MR. SCAROLA:    Yes.   We can give a lot more time and

 22     come back to you, if you'd like.

 23               THE PROSPECTIVE JUROR:     Number 4.

 24               MR. SCAROLA:    Thank you.

 25               16?
                                                                             110
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  1               THE PROSPECTIVE JUROR:     Number 4.

  2               MR. SCAROLA:    Thank you.

  3               18?

  4               THE PROSPECTIVE JUROR:     Number 3.

  5               MR. SCAROLA:    Thank you.

  6               THE PROSPECTIVE JUROR:     20.   Number 5.

  7               MR. SCAROLA:    Thank you.

  8               THE PROSPECTIVE JUROR:     51.   Number 3.

  9               THE PROSPECTIVE JUROR:     4.

 10               MR. SCAROLA:    43 is 4.

 11               37?

 12               THE PROSPECTIVE JUROR:     4.

 13               MR. SCAROLA:    Thank you.

 14               36?

 15               THE PROSPECTIVE JUROR:     3.

 16               MR. SCAROLA:    Thank you.

 17               31?

 18               THE PROSPECTIVE JUROR:     5.

 19               MR. SCAROLA:    24?

 20               THE PROSPECTIVE JUROR:     5.

 21               MR. SCAROLA:    21?

 22               THE PROSPECTIVE JUROR:     21.   4.

 23               MR. SCAROLA:    Thank you.

 24               THE PROSPECTIVE JUROR:     52.   5.

 25               MR. SCAROLA:    Thank you.
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  1               THE PROSPECTIVE JUROR:      58.    4.

  2               THE PROSPECTIVE JUROR:      61.    4.

  3               THE PROSPECTIVE JUROR:      64.    5.

  4               THE PROSPECTIVE JUROR:      68.    5.

  5               THE PROSPECTIVE JUROR:      Number 70.   4.

  6               THE PROSPECTIVE JUROR:      4.

  7               MR. SCAROLA:    115 is 4.

  8               109?

  9               THE PROSPECTIVE JUROR:      5.

 10               MR. SCAROLA:    Thank you.

 11               THE PROSPECTIVE JUROR:      96.    5.

 12               THE PROSPECTIVE JUROR:      88.    5.

 13               MR. SCAROLA:    Thank you.

 14               THE PROSPECTIVE JUROR:      125.   4.

 15               THE PROSPECTIVE JUROR:      127.   4.

 16               THE PROSPECTIVE JUROR:      130.   5.

 17               THE PROSPECTIVE JUROR:      133.   5.

 18               THE PROSPECTIVE JUROR:      5.

 19               MR. SCAROLA:    134 is 5.

 20               THE PROSPECTIVE JUROR:      135.   5.

 21               MR. SCAROLA:    135. 5.

 22               140?

 23               THE PROSPECTIVE JUROR:      5.

 24               MR. SCAROLA:    All right.   Somewhat related question.

 25               "If you are asking an American court for relief, you
                                                                             112
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  1     should at least be able to speak English."

  2               On the other side:

  3               "The right to justice in an American court has nothing

  4     to do with what language you speak."

  5               Ready to lock your numbers in?        Numbers locked in?

  6               Number 3.

  7               THE PROSPECTIVE JUROR:     Number 4.

  8               MR. SCAROLA:    Thank you.

  9               16?

 10               THE PROSPECTIVE JUROR:     Number 5.

 11               MR. SCAROLA:    Great.   Thank you.

 12               THE PROSPECTIVE JUROR:     Number 5. 18.

 13               THE PROSPECTIVE JUROR:     20.   Number 5.

 14               MR. SCAROLA:    51 is 5.

 15               43?

 16               THE PROSPECTIVE JUROR:     5.

 17               MR. SCAROLA:    5.

 18               37?

 19               THE PROSPECTIVE JUROR:     5.

 20               THE PROSPECTIVE JUROR:     5.

 21               MR. SCAROLA:    36 is 5.

 22               31?

 23               THE PROSPECTIVE JUROR:     5.

 24               MR. SCAROLA:    5.

 25               THE PROSPECTIVE JUROR:     24.   5.
                                                                             113
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  1               MR. SCAROLA:    24.    5.

  2               THE PROSPECTIVE JUROR:      21.    5.

  3               THE PROSPECTIVE JUROR:      52.    5.

  4               THE PROSPECTIVE JUROR:      58.    5.

  5               THE PROSPECTIVE JUROR:      61.    5.

  6               THE PROSPECTIVE JUROR:      64.    5.

  7               THE PROSPECTIVE JUROR:      68.    5.

  8               THE PROSPECTIVE JUROR:      Number 70.   5.

  9               THE PROSPECTIVE JUROR:      5.

 10               MR. SCAROLA:    That's 115.

 11               109?

 12               THE PROSPECTIVE JUROR:      5.

 13               THE PROSPECTIVE JUROR:      96.    5.

 14               THE PROSPECTIVE JUROR:      88.    5.

 15               THE PROSPECTIVE JUROR:      4.

 16               MR. SCAROLA:    125.   4.

 17               THE PROSPECTIVE JUROR:      127.   5.

 18               THE PROSPECTIVE JUROR:      130.   4.

 19               THE PROSPECTIVE JUROR:      133.   5.

 20               MR. SCAROLA:    Thank you.

 21               THE PROSPECTIVE JUROR:      5.

 22               MR. SCAROLA:    134 is 5.

 23               THE PROSPECTIVE JUROR:      135.   5.

 24               MR. SCAROLA:    135.   5.

 25               140?
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  1               THE PROSPECTIVE JUROR:     5.

  2               MR. SCAROLA:    Thank you very much.

  3               This is the last question.      Those of you who would

  4     like to stand up and just applaud because this is the last

  5     question, and get off the hard benches, you are welcome to do

  6     that if you'd like to.

  7               Okay.   Here we go.

  8               "I definitely do not want to serve as foreperson on

  9     any jury.   I am uncomfortable in leadership positions."

 10               On the other side:

 11               "I would enthusiastically accept the responsibility as

 12     foreperson of this jury.     I welcome the responsibility of

 13     leadership."

 14               The very first function that those selected as jurors

 15     will have at the conclusion of the case when they are asked to

 16     go back into the jury room is to select a jury foreperson.          So

 17     this question is a question about you confronting that

 18     circumstance.

 19               Yes, sir.

 20               THE PROSPECTIVE JUROR:     What is the jury foreperson's

 21     responsibility?

 22               MR. SCAROLA:    This is number 20.

 23               THE PROSPECTIVE JUROR:     What is their responsibility?

 24               MR. SCAROLA:    And in case you didn't hear, the

 25     question is:    What is their responsibility?      And the answer to
                                                                             115
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  1     that question is leadership.      They lead the jury's

  2     deliberations.    There is no -- there is no description of

  3     responsibilities beyond that, except that at the conclusion of

  4     the deliberations, the jury foreperson is responsible for

  5     signing the verdict to reflect the unanimous decision of all of

  6     the jurors.     Okay?   Does everybody understand that?     All right.

  7               Number 3.

  8               THE PROSPECTIVE JUROR:     Number 5.

  9               MR. SCAROLA:    Thank you.

 10               THE PROSPECTIVE JUROR:     16.   Number 5.

 11               MR. SCAROLA:    18?

 12               THE PROSPECTIVE JUROR:     Number 5.

 13               MR. SCAROLA:    5.

 14               20?

 15               THE PROSPECTIVE JUROR:     5.

 16               MR. SCAROLA:    Thank you.

 17               THE PROSPECTIVE JUROR:     51.   2.

 18               MR. SCAROLA:    So far, we're going to have a really

 19     tough battle, when we got back there, with selecting a jury

 20     foreperson.

 21               43?

 22               THE PROSPECTIVE JUROR:     4.

 23               MR. SCAROLA:    4.

 24               THE PROSPECTIVE JUROR:     37.   3.

 25               MR. SCAROLA:    3.
                                                                             116
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  1               THE PROSPECTIVE JUROR:     36.    5.

  2               MR. SCAROLA:    Thank you.

  3               THE PROSPECTIVE JUROR:     31.    5.

  4               MR. SCAROLA:    Thank you.

  5               THE PROSPECTIVE JUROR:     24.    4.

  6               THE PROSPECTIVE JUROR:     21.    3.

  7               THE PROSPECTIVE JUROR:     52.    5.

  8               THE PROSPECTIVE JUROR:     58.    3.

  9               THE PROSPECTIVE JUROR:     Number 61.    3.

 10               THE PROSPECTIVE JUROR:     Number 64.    5.

 11               THE PROSPECTIVE JUROR:     68.    4.

 12               THE PROSPECTIVE JUROR:     Number 70.    3.

 13               THE PROSPECTIVE JUROR:     115.   3.

 14               THE PROSPECTIVE JUROR:     109.   2.

 15               THE PROSPECTIVE JUROR:     96.    3.

 16               THE PROSPECTIVE JUROR:     88.    4.

 17               THE PROSPECTIVE JUROR:     125.   2.

 18               THE PROSPECTIVE JUROR:     127.   4.

 19               THE PROSPECTIVE JUROR:     130.   3.

 20               THE PROSPECTIVE JUROR:     133.   2.

 21               THE PROSPECTIVE JUROR:     134.   5.

 22               THE PROSPECTIVE JUROR:     135.   4.

 23               THE PROSPECTIVE JUROR:     140.   5.

 24               MR. SCAROLA:    All right.   Thank you very much.      And I

 25     greatly appreciate your patience with that process.         It has
                                                                             117
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  1     helped us enormously, and we have gotten to learn a lot about

  2     you in a very short period of time.       So thank you very much for

  3     cooperating with us in that way.

  4                Has anyone changed their minds in the course of this

  5     process about any of the questions that have been asked of you

  6     up until now?

  7                "You know, I have been thinking about that question

  8     back 50 minutes ago, and I really should have answered it

  9     differently."

 10                Anybody feeling that way?     Anything that you want to

 11     share with us?    Okay.   Anybody change their minds about how

 12     seriously they are going to wish that they got out of this

 13     process?    Anybody change -- yes, sir, 52.

 14                Tell us.

 15                THE PROSPECTIVE JUROR:    Just changing back to it's

 16     more of I want to serve.

 17                MR. SCAROLA:   You want to serve.

 18                THE PROSPECTIVE JUROR:    I am changing my answer.

 19                THE COURT:   We can't hear what you are changing your

 20     answer to.

 21                THE PROSPECTIVE JUROR:    Changing my answer from hoping

 22     to be off it to I will be happy to serve.

 23                THE COURT:   Okay.   Thank you, sir.

 24                MR. SCAROLA:   That's very kind of you.     Thank you very

 25     much.   We appreciate that.
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  1                And, you know, thanking you for your willingness to

  2     serve, I don't mean in any way whatsoever to reflect negatively

  3     on anybody who says they really don't want to be here.         That's

  4     entirely understandable.      This is -- I think that at least some

  5     of you jurors have heard earlier:       Next to military service,

  6     there is no imposition greater on the responsibility of

  7     citizens than jury service.      Jury service is the toughest

  8     responsibility we call upon people to fulfill.        We all want you

  9     to vote.    We want you to be active participants in the

 10     government process.     But asking people to take six weeks out of

 11     their lives to serve on a jury, that's an enormous request.

 12                So yes, sir, 43.    And we need to hand you the

 13     microphone also.    I'd come let you talk into my lapel, but I

 14     think you need to use that mic.

 15                THE COURT:   Mr. McIntosh.

 16                THE PROSPECTIVE JUROR:    43.   I would also like to

 17     retract my initial statement as far as wishing off the trial.

 18     It would be an honor to serve.

 19                MR. SCAROLA:   Well, thank you very much, Mr. McIntosh.

 20     Appreciate that.

 21                THE COURT:   Thank you, sir.

 22                MR. SCAROLA:   All right.    There are some brief areas

 23     of follow-up that I want to talk to some of you about

 24     individually, and this can be done on a very limited basis,

 25     again, because of how much information you have been able to
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  1     share with us in advance through your juror questionnaires and

  2     through the attitude responses that we have already gotten.

  3     And this is among the hardest parts for me because it requires

  4     me to read Mariano's handwriting.

  5               However, some of these questions relate to people who

  6     are no longer with us.     Right?   Yes, right.

  7               Mariano and I have been practicing law together for a

  8     very long time, and this is the first mistake he's ever made.

  9               THE COURT:    You have three more minutes, Mr. Scarola.

 10               MR. SCAROLA:    Three more minutes.     Thank you, sir.

 11               That's not the first mistake I have ever made.

 12               Juror Number 3.    Yes.   We don't know what kind of work

 13     you do.   Could you tell us a little bit more about that.

 14               Does microphone-passing count against my time, your

 15     Honor?

 16               THE PROSPECTIVE JUROR:     Yes, I work in accounting.

 17               MR. SCAROLA:    Accounting?

 18               THE PROSPECTIVE JUROR:     Accounting.    My title is

 19     billing analyst or billing specialist.       I work for VSP.    This

 20     is the famous vision service plan, and they purchase a lot

 21     of -- we work with Luxottica, Marsion.       One of the biggest

 22     companies that manufactures, from glasses, eyeglasses, through

 23     frames and anything that is needed for the eye.        And then

 24     because we purchase in big volumes, we are able to resell them

 25     to our customers.    And what we do is -- working accounting, I
                                                                             120
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  1     work at the end of the month, and we put together all of our

  2     billing; or we got the files, and we have to go over all the

  3     data files and make sure that all the statements balance

  4     accordingly with what's going to be billed to our customers.

  5               MR. SCAROLA:    I need to stop you because I probably

  6     have about 30 seconds left and I want to ask Mr. Kahn a

  7     question.   Okay?

  8               Mr. Kahn, I know that, obviously, you have a very busy

  9     schedule as an expert witness.      To what extent are those

 10     responsibilities going to be a distraction from your focus on

 11     this trial, if you were to be selected?       Do you anticipate that

 12     that could cause you a problem, trying to have your head in two

 13     places at one time?

 14               THE PROSPECTIVE JUROR:     I processed that a little bit

 15     in my head.   The case matters, as an expert, I understand

 16     backwards and forwards construction defects and the codes.          So

 17     that's at the top of my head.      So it's not like I have to

 18     process that during this trial.      And I have already rendered

 19     opinions in those matters, so it's a matter of providing those

 20     opinions in front of the court.

 21               So I can stay focused in this trial.       The only concern

 22     I have is being able to be at those trials in order to process

 23     those opinions in the courts versus having to be here.

 24               MR. SCAROLA:    Mr. Kahn, am I correct that most of the

 25     work that you do is on behalf of defendants?
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  1               THE PROSPECTIVE JUROR:      That's incorrect.

  2               MR. SCAROLA:    Okay.   Tell us about that, if you would

  3     please, just briefly.

  4               THE PROSPECTIVE JUROR:      When I started out in this

  5     business, I was, for the most part, representing defendants.

  6     Over the course of the last six, seven years, it's become more

  7     of a 50/50 representing defendants and plaintiffs.         And so that

  8     is my current status, that I represent both plaintiffs and

  9     defendants.

 10               MR. SCAROLA:    Are you happy working both sides -- are

 11     you happier working both sides than primarily being a defense

 12     expert?

 13               PROSPECTIVE JUROR:      It doesn't reflect whether -- I am

 14     not happier in either case.       I look at every case individually,

 15     and even if I am representing a defendant, that's my client.          I

 16     still render an opinion based upon the facts and not based

 17     upon, well, he is a defendant; let me try to get him off.          So I

 18     am very factually based, based upon the documentation provided.

 19     All I am asking in this court is, if I am chosen as a juror,

 20     I'm gladly to serve, but I just need to be able to be in two

 21     places.

 22               MR. SCAROLA:    Sure.   Are you familiar with our law

 23     firm, Searcy Denney Scarola Barnhart & Shipley?

 24               THE PROSPECTIVE JUROR:      Other than nightly

 25     commercials, yes.
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  1               MR. SCAROLA:    You watch NBC 6:00 o'clock news and you

  2     see Mr. Garcia approach the counter in the coffee shop every

  3     once in a while?

  4               THE PROSPECTIVE JUROR:     I do not.    I don't watch much

  5     TV.

  6               MR. SCAROLA:    All right, sir.    Thank you very much.     I

  7     appreciate that.

  8               And, your Honor, I suspect that I am out of time, and

  9     I thank the court very much.

 10               THE COURT:    Yes, sir.

 11               MR. SCAROLA:    And thank you all for your patience.

 12               THE COURT:    And before we hear from Mr. Cioffi or

 13     someone on the other side, Mr. Kahn, what are the dates again

 14     that you expected that first trial to take place?         I know there

 15     wasn't a definitive, but there are a couple of dates that you

 16     had as possibilities.     Could you tell us again?

 17               THE PROSPECTIVE JUROR:     Your Honor, I could give you a

 18     copy of the three case matters, but two of the case matters, I

 19     don't know the dates that are going to be -- that I need to

 20     make an appearance; but one trial is starting June 3; I believe

 21     one trial is starting May 4; and the other trial is starting

 22     May 13, subject to any changes in the courts last minute.

 23               THE COURT:    So you have one starting next week.

 24               THE PROSPECTIVE JUROR:     And I was told, for that

 25     trial, I would be needed in the second week of that trial, and
                                                                             123
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  1     they kind of penciled in, even if I was taken out of order,

  2     May 16 or May 21.

  3               THE COURT:    16 or 21st.   Okay.

  4               THE PROSPECTIVE JUROR:      And there is a 3:00 p.m.

  5     hearing today that will maybe definiate [sic] some of that.

  6               THE COURT:    That may make that more definitive?

  7               THE PROSPECTIVE JUROR:      Yes, sir.

  8               THE COURT:    Okay.   But you don't expect to be needed

  9     before May 16 or 21st?     Am I correct about that?

 10               THE PROSPECTIVE JUROR:      It appears that way, sir.

 11               THE COURT:    Okay.   All right.    Thank you, sir.

 12               All right.    Mr. Cioffi.

 13               MR. CIOFFI:    Judge, should we take a quick break for

 14     the jury to stretch a bit?

 15               THE COURT:    Sure.   We will take a break.

 16               All right, ladies and gentlemen, why don't we take a

 17     15-minute recess before we continue.       Thank you again for your

 18     patience and your cooperation.      Don't discuss the case, don't

 19     form any opinions, and, again, if you see any of the lawyers or

 20     others that you have been introduced to, don't be offended if

 21     they don't acknowledge you.      We'll see you in about 15 minutes.

 22     Thank you.

 23               (The panel of prospective jurors exit the courtroom at

 24     2:04 p.m.)

 25               THE COURT:    Can we close the door?     Before you say
                                                                             124
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  1     anything, Mr. Scarola, I want to close the door so jurors don't

  2     hear us.

  3                Did you have something you wanted to say, Mr. Scarola?

  4                MR. SCAROLA:   I just had a question, your Honor.       Or,

  5     actually, two.    How bad were the scales, and will you ever let

  6     me do it again?

  7                THE COURT:    Actually, it went much better than I

  8     thought.    So ...

  9                MR. SCAROLA:   Thank you.

 10                THE COURT:    I am not sure I will let you do it again,

 11     but much better than I thought it would.

 12                (The panel of prospective jurors exit the courtroom

 13     2:06 p.m.)

 14                (Recess taken 2:06 pm. through 2:19 p.m.)

 15                THE COURT:    Do we have anything to talk about before

 16     we bring the jury back?

 17                MR. CIOFFI:    We are ready.

 18                THE COURT:    We can wait until later and talk about

 19     some of these issues with some of the jurors in particular.

 20                While we have a minute while they are getting settled

 21     out there, is there going to be any objection to excusing Juror

 22     16 and Juror 24, both of whom are not going to get paid for the

 23     time they are going to be with us?

 24                MR. SCAROLA:   No objection, your Honor.

 25                MR. CIOFFI:    No objection.
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  1               THE COURT:    Okay.    So 16 and 24 will be excused for

  2     hardship.

  3               MR. CIOFFI:    Are you going to tell them now?

  4               THE COURT:    No, I'm not going to tell them now, but

  5     for our purposes.    And I don't know if you want to -- I

  6     guess -- oh, here she comes.       All right.   Never mind.   We will

  7     talk about it later.

  8               All right.    Bring them in.     We're ready.

  9               (The jury entered the courtroom at 2:23 p.m.)

 10               THE COURT:    Welcome back.    Please be seated.

 11               All right, Mr. Cioffi, you may examine.

 12               MR. CIOFFI:    Thank you, your Honor.

 13               Take a deep breath.     Relax.    I am not going to give

 14     you a battery of psychological tests and have a really smart

 15     computer guy feed it into the computer so the PC can tell me if

 16     you are going to decide the case in my favor or not.          I am not

 17     going to do it.    I am not going to do it.      Nor am I going to

 18     ask you a battery of psychological questions to push you to

 19     think about the case in a way that will be favorable to my

 20     side.   I'm not going to do it.      What I am going to do is talk

 21     to you.   Because that's why we are here.       This is really a

 22     unique part of the trial.       It's the only part of the trial

 23     where we get to talk to each other.        I get to talk to you; you

 24     get to talk to me.     We learn something about each other.       And

 25     the first thing I know about you is you are good citizens.          You
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  1     all have friends.    You probably have some relatives.       And when

  2     you told them were you called for jury duty, they said, "I know

  3     how to get out of that."     Absolutely true.     And you didn't.

  4     And I thank you for that.     Really, all of society thanks you

  5     for that.   And we are in your debt.

  6               There really is -- I said this when I first saw you in

  7     the jury room downstairs.     Outside of military service, this is

  8     the most important thing a citizen can do.        And the reason for

  9     that is, without you, without the jury, disputes do not get

 10     resolved.   Conflict does not get settled.       There is no way,

 11     without you, without our jury system, to have a society that's

 12     harmonious, that's peaceful.      We need people, we need jurors,

 13     we need good citizens like you to decide these kinds of

 14     disputes.   And we need you from time to time to sacrifice --

 15     sometimes it's only a week or two weeks, and that's a lot in

 16     someone's life.    In this case, it's six weeks, maybe a little

 17     bit more.   So we are in your debt for that, and I thank you,

 18     and I thank you for your time.      And I admire you for that.

 19               The other reason to admire you is that, in the

 20     founding of our country, the founders gave you the power.          The

 21     power to decide these disputes.      And this is not a criminal

 22     case, but sometimes the power to decide life and death.         That's

 23     a tremendous amount of trust, and it was really well-founded.

 24     That's why our judicial system is the model for the entire

 25     world.
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  1               And it's all because of you.      But you have the power.

  2     Not the judge, not a prince, not some sort of king.         Certainly

  3     not the lawyers.    But you.   You have the power to decide what's

  4     right and wrong, what's true and what's not true.         And more

  5     importantly, you have the power to do justice, which is a

  6     remarkable thing.    And thank you for that.

  7               As I said, this is a unique part of the trial where we

  8     get to talk to each other.     And why is that?     Part of it is

  9     this funny French term that opposing counsel mentioned to you,

 10     "voir dire."    It is French, it is legalese, and because it's

 11     legalese, it can mean a lot of different things.         What it

 12     means, in essence, is to speak the truth to one another.           So

 13     that's really important at the beginning of the case, because

 14     life treats us all differently.      And it treats us differently,

 15     as you all know, day to day, week to week, year to year;

 16     different things happen to us.      What those things do is not

 17     make us biased.    Doesn't make us bad people because we feel

 18     strongly about certain things.      What it does is provide

 19     filters, provide experiences through which we measure

 20     information.    And those experiences, again, don't produce bias,

 21     but what they do is condition the way we look at things and we

 22     judge facts.

 23               So at this part of the trial, we explore those kinds

 24     of backgrounds to see if there's some reason that this case

 25     isn't the right fit because of your experiences, because of
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  1     what you have seen in the past.      And because we call it voir

  2     dire, or to speak the truth, we need to speak the truth to one

  3     another about those feelings, and not be shamed into saying,

  4     "Oh, yeah, of course, I can be fair and impartial.         I can put

  5     all these feelings aside," et cetera.       If you can, great.     But

  6     if you can't, that's perfectly natural.       Because the feelings

  7     we have, the filters we develop over time, is just another way

  8     of saying we are human beings.      And there's no shame in the

  9     game of life to being a human being.       And that's what we are

 10     doing in this part of the trial, is just looking at what we

 11     believe, what we feel, what we think, and whether any of those

 12     feelings help one side or the other, or whether we can really

 13     judge the facts based on the law that the judge gives to you.

 14               And this case will test those feelings, because you

 15     will hear about horrendous war and conflict and death in

 16     Colombia.   None of those things are connected to Chiquita, who

 17     is also a victim.    But you are going to hear about gruesome

 18     death.   You are going to see photographs of dead bodies.         You

 19     are going to hear about a 15-year war.       So it's going to test

 20     these filters, these experiences we had.       And what we are doing

 21     in this part of the case is to see if there's anything that

 22     interferes with you deciding the case, not on emotion or

 23     sympathy, but on the law, on the facts, because it's applying

 24     the law to the facts that gets us to justice.

 25               But this is going to be a heart-rending, very
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  1     sympathetic case, in which there is a lot of heartache and

  2     suffering on the part of the plaintiffs.       Again, Chiquita

  3     didn't cause it, but you are going to feel that sympathy.

  4               THE COURT:    Mr. Cioffi, let's not touch on the merits

  5     of the case, please.

  6               MR. CIOFFI:    Are you able -- anyone feel that they are

  7     not able to put that sympathy to the side and decide the case

  8     really on the merits?     Is there anything in your past that

  9     would cause you -- there is certainly in mine, in terms of that

 10     kind of suffering -- but in your past, that would be a filter,

 11     a way for you not to be able to decide the case on the merits

 12     and on the facts?

 13               All right.    Let's talk a little bit.     My discussion

 14     with you is going to be random.      I will skip around.     So if I

 15     skip over you, don't think anything of it.        I will come back,

 16     we will move around, and we will talk.

 17               Mr. Aguilar, you can stay seated.       That's perfectly

 18     fine.   Thank you.   You were saying a little bit earlier that

 19     you work as a billing analyst.      Can you tell us a little bit

 20     what that's like day to day?

 21               THE PROSPECTIVE JUROR:     Billing analyst is that --

 22     what we do is we process data files in order to reconcile

 23     accounts.   We work with -- the company, VSP, works with

 24     multiple manufacturers, like Luxottica, Marsion, Iris Crown, et

 25     cetera.   So what they do is they, as a manufacturer, they have
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  1     all the frames and glasses in.      We purchase in volume.     VSP

  2     purchase in volume.     And then we put together all the

  3     prescriptions for all the doctors, that the doctors have

  4     recommended for the clients.      And then --

  5               THE COURT:    I'm sorry, Mr. Aguilar, we can't hear you.

  6               THE PROSPECTIVE JUROR:     So we work -- we are part of

  7     the financial process at the end of the month, where we put

  8     together all the accounting cycle.       So my area is the billing

  9     department and analyzing all the data files and make sure that

 10     all the billing is properly done, finding errors, and make sure

 11     that our clients will be charged accordingly.        Trying to make

 12     sure any mistakes or rebates or credits that has to be done are

 13     applied correctly.     And so that's basically the -- but it's a

 14     very meticulous process.     A lot of detail is involved in it.

 15     And mistakes has to be avoided because creates a problem for

 16     our clientele.

 17               MR. CIOFFI:    Thank you very much.

 18               Let's get beyond work and talk about something more

 19     pleasant, like your hobbies.      You say you are a gardener.      Tell

 20     us a little bit about your gardening.       Do you have a particular

 21     species of plant, or what do you like most about gardening?

 22               THE PROSPECTIVE JUROR:     Heliconias.    Heliconias, I

 23     don't know if you know about bird of paradise.        It's from the

 24     family of bird of paradise.      It's gorgeous, you know.     And me

 25     and my wife, we work on the garden, and we have -- besides
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  1     Heliconias, we have different types of trees.         A lot of palm

  2     trees.    We have Rustica trees that come from Hawaii.       It's

  3     basically different crotons that we put together, and we create

  4     a little bit of landscaping in our garden.

  5                Home Depot is our place to be.      Getting all --

  6     especially my wife.      She is the expert.    I got all the tools,

  7     you know.    I got to make holes, and we have to buy dirt.        And,

  8     you know, we have to buy rocks to create the landscape.         So

  9     it's every weekend, mostly, we spend a lot of time in the

 10     garden.   In addition to that, we create for our -- I have a lot

 11     of little houses in places where the birds come.         We got a lot

 12     of cardinals that come to visit us.       Bluejays.    Everything.

 13     Crows, squirrels.    So it's a combination.      The garden is a

 14     combination of flowers and also bird feeders that we use in

 15     order to see them.

 16                MR. CIOFFI:    I know you were born in Peru.

 17                THE PROSPECTIVE JUROR:    Yes.

 18                MR. CIOFFI:    How long did you live in Peru before you

 19     came?

 20                THE PROSPECTIVE JUROR:    I was until my 20s.     Then I

 21     moved to Europe.    I live in Spain.

 22                MR. CIOFFI:    How long in Spain?

 23                THE PROSPECTIVE JUROR:    About four years.     When I did

 24     my education.    When I got the end of the school in the

 25     university in Spain.
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  1                MR. CIOFFI:   Tell us a little bit about that

  2     experience, but through gardening.       Were there things in Peru

  3     that you can't grow here and things here you couldn't grow in

  4     Peru?    Explain the difference between the countries, in your

  5     experience, maybe through gardening.

  6                THE PROSPECTIVE JUROR:    Through gardening.     Well,

  7     tropical -- Florida is a tropical area.       Peru is also, but we

  8     have the Amazon jungle and the variety that existed there.

  9     There's even things that we never seen here.        It's very, you

 10     know -- it's a very unique for that part of the world.

 11                We really don't have any -- well, for example, the

 12     papaya tree.    We have a papaya tree in our yard.       That is

 13     really pretty common in South America.       Mango trees and avocado

 14     trees.   Right?   Those are the ones that we are able to collect

 15     and to have in our property, try to grow them.        So we have a

 16     combination of flowers, vegetables, like tomatoes.         It's a

 17     small area, but, you know, me and my wife try to put together

 18     an environment that is peaceful.      We like, you know, to sit

 19     outside, Sunday in the morning, having coffee, watching the

 20     birds.   In South America, in Peru, you also encounter that type

 21     of similarity in most of the houses.       Lima is called the Garden

 22     City because the beauty that encompass the whole -- Lima is

 23     situated in the Pacific Ocean, bordering the Pacific Ocean.          So

 24     but we have like 23 different microclimates, where we can find

 25     any type of vegetables, and the varieties is amazing.         And the
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  1     Pacific Ocean, Lima is maybe 20 degrees latitude and should be

  2     very tropical, hot like Florida, but because we have different

  3     type of currents that come from the Antarctic -- it's called

  4     the Humboldt Current, which is really cold -- create a

  5     different scenario, a different type of -- make it more mild

  6     versus as hot as Florida in the summer.       So the winters are

  7     humid, and the summers are a little bit, you know, hot, but not

  8     as bad as in Florida, and the variety of the plants and flowers

  9     are amazing.

 10               MR. CIOFFI:    One thing we don't have in Florida or in

 11     America is the Amazon, which is maybe the most humid

 12     environment in the world.

 13               THE PROSPECTIVE JUROR:     Yeah, one of the more famous

 14     is Manu Park.    We have an amazing amount of species, from birds

 15     to ...

 16               MR. CIOFFI:    Thank you, sir.    I really appreciate it.

 17               Mr. Kahn, you are a forensic architect, and also an

 18     expert witness.    What does a forensic architect do?

 19               THE PROSPECTIVE JUROR:     I think, as training and

 20     licensed in the state of Florida, your abilities are to

 21     understand the code and produce construction documents for

 22     buildings or for properties, in compliance with the

 23     requirements of the code.     And the code is the minimal

 24     standard.   There are elevated standards.      And, certainly,

 25     design professionals are required to comply with a standard of
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  1     care, according to the state, as well as comply with building

  2     code requirements.

  3               MR. CIOFFI:    Hence the knowledge about codes and

  4     regulations you were talking about.       And you testify about;

  5     right?

  6               THE PROSPECTIVE JUROR:     That's correct.

  7               MR. CIOFFI:    With respect to your testimony, will it

  8     weigh too heavily on you to be a juror in this case, or will

  9     you be able to find the time to do it, based on your

 10     commitments?    And those commitments, we understand, existed

 11     long before you got your summons for jury duty.

 12               THE PROSPECTIVE JUROR:     I don't know how to answer the

 13     question, because I think I do understand that this is a major

 14     commitment.    Six weeks is certainly painstakingly, you know, a

 15     burden.   But by choice.    And I think that the ability to do

 16     that is the ability, really, to work out the restraints that I

 17     have between these other courts.       I think, as far as me being

 18     able to process this information versus the other courts, I

 19     think, is not so much of a challenge, but they have to be

 20     compartmentalized.

 21               MR. CIOFFI:    Understood.    I think the judge indicated

 22     a willingness to maybe work around your schedule a little bit.

 23               Would that help?

 24               THE PROSPECTIVE JUROR:     Absolutely.

 25               MR. CIOFFI:    Appreciate that.
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  1               Mr. Pollock, you are certainly where I would like to

  2     be some day, which is retired.

  3               So tell us a little bit what that's like, and maybe

  4     compare and contrast it to your workdays, and tell us a little

  5     bit about how you are enjoying retirement.

  6               THE PROSPECTIVE JUROR:      Well, I am definitely enjoying

  7     retirement.   However, I used to work in -- I used to be in

  8     business management, managing multiple companies.         My last job

  9     was with RaceTrac, and that was pretty much like a 10 to

 10     12-hour day, so retirement is welcoming to me.

 11               MR. CIOFFI:    Wait a minute.    Dogs or horses?

 12               THE PROSPECTIVE JUROR:      No, RaceTrac Petroleum.     Gas.

 13               MR. CIOFFI:    Oh, okay.    I see, I see.   Go ahead,

 14     sorry.

 15               THE PROSPECTIVE JUROR:      So I really love retirement.

 16     However, I haven't slowed down much.       I also love volunteering

 17     and participating in different activities.        So you will see on

 18     the documents that I still do.       So the time that I have given

 19     away from the job, I actually commit to the community and

 20     events as such.

 21               MR. CIOFFI:    So you are into your, as we refer to it

 22     sometimes, your second or third career?

 23               THE PROSPECTIVE JUROR:      Correct.

 24               MR. CIOFFI:    And what kind of activities are you

 25     involved in in the community?
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  1                THE PROSPECTIVE JUROR:    Well, a couple of things.

  2     First of all, I serve on the homeowners association executive

  3     board.   I am the treasurer.     I also serve on the community

  4     development district board in my community.        I am the vice

  5     president.    I participate in council meetings in the City of

  6     Riviera Beach.    I volunteer to the senior citizens home, even

  7     though I actually qualify to be a senior citizen myself.          So I

  8     go there a couple days a week, just sitting out and kind of

  9     entertaining things there.     I have 13 grandkids, so I entertain

 10     them as well.    I have eight children, and they are all over 25,

 11     but we have a great relationship.      So we kind of participate.

 12     I keep myself active.     I worked in an active environment, and I

 13     do the same in my social environment as well.

 14                MR. CIOFFI:   That reminded me.    One of the things --

 15     because this is a little bit about charity, I have four

 16     children and seven grandchildren, so I know what that's like.

 17     And just to tell you a little bit more about myself, you

 18     mentioned that your brother and sister served in the military.

 19     And, first of all, we thank them, through you, for their

 20     service.    But tell us a little bit about what you -- where they

 21     were stationed and if they faced danger.

 22                THE PROSPECTIVE JUROR:    It's been a long time.      My

 23     brother was in the military.      He came out in the late '70s.       So

 24     it's been that long.     My sister actually served under Clinton,

 25     President Clinton's administration.       She actually served in the
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  1     White House as some kind of communications office center.          And,

  2     naturally, they don't share a whole lot about that, but I do

  3     know I saw a picture of her and President Clinton, and she kind

  4     of gave me the details after she retired.        But even with that,

  5     that's been a few years ago.

  6               MR. CIOFFI:    Thank you very much.

  7               Mr. Fisher.

  8               THE PROSPECTIVE JUROR:     Hello.

  9               MR. CIOFFI:    Stay seated.    We will be relaxed here.

 10     Yes, thank you.

 11               You have a B.A. in economics and in Spanish.

 12               THE PROSPECTIVE JUROR:     Yes.

 13               MR. CIOFFI:    So you are a learner.

 14               Do you have a favorite economist?       Is there someone

 15     you read or follow or study?

 16               THE PROSPECTIVE JUROR:     I can't say I do.     Economics

 17     is one of those subjects that you kind of fall back on after

 18     you are coming closer to the graduation years and without the

 19     identified subject in line.      So, yeah, I graduated with an

 20     economics major and a Spanish major really as a way of not

 21     staying there more than five years.

 22               MR. CIOFFI:    You worked as a financial analyst at

 23     Hartford; is that right?

 24               THE PROSPECTIVE JUROR:     No.    So my wife is the

 25     financial analyst.    I am actually an operations manager at the
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  1     Hartford.

  2                MR. CIOFFI:    And describe that work a little bit, at

  3     Hartford.

  4                THE PROSPECTIVE JUROR:    Sure.   So I work for the part

  5     of the company that handles group benefits, and for small

  6     companies.    We insure life, disability, and critical illness,

  7     accident, and hospital indemnity coverages.        So any small

  8     business company that wants to offer those additional benefits

  9     as value-adds to their employees, along with their health

 10     benefits, they would come to the Hartford to get a quote from

 11     my team.    So my team specifically deals with giving quotes for

 12     those coverages.

 13                I have, you know, a team of -- basically hybrid.        They

 14     are, you know, all over the nation.       A few of them work

 15     remotely, and then there's some that also go into the office.

 16                I, myself, work 100 percent remotely.      So managing a

 17     team is very challenging because, you know, it's about really

 18     making them still feel like they are in a face-to-face

 19     environment, and even though we are all virtual, so to speak.

 20                So -- but for the most part, I mean, I really enjoy

 21     what I do.    I think I have worked with the company for like

 22     maybe 22 years now.      So it's been a while.    I think, right now,

 23     we are at a place where we are in transition.        So right now,

 24     kind of what I mentioned to the -- to Judge earlier, when I

 25     initially was talking about hardships, it was really just the
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  1     fact that because I am 100 percent remote, we never have to

  2     worry about having two vehicles.      Having the one was the

  3     concern.    But we dealt with that.    So everything --

  4                MR. CIOFFI:   I wanted to ask you about that.      You did

  5     mention that hardship and maybe having to Uber it back and

  6     forth.   Will that be an impediment to you being able to serve?

  7     How is that going to work out over a six-week period?

  8                THE PROSPECTIVE JUROR:    We have been talking about it.

  9     I will probably end up doing the train instead of the Uber

 10     because I found out Uber is pretty expensive.        So I will be

 11     doing the train.    I don't think it will be a big concern.        I

 12     will say, the only thing that would be my only concern as of

 13     the moment is if it goes past the six weeks.        We do have a

 14     planned trip that was already booked for June 17.         And if it

 15     does go past the six weeks, that would be my only concern.

 16                MR. CIOFFI:   And has that trip been prepaid for?

 17                THE PROSPECTIVE JUROR:    Yes, prepaid for.

 18                MR. CIOFFI:   Thank you, sir.    Appreciate it.

 19                Ms. Kerr. Jessica Kerr.

 20                THE PROSPECTIVE JUROR:    Hello.

 21                MR. CIOFFI:   I noted that you worked -- you work at a

 22     famous institute, the Max Planck Florida Institute for

 23     Neuroscience.    Describe that a little bit.      It's fascinating.

 24                THE PROSPECTIVE JUROR:    It's very fascinating.      I work

 25     in a lab.    It's a vision lab.    We study the visual cortex of
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  1     the brain.    And it's really interesting because I get to work

  2     with a bunch of different levels of scientists.        I train, like,

  3     the incoming students, and they become postdocs in all the

  4     different levels.      So it's fun.

  5                MR. CIOFFI:    Have any of your students yet been able

  6     to return sight to someone who was either born blind, because

  7     of the surgery behind the cortex?

  8                THE PROSPECTIVE JUROR:      So what we are doing is basic

  9     science, basically.      So we are trying to learn development and

 10     how the brain develops vision.        So we are not into the

 11     returning sight at the moment.        We are just learning how it

 12     actually works.

 13                MR. CIOFFI:    Moving from work to fun and hobbies, you

 14     mentioned that one of your hobbies is photography.         Do you take

 15     photos yourself?

 16                THE PROSPECTIVE JUROR:      I do, yes.

 17                MR. CIOFFI:    What do you like to photograph?

 18                THE PROSPECTIVE JUROR:      Mostly sunrises and beach and

 19     animals.    Wildlife.

 20                MR. CIOFFI:    Thank you.    I appreciate it.

 21                Mr. Hart.

 22                THE PROSPECTIVE JUROR:      Yes, sir.

 23                MR. CIOFFI:    I wanted to ask you this:    Do you ever

 24     train with your son in boxing?

 25                THE PROSPECTIVE JUROR:      Not yet.
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  1                MR. CIOFFI:   I have done some of that training.       It's

  2     not easy.    You have watched him workout?

  3                THE PROSPECTIVE JUROR:    Correct.

  4                MR. CIOFFI:   Tell us a little bit about that

  5     experience, because I think it's fascinating that boxers, I

  6     think, are underrated in terms of just their athletic ability,

  7     their reflexes, et cetera.     But what have you sort of gleaned

  8     from that?

  9                THE PROSPECTIVE JUROR:    It was more fascinating to

 10     watch his growth.    My wife homeschools him.      So we wanted to

 11     get him involved in as many extracurricular activities as

 12     possible.    We put him in a place called Boca Boxing probably

 13     four years ago.    And it was just a kid class.      And, I mean, he

 14     just took to it, and the coach approached us and said, "Hey, he

 15     learned this too quick.     If it's okay with you, we'd like to

 16     put him in an adult class."      So the past four years, he's just,

 17     you know, turned into a little scrappy 14-year-old that boxes

 18     with the big guys.

 19                MR. CIOFFI:   And have you noticed an increase in his

 20     focus?   Because the few times I have done it, there is nothing

 21     that focuses you more than anticipating getting hit with a

 22     right hook.

 23                THE PROSPECTIVE JUROR:    Yeah.   He's taken a couple

 24     jabs.    He's learned the Mike Tyson quote real easy, that

 25     "Everyone has got a plan till you get smacked in the face."
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  1     But, yeah, his discipline, his resilience.        And, yeah, at home,

  2     when he is video-gaming, he is super focused and wins.

  3                MR. CIOFFI:   Thank you, sir.     Appreciate it.

  4                Mr. Gelfusa, I notice that you are also an architect.

  5                THE PROSPECTIVE JUROR:    Landscape architecture.      Yeah.

  6                MR. CIOFFI:   What is it that drew you to architecture?

  7                THE PROSPECTIVE JUROR:    Design.   Yeah.

  8                MR. CIOFFI:   Probably something that I cannot do, to

  9     share a little bit more, and that is draw.

 10                THE PROSPECTIVE JUROR:    Yeah.

 11                MR. CIOFFI:   I am sure you are a good drawer.

 12                THE PROSPECTIVE JUROR:    Yeah.

 13                MR. CIOFFI:   Do you have a favorite architect or

 14     designer, someone you admire, you follow, et cetera?

 15                THE PROSPECTIVE JUROR:    Probably Frank Lloyd Wright.

 16     Yeah.

 17                MR. CIOFFI:   You work as a project manager at a design

 18     firm.   Can you tell us a little bit about that work, please.

 19                THE PROSPECTIVE JUROR:    Pretty much just facilitating

 20     the workload from the landscape architect and coordinating with

 21     consultants and, like, hardscape, landscape, pool people.

 22                MR. CIOFFI:   Thank you, sir.

 23                Mr. McIntosh, please.

 24                Tell us about your work a little bit.       You are retired

 25     now.    But you know a little bit about danger on the job.        Tell
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  1     us a little bit about that and that life experience, if you

  2     would, please.

  3               THE PROSPECTIVE JUROR:     Initially, sir, I served 14

  4     years in the Marines, and then after getting off active duty,

  5     it was decided between primarily my wife that "it would be good

  6     if you had employment after taking a year off."        Hint-hint.     So

  7     I went into Department of Corrections for the State, which I

  8     just passed 26 years doing.

  9               And to say I have seen a few things, from maximum

 10     security up in Martin, to now the work release down in West

 11     Palm, is an understatement.      You tend to have to stay on your

 12     guard, literally.

 13               MR. CIOFFI:    Is there a particular coping mechanism

 14     that you've developed to deal with dangerous situations?

 15               THE PROSPECTIVE JUROR:     It's almost like a sixth

 16     sense, where if you walk into a wing at a main unit, you kind

 17     of get the feel of what's going on.       You don't necessarily have

 18     to see something, but it's just the vibe that people put off, a

 19     situation would generate, and it's kind of like a

 20     subconscious-type thing.     And no matter even if you are not at

 21     work, it's still there.     If you go into a building, if you are

 22     around a group, whatever the situation may be, you get a read

 23     for it.   I really can't describe it any better than that.

 24               MR. CIOFFI:    Yeah, sort of like a sixth sense.       Is

 25     that something like that?
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  1               THE PROSPECTIVE JUROR:     Yes, sir.

  2               MR. CIOFFI:    If you could pass to Mr. Battle, please.

  3               THE PROSPECTIVE JUROR:     Yes, sir.

  4               MR. CIOFFI:    Mr. Battle, you work for the Palm Beach

  5     County Water Utilities.     Tell us a little bit about your work

  6     and what it's like working for the county and what your

  7     day-to-day duties are.

  8               THE PROSPECTIVE JUROR:     I started with the parks and

  9     recreational department.     So, basically, I did like five years,

 10     almost, altogether.     Then I got promoted to Palm Beach County

 11     Water Utilities as a customer affair representative.         So what

 12     we do is we go out there, you know, help install meters, from

 13     2-inch meters to 5/8th meters, 1-inch meters, you know, the

 14     whole nine yards, for customers and their property.

 15               MR. CIOFFI:    Moving from work, what do you like to do

 16     in your spare time?

 17               THE PROSPECTIVE JUROR:     I spend time with my kids.

 18     Sometimes I got a health condition -- I got a health condition,

 19     so that kind of stop me a little bit here and there.         But

 20     mainly spending time with my kids, mostly.        My family.

 21               MR. CIOFFI:    Is there anything in your health

 22     condition that would interfere with you being a juror in this

 23     case?

 24               THE PROSPECTIVE JUROR:     Well, May 31, I forgot I had

 25     my -- get the batteries changed for my defibrillator, because I
                                                                             145
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  1     got a defibrillator implant.      So, yeah, that's kind of like a

  2     punch in the face, but it's all right.

  3               THE COURT:    I'm sorry, Mr. Battle, did you say May 31?

  4               THE PROSPECTIVE JUROR:     Yes, sir.

  5               THE COURT:    That's one of the days we are planning on

  6     taking off.   So just to let you know.

  7               THE PROSPECTIVE JUROR:     Cool.   Cool.   Sorry, your

  8     Honor.   Did you check into the May 29 as well?

  9               THE COURT:    I could tell you now, we are not going to

 10     be off on May 29.    Why is that important to you?

 11               THE PROSPECTIVE JUROR:     That's my son's ceremony.

 12               THE COURT:    Oh, I'm sorry.    And he is graduating?

 13               THE PROSPECTIVE JUROR:     Yeah, I found out it was

 14     May 29 at 9:00 o'clock.

 15               THE COURT:    9:00 a.m.?

 16               THE PROSPECTIVE JUROR:     9:00 a.m., yes, sir.

 17               THE COURT:    Okay.   All right.   If you are picked on

 18     the jury, we will deal with that.

 19               THE PROSPECTIVE JUROR:     Then I changed my mind.      I

 20     would like to serve.

 21               THE COURT:    Now you would like to serve?

 22               PROSPECTIVE JUROR:     Yeah, I got you.

 23               THE COURT:    Okay.   All right.   Thank you for letting

 24     us know about that, though.      I did not recall that situation

 25     with your son.
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  1                THE PROSPECTIVE JUROR:    Yes, sir.

  2                THE COURT:    I'm sorry, Mr. Cioffi.    I didn't mean to

  3     interrupt you.

  4                MR. CIOFFI:   No problem, your Honor.

  5                If you could pass that on to Mr. Berberian.

  6                THE PROSPECTIVE JUROR:    Hello.

  7                MR. CIOFFI:   Hey, good afternoon.

  8                THE PROSPECTIVE JUROR:    Good afternoon.

  9                MR. CIOFFI:   How does your daughter like law school?

 10                THE PROSPECTIVE JUROR:    She likes it.    She's a pretty

 11     strong student.    Strong reader.    First-year law student, and

 12     she is settling in pretty well.      Already developing a back-up

 13     plan just in case, so she is going to study -- she is studying

 14     for a J.D., and then in the summertime, she is going to try and

 15     get her MBA at the same time.      So she is a pretty strong

 16     student.

 17                MR. CIOFFI:   Wow.   Follow in your footsteps a little

 18     bit.

 19                THE PROSPECTIVE JUROR:    I don't know about that.

 20     Maybe her mother's.

 21                MR. CIOFFI:   Great.   Great.

 22                Mr. Gonzalez.

 23                THE COURT:    I believe it's Ms. Gonzalez.

 24                MR. CIOFFI:   Sorry about that.    These glasses are not

 25     working so well.    Thank you.
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  1               Ms. Gonzalez, Theresa, you say you work as a senior

  2     buyer.   Tell us a little bit about that.       And I think you

  3     also -- with respect to a city, not a store.        Tell us about

  4     that process.

  5               THE PROSPECTIVE JUROR:     I facilitate procurement needs

  6     for the utilities department.      Pretty much sums it up.     I just

  7     put out solicitations, I make sure that the contracts are

  8     properly filled out, following Florida statutes, and making

  9     sure that everyone is following the rules.

 10               MR. CIOFFI:    When you are not doing that, when you are

 11     not at work, what do you like to do in your spare time?

 12               THE PROSPECTIVE JUROR:     Spend time with my family.      My

 13     daughter and my parents.

 14               MR. CIOFFI:    Do you have any particular activities you

 15     like to do?   Go to the beach, bike riding, anything like that?

 16               THE PROSPECTIVE JUROR:     No, not really.

 17               MR. CIOFFI:    You mentioned that both your father and

 18     brother served in the Army.      And your father was also a police

 19     officer, as were many members of your family.        Is that right?

 20               THE PROSPECTIVE JUROR:     Correct.

 21               MR. CIOFFI:    First of all, we thank them, through you,

 22     for their service.

 23               You also mentioned your father was in the Gulf War and

 24     your brother in Afghanistan.

 25               THE PROSPECTIVE JUROR:     Correct.
                                                                             148
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  1               MR. CIOFFI:    When they were at war, did you stay in

  2     touch with them?    Did you have contact with them?       What --

  3     going back to what I said at the very beginning, what was that

  4     experience like, and how did it affect you?

  5               THE PROSPECTIVE JUROR:     My father went to the Gulf

  6     War.   We lived in Puerto Rico.     I didn't get to see my father

  7     quite a lot when I was young.      So I stayed with my mother and

  8     my siblings.    And then when my father came back, we moved to

  9     the States.    We bounced around a little bit from state to

 10     state.   It was kind of hard being an Army brat.

 11               And then my brother actually went to Afghanistan right

 12     after -- a little bit right after 9/11.       So that was probably

 13     the toughest part.    I was a lit bit older, more aware and

 14     conscious of what was going on.

 15               MR. CIOFFI:    Did they ever talk to you about what it

 16     was like to be in a war zone and being shot at and --

 17               THE PROSPECTIVE JUROR:     My father did.    My brother

 18     can't talk to me about that.

 19               MR. CIOFFI:    Still too traumatic for him?

 20               THE PROSPECTIVE JUROR:     Yes.

 21               MR. CIOFFI:    I would imagine.

 22               Thank you, ma'am.    Appreciate it.

 23               Mr. Bayless.

 24               THE PROSPECTIVE JUROR:     Yes.

 25               MR. CIOFFI:    You have a love for music, and it's your
                                                                             149
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  1     profession, I see.

  2                THE PROSPECTIVE JUROR:    I do.

  3                MR. CIOFFI:   Specific kind of music, what we call the

  4     sacred liturgy, and that kind of music.       I am going to ask you

  5     this:    What's your favorite piece of sacred music?       And you

  6     cannot say the Bach Mass.

  7                THE PROSPECTIVE JUROR:    Oh, I wouldn't have picked

  8     that one.

  9                MR. CIOFFI:   That would have been pretty high.

 10                THE PROSPECTIVE JUROR:    Oh, man, it's so difficult to

 11     choose one.    Today, I would choose the Bach B Minor Preclude

 12     and Fugue.    It's one of my favorite works of his.       Just a great

 13     piece.   It shows his intellectualism.       It shows his brilliance

 14     at composition, as well as counterpoint, especially.

 15                MR. CIOFFI:   Yeah.   In your role, do you also teach

 16     music?

 17                THE PROSPECTIVE JUROR:    I do.    I work for a church

 18     that has a 500-student day school, and so we have pre-K through

 19     8, and then, of course, whenever I am working with volunteers

 20     and even professionals, it involves teaching to work together.

 21                MR. CIOFFI:   Have any of your students gone on to sing

 22     in operas professionally or play in symphonies or things like

 23     that?

 24                THE PROSPECTIVE JUROR:    My previous position was at

 25     the University of Notre Dame, and I had several graduate
                                                                             150
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  1     students, and many of them are in the professional around the

  2     country.

  3                MR. CIOFFI:   Thank you.

  4                Ms. Mattingly.

  5                THE PROSPECTIVE JUROR:     Good afternoon.

  6                MR. CIOFFI:   Hey, good afternoon.     You are both the

  7     owner and director of a -- looks like an important clinic, the

  8     Creative Therapy Solutions and Speech Clinic.        Describe a

  9     little bit about -- first of all, I am fascinated in your

 10     background and how you got to doing that, the educational

 11     background, but then what you do day to day as a speech

 12     therapist, because I know it's much broader than just speech.

 13                THE PROSPECTIVE JUROR:     It is.   I specialize in neuro

 14     disorders, such as brain injury, stroke, autism.         So that's my

 15     area of interest as well.     But I will take anything that walks

 16     in the door.

 17                MR. CIOFFI:   Now you are speaking with your business

 18     hat on.

 19                THE PROSPECTIVE JUROR:     Probably.

 20                MR. CIOFFI:   And what important work.

 21                You mentioned that you were on a criminal jury.        What

 22     was that experience like, and what, if any, expectations do you

 23     have about this jury after that one?

 24                THE PROSPECTIVE JUROR:     I've served on a couple of

 25     juries, two criminal.     The other one, to be honest, I don't
                                                                             151
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  1     remember.    It was very brief, and it was dismissed very

  2     quickly.    But it was very interesting and a positive experience

  3     for me.

  4                MR. CIOFFI:    But was it trying, without using a

  5     punchline?    Was it difficult?     How did you find it?

  6                THE PROSPECTIVE JUROR:      I didn't find it difficult.

  7     It was a week and a half, opposed to four to six weeks or six

  8     weeks plus.

  9                But like I said, it was very interesting.       It was

 10     educational.    I didn't find the process difficult or

 11     challenging, really.      It was just eyeopening, and I actually

 12     enjoyed it.

 13                MR. CIOFFI:    I notice one of your hobbies is the

 14     theater.    What's your favorite all-time musical?

 15                THE PROSPECTIVE JUROR:      Probably -- I am picking

 16     random.    Probably Chorus Line.     I was a dancer when I was

 17     young, so just watching that was, you know ...

 18                MR. CIOFFI:    Yeah.   A lot of dancing there.

 19                THE PROSPECTIVE JUROR:      Yes.

 20                MR. CIOFFI:    Thank you.

 21                Ms. O'Brien.

 22                THE PROSPECTIVE JUROR:      Hello.

 23                MR. CIOFFI:    Ma'am, you said in your form that you

 24     worked in security for DHS and TSA.        Can you tell us a little

 25     bit more about that work and what it involved?
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  1               THE PROSPECTIVE JUROR:     I work at the airport, and I

  2     am trying to make sure nobody has a bomb on their -- in their

  3     baggage, pretty much.

  4               MR. CIOFFI:    In that work, have you been in dangerous

  5     situations?

  6               THE PROSPECTIVE JUROR:     Not extreme, no.     No.

  7               MR. CIOFFI:    You also indicated that you have been

  8     part of a union.    Can you tell us what union?

  9               THE PROSPECTIVE JUROR:     Yes.   I am from Hawaii, so

 10     most every hotel there is union.      So I was a union waitress for

 11     ILWU for 20 -- 18 years, and now TSA is currently union as

 12     well.

 13               MR. CIOFFI:    When you are not working, what do you

 14     like to do?   What are some of your hobbies or your activities?

 15               THE PROSPECTIVE JUROR:     Well, I am not quite as

 16     interesting as everybody else here, but I feel like I just do a

 17     lot of, like, yardwork, raking and stuff, to try to keep up

 18     with it, and laundry, pretty much.       I don't have a lot of

 19     hobbies, but ...

 20               MR. CIOFFI:    So a little too much work.

 21               THE PROSPECTIVE JUROR:     Yeah, too much.     I got to hire

 22     somebody to do some yardwork.

 23               MR. CIOFFI:    Thank you very much.

 24               Mr. White.

 25               THE PROSPECTIVE JUROR:     Yes, sir.
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  1               MR. CIOFFI:    Again, good afternoon, and thanks for

  2     your time commitment.     You mentioned that you have an opinion

  3     about -- it looked like more the political system of Colombia.

  4     Could you talk a little bit more about that?

  5               THE PROSPECTIVE JUROR:     I think I was answering the

  6     question.   There was a question, "Do you or any of your close

  7     friends, have they lived in Central or South America?"         And I

  8     was saying "yes."

  9               MR. CIOFFI:    Okay.   Yeah.

 10               THE PROSPECTIVE JUROR:     I have not visited Central or

 11     South America myself.

 12               MR. CIOFFI:    Yeah.   And you don't have a negative

 13     opinion about South Americans or Colombians or anything like

 14     that?

 15               THE PROSPECTIVE JUROR:     I do not.    Only what I read in

 16     the papers.

 17               MR. CIOFFI:    Okay.   And tell us how you are enjoying

 18     retired life.

 19               THE PROSPECTIVE JUROR:     Enjoying it very much.      Came

 20     down, moved down here from Washington, D.C., earlier, in 2015.

 21     And I enjoy playing tennis.      So my free time, I can't -- I am

 22     old enough now, I can't play back-to-back days, but if the sun

 23     is shining, get it in a couple, three times a week.

 24               MR. CIOFFI:    But you haven't given up singles, have

 25     you?
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  1               THE PROSPECTIVE JUROR:     Pretty much, yes, I have.      But

  2     the beauty of South Florida is you are primarily clay courts

  3     down here, which is so much easier on your joints and your

  4     lower back.   Get up to the Orlando area, and it's hard courts,

  5     which is something to be avoided as we age.

  6               MR. CIOFFI:    Thank you, sir.

  7               Ms. Alonso.

  8               THE PROSPECTIVE JUROR:     Hello.

  9               MR. CIOFFI:    Good afternoon.

 10               THE PROSPECTIVE JUROR:     Good afternoon.

 11               MR. CIOFFI:    Could you tell us a little bit about your

 12     work with Dr. Radu and what you do there.

 13               THE PROSPECTIVE JUROR:     It's a general and cosmetic

 14     office.   And I do the appeals and the denials for all the

 15     insurance carriers.     Anybody -- any claim that gets rejected or

 16     not paid, it's my job to give them the necessary tools and what

 17     they need, whether it be a narrative or the X-rays, to get it

 18     paid.

 19               MR. CIOFFI:    You also indicated one of the things you

 20     do, you probably don't get paid for this, but you are a board

 21     member for your HOA.     And you deal with violations, and so you

 22     have a little background in conflict.

 23               THE PROSPECTIVE JUROR:     Well, yeah, I live in an adult

 24     community.    So I am actually more on the beautification

 25     process, to keep the neighborhood, you know, in the good
                                                                             155
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  1     standing that they should be in.

  2               MR. CIOFFI:    Okay.   You also indicated that your

  3     father and your brother served in the Army.        And, again, we

  4     thank you for their service.      Were they ever stationed in a war

  5     zone?

  6               THE PROSPECTIVE JUROR:     Well, my father was in

  7     World War II, and my brother was in Vietnam.        Both deceased

  8     now.

  9               MR. CIOFFI:    Before they died, did you ever talk to

 10     them about what it was like literally to be shot at and to be

 11     in that kind of danger?

 12               THE PROSPECTIVE JUROR:     Yeah, they both got shot.      My

 13     brother got shot in the leg, and my father was shot -- in the

 14     thigh, and my father was shot in the lower leg.        It went in one

 15     side and went out the other.

 16               MR. CIOFFI:    And when you were growing up, what kind

 17     of impact did that have on you?

 18               PROSPECTIVE JUROR:     It didn't really have an impact.

 19     My brother did see some not so good things in the Vietnam war,

 20     but my father, no, it was just -- to be honest with you, he

 21     just went on with life afterward.

 22               MR. CIOFFI:    Those people who have been in combat

 23     become pretty stoic.     Yeah.

 24               What do you like to do in your free time as either a

 25     hobby or just an activity?
                                                                             156
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  1               THE PROSPECTIVE JUROR:     I like to go to Georgia, where

  2     my son lives, and visit with his family.       I have two girls --

  3     two granddaughters and one grandson, and my son is presently

  4     moved from South Florida to there.       He's a store manager with

  5     Publix Supermarkets.

  6               MR. CIOFFI:    Okay.   Did you give him some tips?

  7               THE PROSPECTIVE JUROR:     Yes, I did, because I worked

  8     there many years, too, as a deli manager.

  9               MR. CIOFFI:    I saw that.   That's also dealing with a

 10     little bit of conflict; right?

 11               THE PROSPECTIVE JUROR:     Sometimes.

 12               MR. CIOFFI:    Thank you, ma'am.

 13               Ms. Howard.

 14               THE PROSPECTIVE JUROR:     Good afternoon.

 15               MR. CIOFFI:    Good afternoon.    How are you doing this

 16     afternoon?

 17               THE PROSPECTIVE JUROR:     I am fine.    Thank you.

 18               MR. CIOFFI:    How is retirement treating you?      How are

 19     you enjoying it?

 20               THE PROSPECTIVE JUROR:     I am enjoying it a lot.      I did

 21     a very stressful job.

 22               THE COURT:    Ms. Howard, we are having trouble hearing

 23     you.   Can you use the microphone, please.

 24               THE PROSPECTIVE JUROR:     Can you hear me?

 25               THE COURT:    That's better.    Thank you.
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  1                THE PROSPECTIVE JUROR:    Yes, I am enjoying my

  2     retirement.    I had a stressful job, so it's a welcome change.

  3                MR. CIOFFI:   Good.   Good.   It looks like one of the

  4     things you like to do is gardening, like Mr. Aguilar.         If you

  5     both were on the jury, that will give you something to talk

  6     about during the breaks.

  7                THE PROSPECTIVE JUROR:    I am not as fancy as he is,

  8     but yeah.

  9                MR. CIOFFI:   What kind of gardening do you like?       Do

 10     you have a particular -- plants that you like to cultivate, or

 11     flowers?

 12                THE PROSPECTIVE JUROR:    Flowers.    I like to grow

 13     orchids.    Just anything that blooms, actually.

 14                MR. CIOFFI:   What -- is the orchid your favorite

 15     flower, or do you have another one?

 16                THE PROSPECTIVE JUROR:    Yes, orchids are my favorite.

 17                MR. CIOFFI:   Okay.   When you look back over time, what

 18     is your favorite trip that you have been on, either trip or

 19     vacation?

 20                THE PROSPECTIVE JUROR:    My favorite was a few years

 21     ago we took a trip to London and Paris.       That was my favorite.

 22                MR. CIOFFI:   Okay.   Thank you.

 23                Mr. Gray.

 24                THE PROSPECTIVE JUROR:    Good afternoon.

 25                MR. CIOFFI:   Good afternoon.    When you answered the
                                                                             158
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  1     questions from opposing counsel about having difficulties with

  2     staying on the jury, et cetera, do you have thoughts about

  3     that, and your duties -- I think you mentioned early on, last

  4     week, even, that you were a single parent.

  5                THE PROSPECTIVE JUROR:    Yeah, I am a single father.

  6                MR. CIOFFI:   Will that pose a hardship to you serving

  7     on this jury?

  8                THE PROSPECTIVE JUROR:    Well, I was able to get her in

  9     daycare, so -- well, aftercare.      So can I pick her up.     So that

 10     won't be a problem.

 11                MR. CIOFFI:   What time does your aftercare sort of cut

 12     off?    When do you have to be there?

 13                THE PROSPECTIVE JUROR:    I have to pick her up by

 14     6:00 o'clock.

 15                MR. CIOFFI:   By 6:00 o'clock.    Okay.

 16                In your teaching career, tell us a little bit about

 17     what you like most about working with young people, and more

 18     importantly, teaching them.      Because, at least in my

 19     experience, teachers were incredibly influential.         How do you

 20     like and how do you measure up being a role model for young

 21     kids?

 22                THE PROSPECTIVE JUROR:    I guess the growth aspect.

 23     Just seeing their maturation from the beginning of the year to

 24     the end of the year is what motivates me.

 25                MR. CIOFFI:   And what age group do you teach?      What
                                                                             159
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  1     grades?

  2                THE PROSPECTIVE JUROR:     Middle school, so sixth and

  3     seventh.

  4                MR. CIOFFI:   Okay.    Which are really pretty tough

  5     years.

  6                THE PROSPECTIVE JUROR:     Yeah, definitely.

  7                MR. CIOFFI:   Tell us a little bit about what you cope

  8     with in middle school, because it's that big transition from

  9     elementary to high school.

 10                THE PROSPECTIVE JUROR:     I guess patience, I guess.

 11     Just knowing that one day they might curse you out, and then

 12     the next day they might, ask you how you are doing and want to

 13     give you a hug.    So just understanding they are going to have

 14     those emotional days.

 15                MR. CIOFFI:   And some days crying?

 16                THE PROSPECTIVE JUROR:     Yep.

 17                MR. CIOFFI:   Do you have a particular subject matter

 18     you teach or is it --

 19                THE PROSPECTIVE JUROR:     Yeah.   Actually, I teach

 20     civics, and they are going to take their test in two weeks, so

 21     we will see how they do.

 22                MR. CIOFFI:   Great.   Well, good luck.    Thank you.

 23                Mr. Rodriguez, please.

 24                THE PROSPECTIVE JUROR:     Yes.

 25                MR. CIOFFI:   Hey, good afternoon.
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  1                THE PROSPECTIVE JUROR:    Good afternoon.

  2                MR. CIOFFI:   You wrote that you are interested in

  3     programming, art, drawing, and avatar making.        Describe that a

  4     little bit more.    That's fascinating.     When you say "avatar

  5     making," what are you referring to?

  6                THE PROSPECTIVE JUROR:    For example, if somebody asks

  7     me to design them an avatar for a design for a company or for,

  8     like, a game or something like that, I will make it for them.

  9     I will tell them what they want to put on it, what they want to

 10     look like, and I will walk them through it, how I am making it,

 11     how I am doing it.

 12                MR. CIOFFI:   Can you give us an example?      Without

 13     giving away your intellectual property and something you might

 14     be trying to sell out there, what are a couple of things you

 15     made?

 16                THE PROSPECTIVE JUROR:    Well, for example, like, say I

 17     was -- say I am hired to make a replica of the courtroom right

 18     now.    I would make individual avatars of each person in the

 19     courtroom and make it look exactly how it looks like.

 20                It won't be exactly, like, match, but it will be like

 21     a small replica of it, basically, I would say.

 22                MR. CIOFFI:   Besides the artwork and the design, of

 23     which I assume is a passion of yours, what else do you like to

 24     do in your spare time?

 25                THE PROSPECTIVE JUROR:    I also like teaching people
                                                                             161
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  1     how to do the same thing that I do sometimes, because some

  2     people are passionate about the same thing.        I like teaching

  3     others of what I know and what I think they can know as well.

  4     I also like doing graffiti art as well.       My uncle has been

  5     teaching me that since I was young.       So that's also a passion

  6     of mine.

  7                And I always like to try new things, new designs, new

  8     styles, see what, like, shows me in the drawing, like, shows

  9     myself what I am interested in.

 10                MR. CIOFFI:   Great.   You mentioned that you are active

 11     in a church; is that right?       The Holy Name?

 12                THE PROSPECTIVE JUROR:     I used to when I was younger.

 13                MR. CIOFFI:   Okay.    Are you involved with either that

 14     particular church or another church, in terms of church

 15     activities and things like that?

 16                THE PROSPECTIVE JUROR:     That church, it was around

 17     like 2019, '18, around there.       I used to do, like, events, help

 18     them do, like, big programs for church, like raffles, raffles,

 19     small things for the community, for anybody who is, like, doing

 20     the auctions for charity and stuff like that.        I used to help

 21     them as well.

 22                And also for people who are doing First Communion.        I

 23     would help with the setup -- that for them as well.         That's the

 24     stuff I used to do all the time for that group.

 25                MR. CIOFFI:   Okay.
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  1                THE COURT:    You have three more minutes, Mr. Cioffi.

  2                MR. CIOFFI:   Thank you, sir.

  3                Mr. Reeves.

  4                THE PROSPECTIVE JUROR:    Yes, sir.

  5                MR. CIOFFI:   You are also no stranger to danger;

  6     right?   Tell us a little bit about your work in fire rescue.

  7                THE PROSPECTIVE JUROR:    I am not going to say it was

  8     dangerous, but, I mean, there was obviously, sometimes, some

  9     interesting things happen, but the police usually clear out

 10     before we go in, but it doesn't always work out that way.

 11                I mean, there's been shootings, with the police/gang

 12     shootings, where we went in and there was, you know, five or

 13     six dead and the cops running everywhere, but not that we felt

 14     we were in danger.

 15                MR. CIOFFI:   Thank you, sir.

 16                Mr. Ortiz.

 17                THE PROSPECTIVE JUROR:    Hello.

 18                MR. CIOFFI:   You indicated that you are a supervisor

 19     at USPS.    Could you tell us a little bit about that?

 20                THE PROSPECTIVE JUROR:    Very stressful.     So we

 21     basically -- I'm in charge of 70 -- between carriers, clerks,

 22     about 70 persons.    Everything is by time.      So we got to

 23     basically keep an eye on the clerks, carriers, that everything

 24     get done by a certain time.      And then we got to watch the

 25     budget, that everybody is moving the right -- moving on the
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  1     clocks too.

  2               MR. CIOFFI:    You, also in your form, mentioned you

  3     heard about the FARC.     What have you heard about the FARC?

  4               THE PROSPECTIVE JUROR:     Not much.    Just because my

  5     wife, she is from Colombia.      So she just say that they are not

  6     good people, basically.

  7               MR. CIOFFI:    Yeah, okay.

  8               Your honor, I think my time is up.

  9               THE COURT:    I will give you another minute.

 10               MR. CIOFFI:    Okay.   Thank you.

 11               Ms. Daly-Young.

 12               THE PROSPECTIVE JUROR:     Good afternoon.

 13               MR. CIOFFI:    Good afternoon.    The same thing I was

 14     asking Mr. Gray.    Teachers are so influential.      Tell us a

 15     little bit about your experience as a teacher and the best and

 16     worst of it.

 17               THE PROSPECTIVE JUROR:     Well, I am at the worst of it

 18     now.   No.   I teach high school, special needs.      So I have

 19     exceptional education students, and my role is mainly to help

 20     them to get through high school and get their degrees.

 21     Teachers, you know, wear a lot of hats these days, so I am also

 22     involved with the ACE and the AP testing, which is going on

 23     right now.    So I have mainly juniors and seniors this year.

 24     And I am at my 30th year of teaching, so I have seen a lot of

 25     changes in that time, in the students and how they act and how
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  1     they react.    That becomes more challenging every year, so...

  2               MR. CIOFFI:    Have you ever stopped, and thinking about

  3     all of the students you have taught over those 30 years and how

  4     many lives you impacted at a really impressionable age?

  5               THE PROSPECTIVE JUROR:     I think, you know, I have

  6     decided that if I can affect one or two students a year, I am

  7     doing really well, and I do have students that come back to me

  8     and remember me years later.      And I had them in elementary

  9     school, and now I have them in high school.        So it's

 10     interesting.

 11               MR. CIOFFI:    I think all teachers believe in the power

 12     of one; right?

 13               THE PROSPECTIVE JUROR:     Yeah, pretty much.

 14               MR. CIOFFI:    And how does it make you feel when you

 15     think about that?

 16               THE PROSPECTIVE JUROR:     Well, it's both rewarding and

 17     it's frustrating, in the sense that you wish you could reach

 18     more people, more kids.     You know, some of our kids have some

 19     real hard times, so...

 20               MR. CIOFFI:    Okay.   Thank you, ma'am.

 21               THE COURT:    Thank you, Mr. Cioffi.

 22               MR. CIOFFI:    Thank you, your Honor.

 23               MR. SCAROLA:    Your Honor, may we approach for a

 24     moment?

 25               THE COURT:    Okay.
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  1               (Thereupon, the following was heard sidebar.)

  2               MR. SCAROLA:    Your Honor, Mr. Gelfusa, Juror Number

  3     37, appears to have entirely skipped page 5 of the

  4     questionnaire.    And although he answered "yes" to 28, he was

  5     asked to respond about what he has heard, and did not respond

  6     to 28G.   Could we ask him to fill out those?

  7               THE COURT:    Or we can excuse everyone else and I can

  8     just ask him orally.

  9               MR. SCAROLA:    That's fine.    Page 5 and 28G.

 10               THE COURT:    I want to ask Mr. Kahn a couple more

 11     questions about his scheduling, and Mr. Battle about his

 12     graduation.   I forgot about that.     So then we will send them

 13     out, except Mr. Gelfusa.

 14               (In open court.)

 15               THE COURT:    Just a couple more minutes, ladies and

 16     gentlemen.

 17               Mr. Kahn, I just wanted to follow up with you about

 18     your scheduling.    Sorry that we keep harping on it, but it's

 19     important for you and it's important for us to know if we are

 20     going to be able to work with your schedule.        I thought I heard

 21     you say earlier that they might be able to take you out of

 22     turn.   Did I hear you say that?

 23               THE PROSPECTIVE JUROR:     In all three cases, they said

 24     that they would work with this court.

 25               THE COURT:    Okay.   And I believe you said be the trial
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  1     is going to start next week and it's going to go for two weeks.

  2     And that would be the first trial.       I am not talking about the

  3     latter trial.    I am talking about the first trial.

  4               THE PROSPECTIVE JUROR:     I believe the first trial is a

  5     three-week period.     However, they said that they would call me

  6     or prefer to call me during the second week, which was May 16

  7     or the 21st.

  8               THE COURT:    Okay.   But that's the second week of the

  9     trial, as far as you know?      The reason I am asking --

 10               THE PROSPECTIVE JUROR:     I think it's the second week

 11     and the beginning of the third week.

 12               THE COURT:    Of the trial, the actual trial?

 13               THE PROSPECTIVE JUROR:     Yes, your Honor.

 14               THE COURT:    Okay.   The reason I am asking is that I

 15     know the 17th you are taking your child to college.         The 10th,

 16     we are not going to be in session in this case on the 10th as

 17     well.   So I am wondering, is it possible, for the first trial,

 18     to have them have you give your testimony on that day?         That's

 19     what I am trying to figure out.      Because then we can work with

 20     that schedule.

 21               THE PROSPECTIVE JUROR:     I won't know unless I have

 22     that conversation.

 23               THE COURT:    Okay.   Would it be possible for you -- we

 24     are going to take a break while we make our decisions about who

 25     is going to be on the jury, so it's going to take about a half
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  1     an hour or so before we make those decisions.        Can you, during

  2     that break, make a call and see if they could take your

  3     testimony on May 10th?

  4               THE PROSPECTIVE JUROR:     I can make the phone call and

  5     see if I can make that connection, yes.

  6               THE COURT:    Okay.   All right.   Thank you.

  7               And then, Mr. Battle, again, I apologize.        I forgot

  8     about your child's graduation.      I think it was a son, yes?

  9               THE PROSPECTIVE JUROR:     Yes, sir.

 10               THE COURT:    So your son is graduating on the 29th?

 11               THE PROSPECTIVE JUROR:     Yes, sir, 9:00 o'clock.

 12               THE COURT:    9:00 o'clock.    And where is that

 13     graduation?

 14               THE PROSPECTIVE JUROR:     Freedom Shores.

 15               THE COURT:    Freedom Shores?

 16               THE PROSPECTIVE JUROR:     Elementary, yes, sir.

 17     Hypoluxo, in Boynton.

 18               THE COURT:    And do you have any idea how long that

 19     ceremony is going to take?

 20               THE PROSPECTIVE JUROR:     Like an hour or two, if I'm

 21     not mistaken.

 22               THE COURT:    Okay.   And it's supposed to start at 9:00?

 23               THE PROSPECTIVE JUROR:     Yes, sir.

 24               THE COURT:    And it's in Hypoluxo?

 25               THE PROSPECTIVE JUROR:     Yes, sir.
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  1                THE COURT:   And did you say it's an elementary school

  2     graduation?

  3                THE PROSPECTIVE JUROR:    Yes, it's the fifth grade

  4     going-on ceremony.

  5                THE COURT:   Okay.   All right.   Thank you, sir.

  6                All right.   I am going to ask everyone to take a

  7     recess while we make our decisions about who is going to be on

  8     the jury.    Don't discuss the case.     Don't form any opinions.

  9     Give us -- be back outside the courtroom around 4:00 o'clock.

 10     Hopefully, we will be ready for you by then.        If not, please be

 11     patient.

 12                And, Mr. Gelfusa, if you could just stay back for a

 13     minute.    I want to ask you a few questions.

 14                And then we will -- but, everyone else, you are

 15     excused.    And we will see you around 4:00 o'clock.       All right?

 16     Thank you.

 17                (The panel of prospective jurors exit the courtroom at

 18     3:31 p.m.)

 19                (Prospective Juror Gelfusa remains in courtroom.)

 20                THE COURT:   All right.   Please be seated, everyone.

 21                Mr. Gelfusa, we will get you the microphone, but --

 22     oh, you have it.    Okay, good.

 23                The reason I asked you to stay back is because when we

 24     were going through your questionnaire, we noticed that you

 25     skipped a lot of questions.      I don't know if that was by
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  1     accident or was intentional.      I guess I can give it back to you

  2     and we can discuss it and you can look at it, so why don't I

  3     have you -- if someone can -- Irene, can you give this back to

  4     Mr. Gelfusa.

  5               What questions, again, was it, Mr. Scarola, that he

  6     didn't answer?

  7               MR. SCAROLA:    Your Honor, it is page 5, beginning with

  8     question 19.

  9               THE COURT:    Okay.

 10               All right.    So do you see on --

 11               THE PROSPECTIVE JUROR:     I missed that page.

 12               THE COURT:    You missed that page?     Okay.

 13               Would you mind just orally answering those questions

 14     for us so we can have a little bit more information about your

 15     background?

 16               THE PROSPECTIVE JUROR:     Well, in architecture, there

 17     is -- well, in school, there is the AIAS, which is the student

 18     board of -- well, for the chapter of your region, and I was the

 19     vice president of that briefly during COVID.        But that's number

 20     19.   I guess that would be the response to 19.

 21               THE COURT:    What was the name of that organization

 22     again?

 23               THE PROSPECTIVE JUROR:     AIAS.

 24               THE COURT:    That's an architectural organization?

 25               THE PROSPECTIVE JUROR:     Yes.
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  1                THE COURT:   And what were your duties or

  2     responsibilities in the position you held?

  3                THE PROSPECTIVE JUROR:    It was pitching programs and

  4     pitching events to kind of encourage the students to like

  5     architecture.

  6                THE COURT:   Okay.   All right.   What about to 20?

  7                THE PROSPECTIVE JUROR:    "Passionate about any hobbies

  8     or interests outside of work."      Yeah, I actually run a, like,

  9     soccer group, where we play on Wednesdays and Sundays casually,

 10     just to -- yeah.

 11                THE COURT:   So you are a big soccer fan?

 12                THE PROSPECTIVE JUROR:    I like playing.     Watching, not

 13     so much.

 14                THE COURT:   Okay.   All right.   You are more active

 15     than passive?

 16                THE PROSPECTIVE JUROR:    For sure.

 17                THE COURT:   Okay.   All right.   21.

 18                THE PROSPECTIVE JUROR:    Like, online newspapers

 19     probably would be the...

 20                THE COURT:   Any particular newspapers that you

 21     generally follow?

 22                THE PROSPECTIVE JUROR:    It's pretty scattered, pretty

 23     much.   Like, on certain websites, like Reddit, they will just

 24     have just a bunch of different ones.       So just pick and choose.

 25                THE COURT:   Whatever strikes, whatever draws your
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  1     attention?

  2               THE PROSPECTIVE JUROR:     Pretty much, but yeah.

  3               THE COURT:    Nothing specific on a regular basis?

  4               THE PROSPECTIVE JUROR:     Yeah.

  5               THE COURT:    Okay.   And how about news?

  6               THE PROSPECTIVE JUROR:     I try to keep it balanced.

  7               THE COURT:    In what way?

  8               THE PROSPECTIVE JUROR:     Whatever is on.     And then kind

  9     of just not take everything to 100 percent.        I like the truth.

 10               THE COURT:    Do you watch any of the ones that are

 11     listed there at all, or do you watch some more than others?

 12               THE PROSPECTIVE JUROR:     Not really.    Just, it's all

 13     pretty even, I guess.

 14               THE COURT:    Okay.   You jump around?

 15               THE PROSPECTIVE JUROR:     Yeah.

 16               THE COURT:    Okay.   How about number 22?

 17               THE PROSPECTIVE JUROR:     No.

 18               THE COURT:    Have you ever served on a jury?

 19               THE PROSPECTIVE JUROR:     I have not.

 20               THE COURT:    And I'm sorry, Mr. Scarola, since he has

 21     my copy, what other --

 22               MR. SCAROLA:    28G, your Honor.

 23               THE COURT:    28G.

 24               MR. SCAROLA:    As a follow-up to 28C -- I'm sorry, 28B.

 25     28B is a "yes."    28G asks for details regarding that "yes"
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  1     response.

  2               THE PROSPECTIVE JUROR:      So 28 is in -- I marked either

  3     answer.

  4               THE COURT:    I'm sorry?

  5               THE PROSPECTIVE JUROR:      They are answered.    I don't

  6     know.    Am I --

  7               MR. SCAROLA:    May I, your Honor?

  8               THE COURT:    Yes.

  9               MR. SCAROLA:    28C is responded "yes" with regard to

 10     having read about narco-terrorist groups in Colombia, and then

 11     28G says:

 12               "If yes to any of the above, what have you heard or

 13     read?"

 14               THE PROSPECTIVE JUROR:      Okay.   Pretty much just like

 15     documented cartel videos that are just on the Internet.         Not

 16     necessarily Colombian; more like in the whole, like,

 17     narco-terrorist stuff, just like on Twitter or on anything.

 18     But not necessarily, like, specifically a Colombian one.

 19               THE COURT:    Anything that might prevent from you being

 20     fair in this case?

 21               THE PROSPECTIVE JUROR:      I don't think so.

 22               THE COURT:    Okay.

 23               All right.    Is that adequate, Mr. Scarola?

 24               MR. SCAROLA:    It is, your Honor.     Thank you very much.

 25               THE COURT:    Mr. Cioffi.
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  1               MR. CIOFFI:    Yes.

  2               THE COURT:    Mr. Cioffi, is that sufficient for you?

  3               MR. CIOFFI:    Yes, sir.

  4               THE COURT:    Okay.

  5               Thank you, sir.      If we could see you back in about a

  6     half an hour.    Appreciate your time.

  7               (Prospective Juror Gelfusa exits courtroom.)

  8               THE COURT:    All right.    How much time do you need

  9     before we do any additional cause strikes?

 10               MR. SCAROLA:    We have until 4:00 o'clock, sir.

 11               THE COURT:    For cause strikes?

 12               MR. SCAROLA:    No, you said how much time --

 13               THE COURT:    How much time do you need before --

 14               MR. SCAROLA:    Just for additional cause strikes?

 15               THE COURT:    Yes.

 16               MR. SCAROLA:    We can do it right now.

 17               THE COURT:    Do you have any additional cause strikes?

 18               How about, Mr. Cioffi, did you need any additional

 19     time for cause strikes?

 20               MR. CIOFFI:    Yes, Judge, about five minutes.      But,

 21     also, is the court going to rule first on the cause strikes we

 22     proposed?

 23               THE COURT:    We will do them all at once.      I just want

 24     to do them all at the same time.      Are you going to have any

 25     additional cause strikes, and how much time do you need to
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  1     formulate your position on them?

  2               MR. CIOFFI:    Five minutes or so, Judge.

  3               THE COURT:    Okay.   Five minutes.

  4               You don't need more than five minutes, do you,

  5     Mr. Scarola?

  6               MR. SCAROLA:    No, your Honor.

  7               THE COURT:    Okay.   How are we doing?

  8               MR. SCAROLA:    Plaintiff is ready.

  9               THE COURT:    Mr. Cioffi.

 10               MR. CIOFFI:    Ready, your Honor, on cause.

 11               THE COURT:    Okay.   So does the plaintiff have any

 12     cause strikes?

 13               MR. SCAROLA:    Yes, your Honor, we do.     We would move

 14     to strike Mr. Battle based upon his conflicts regarding the

 15     need to change out his defibrillator battery and his child's

 16     graduation.

 17               THE COURT:    Any objection to that?

 18               MR. CIOFFI:    No objection, your Honor.

 19               THE COURT:    Okay.   Granted.

 20               Any others?

 21               MR. SCAROLA:    Are we going to alternate?

 22               THE COURT:    Not on cause strikes, no.

 23               MR. SCAROLA:    Okay.

 24               THE COURT:    I want to know all of your cause strikes.

 25               MR. SCAROLA:    Yes, sir.   The next cause strike is
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  1     Mr. Kahn, number 18.      And our concern, your Honor, is with his

  2     multiple expert witness commitments that he is obviously

  3     concerned about and appear to be beyond his control.

  4                THE COURT:    Any objection?

  5                MR. CIOFFI:    Yes, your Honor.   I believe he said that

  6     he will work with the court.

  7                THE COURT:    I am not sure how we are going to be able

  8     to work with him.    I mean, I don't think it's a cause strike.

  9     This is a hardship, to me.     It's not that he can't be fair and

 10     impartial.    I just don't see how we are going to be able to

 11     work with his schedule.      And we are taking time, and we are

 12     already behind schedule.      We are taking days off on three

 13     Fridays.    If we start having to take time off to let him

 14     testify and -- I just don't see how it's going to work.         So,

 15     again, I don't consider him a cause strike because of his

 16     inability to be fair; I just think it's -- his schedule is not

 17     going to be adequate for us to work with.        So I am going to

 18     eliminate him for that reason, and not because he's an unfair

 19     gentleman, so...

 20                Any others?

 21                MR. SCAROLA:    No, your Honor, that's it for

 22     plaintiffs.

 23                THE COURT:    Mr. Cioffi.

 24                MR. CIOFFI:    Just renewing 115, Mr. Gray.     I think

 25     it's both.
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  1               THE COURT:    You don't need to tell me again.       You are

  2     renewing 115 and 135.     Any others besides 115 and 135?

  3               MR. CIOFFI:    No, your Honor.

  4               THE COURT:    Okay.   Do you want to be heard on

  5     Mr. Gray, Mr. Scarola?

  6               MR. SCAROLA:    Your Honor, it is our position that

  7     Mr. Gray made a strong commitment to be fair and impartial.          I

  8     don't believe that he meets the basis for an elimination on the

  9     basis for cause.

 10               THE COURT:    I am going to grant that strike because he

 11     was very -- he vacillated considerably, and he started off with

 12     his statement in the questionnaire saying he didn't think he

 13     could be fair.    And during my questioning, he pretty much

 14     indicated he didn't think he would be fair.        With your

 15     questioning, he kind of backtracked from that.        But to me, it's

 16     too ambiguous and unclear, so I am going to grant that strike.

 17               Do you want to be heard on Mr. Davis?

 18               MR. SCAROLA:    I do, your Honor.    Mr. Davis --

 19               THE COURT:    Well, I am inclined to deny Mr. Davis.       So

 20     I am going to give Mr. Cioffi a chance to try and convince me

 21     that he should be excused.      I am not sure it matters, because I

 22     think we have -- we are never going to get to Mr. Davis because

 23     of the number of jurors that are available.

 24               But you can be heard, if you want, on that,

 25     Mr. Cioffi.
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  1               MR. CIOFFI:    Thank you, Judge.    His negative opinions

  2     were pretty clear in his questionnaire, and then when we were

  3     questioning him at sidebar, I think he said he would try to put

  4     it aside.   But I didn't hear a strong commitment, not only that

  5     he would, I believe that he would try, but the real question is

  6     can he?   Because they are pretty clear opinions.

  7               "I don't like it when a large corporation does

  8     something that hurts a small business, whether on purpose or

  9     not."

 10               Just shows a bias towards big corporations and then

 11     bias towards specifically multinationals.        So I think he would

 12     try, but he was candid in saying he was not sure he could.

 13               THE COURT:    All right.   Well, I will just find that on

 14     the ultimate question, number 34, whether he would have any

 15     difficulty being fair.     Even though he had those opinions, he

 16     said, no, he wouldn't have any difficulty being fair.         So I am

 17     going to deny that strike for cause.       But I think it's a moot

 18     point because we are never going to reach him.

 19               All right.    So I just want to go through the panel

 20     that I say is still with us.      Go through the numbers and make

 21     sure we are all in agreement as to the eligible jurors.         I

 22     have:   Jurors 3, 20, 21, 31, 36, 37, 43, 52, 58, 61, 64, 68,

 23     70, 88, 96, 109, 125, 127, 130, 133, 134, 135, and 140.

 24               Does everyone agree that those are the eligible

 25     jurors?
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  1               MR. SCAROLA:    Yes, your Honor.

  2               MR. CIOFFI:    Yes, your Honor.

  3               THE COURT:    Okay.   So we are going to seat -- we have

  4     enough to seat ten jurors, and both sides can have five

  5     peremptories.    And we will have enough to move forward with

  6     that.   So how much more time do you want before we actually

  7     start with the exercising peremptories?

  8               MR. SCAROLA:    Seven minutes, sir.

  9               THE COURT:    Mr. Cioffi.

 10               MR. CIOFFI:    Perhaps a couple of minutes longer, in

 11     part because I have to use the restroom.       Less than 15.

 12               THE COURT:    Okay.   Well, how about we in -- 4:10 p.m.,

 13     we will be ready to go?

 14               MR. SCAROLA:    Yes, sir.

 15               MR. CIOFFI:    Yes, sir.

 16               THE COURT:    Thank you.

 17               (Recess taken 3:54 pm. through 4:12 p.m.)

 18               MR. SCAROLA:    Plaintiffs ready.

 19               MR. CIOFFI:    Defense ready.

 20               THE COURT:    What's the plaintiffs' position on Juror

 21     3?

 22               MR. SCAROLA:    We will accept number 3, your Honor.

 23               THE COURT:    Defense.

 24               MR. CIOFFI:    We accept number 3, your Honor.

 25               THE COURT:    All right.    The next juror is Juror 20,
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  1     Mr. Pollock.

  2               Defense.

  3               MR. CIOFFI:    Number 20, your Honor?

  4               THE COURT:    Yes.

  5               MR. CIOFFI:    Strike.

  6               THE COURT:    Juror 21.

  7               Plaintiff.

  8               MR. SCAROLA:    Before moving on, we note that Kent

  9     Irvin Pollock is a juror of color.       And we would ask that the

 10     defense articulate a race-neutral basis for excusing -- for

 11     exercising a peremptory challenge with regard to that juror.

 12               THE COURT:    All right.    Well, before I do that, I will

 13     refer everyone to the case of Central Alabama Fair Housing

 14     Center, Inc., versus Lowder Realty Company, Inc.         236 F.3rd

 15     629, Eleventh Circuit, 2000.       Just to lay out the Eleventh

 16     Circuit's procedure for Batson challenges, which is not --

 17     every time a member of a venire that is of a particular class

 18     is stricken, a race-neutral or nondiscriminatory reason needs

 19     to be put forth.

 20               In that opinion, the Eleventh Circuit said:

 21               "Supreme Court has established a three-part test for

 22     resolving equal protection challenges under Batson and its

 23     progeny to a party's attempted peremptory strike.         First, the

 24     party challenging the peremptory strike must establish a prima

 25     facie case of discrimination.       Second, if the court finds that
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  1     a prima facie case of discrimination is proven, the party

  2     making the peremptory strike is afforded the opportunity to

  3     articulate a nondiscriminatory explanation for the strike."

  4               The court goes on to say:

  5               "As this framework makes clear, the establishment of a

  6     prima facie case is an absolute precondition of further inquiry

  7     into the motivation behind the challenged strike.         Indeed, we

  8     have stressed that no party challenging the opposing party's

  9     use of a peremptory strike, whether that party be the

 10     government, a criminal defendant, or a civil litigant, is

 11     entitled to an explanation for that strike, much less to have

 12     it disallowed, unless and until the prima facie showing of

 13     racial discrimination is made."

 14               The court goes on to say:

 15               "In order to establish a prima facie case of racially

 16     discriminatory use of peremptory strikes, the party objecting

 17     to a peremptory strike bears the burden of establishing facts

 18     sufficient to support an inference of racial discrimination.

 19     In Batson, the Supreme Court offered two examples of

 20     circumstances that may support such an inference:         (1) engaging

 21     in a 'pattern' of strikes against venire members of one race,

 22     or (2) questions or statements during voir dire or in

 23     exercising challenges that suggest a discriminatory purpose."

 24               So I guess you need to show me, other than the fact

 25     that he's African American, why there is a prima facie case
                                                                             181
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  1     that is a discriminatory strike, other than the fact that he's

  2     African American.

  3                MR. SCAROLA:   Yes, sir.    And our position in that

  4     regard is that we have a detailed questionnaire from

  5     Mr. Pollock, Juror Number 20, and that questionnaire supports

  6     that he is an intelligent, impartial individual, as to whom

  7     there is no apparent basis for any concern about a bias or

  8     prejudice of any kind against the defendant.        To the contrary,

  9     he has indicated throughout his questionnaire the quality of

 10     his candidacy to serve on this jury.

 11                THE COURT:    Mr. Cioffi.

 12                MR. CIOFFI:    Your Honor, it's a peremptory.     We are

 13     not challenging his bias or prejudice, but it appeared to us

 14     that he -- during the voir dire exercise, that he embraced

 15     Mr. Scarola's presentation and seemed enthusiastic about that,

 16     seemed enthusiastic about the exercise itself.        And also his

 17     sister, he went out of his way to say, served in the Clinton

 18     Administration, and so we think, politically, he is certainly

 19     liberal.    And that's our view.

 20                THE COURT:    He is certainly what?

 21                MR. CIOFFI:    Liberal.

 22                THE COURT:    All right.    Well, I don't think that

 23     there's been a prima facie showing of discriminatory intent.

 24     Other than the fact that he's African American, I think that

 25     something more needs to be shown in order to make out a prima
                                                                             182
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  1     facie case under the Eleventh Circuit case law.        There is no

  2     showing of a pattern, and there was certainly no questioning

  3     that suggested a discriminatory purpose.       So I just don't think

  4     a prima facie case has been made out, and I am going to allow

  5     the strike, over objection.

  6               All right.    So Mr. Fisher.

  7               Plaintiffs.

  8               MR. SCAROLA:    We accept Mr. Fisher.

  9               THE COURT:    Defense.

 10               MR. CIOFFI:    We accept Mr. Fisher.

 11               THE COURT:    31.

 12               Defense.

 13               MR. CIOFFI:    We accept 31, Kerr.

 14               THE COURT:    Plaintiffs.

 15               MR. SCAROLA:    We accept.

 16               THE COURT:    Number 36.

 17               Plaintiffs.

 18               MR. SCAROLA:    We would exercise a peremptory challenge

 19     with regard to Juror Number 36, Jason Hart.

 20               THE COURT:    37.

 21               Defense.

 22               MR. CIOFFI:    We would exercise our peremptory

 23     challenge and strike 37, Mr. Gelfusa.

 24               THE COURT:    43.

 25               Plaintiff.
                                                                             183
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  1               MR. SCAROLA:    We would exercise a peremptory challenge

  2     with regard to James McIntosh, Juror Number 43.

  3               THE COURT:    52.

  4               Defense.

  5               MR. CIOFFI:    We accept Number 52, Mr. Berberian.

  6               THE COURT:    Plaintiffs.

  7               MR. SCAROLA:    We would strike Mark Berberian, Juror

  8     Number 52.

  9               THE COURT:    58.

 10               Defense.

 11               Oh, I'm sorry, 58 is plaintiffs'.       Sorry.

 12               Plaintiffs.

 13               MR. SCAROLA:    We would accept Theresa Gonzalez, Juror

 14     Number 58.

 15               THE COURT:    Defense.

 16               MR. CIOFFI:    We accept Juror Number 58.

 17               THE COURT:    61.

 18               Defense.

 19               MR. CIOFFI:    Defense exercises a peremptory challenge

 20     and strikes Juror 51 -- 61, excuse me, Mr. Bayless.

 21               THE COURT:    64.

 22               Plaintiffs.

 23               MR. SCAROLA:    We accept Ellen Mattingly, Juror Number

 24     64.

 25               THE COURT:    Defense.
                                                                             184
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  1               MR. CIOFFI:    The defense strikes Juror 64,

  2     Ms. Mattingly.

  3               THE COURT:    That's your fourth strike.     You only have

  4     one left.   I want to make sure you are aware of that.

  5               MR. CIOFFI:    Understood.

  6               THE COURT:    Okay.   Plaintiffs on Number 68.

  7               MR. SCAROLA:    We would accept Kelly O'Brien, Number

  8     68.

  9               THE COURT:    Defense.

 10               MR. CIOFFI:    The defense strikes Number 68,

 11     Ms. O'Brien.

 12               THE COURT:    So you are out of strikes.

 13               MR. CIOFFI:    Yes, sir.

 14               THE COURT:    Okay.   So it's up to plaintiffs whether

 15     you want to accept -- you have got two more strikes.         And you

 16     get to pick the rest of the jurors.       We have got six more to

 17     pick.   So out of the next eight, you get to pick the six.

 18               MR. SCAROLA:    Thank you, sir.    That will take us a

 19     moment, if we could.

 20               THE COURT:    Okay.

 21               MR. SCAROLA:    Your Honor, plaintiffs would exercise

 22     peremptory challenges with regard to Jurors 88 and 125.

 23               THE COURT:    All right.   So I am going to call out the

 24     names of the jurors that have been seated.

 25               Is there a disagreement among counsel there?
                                                                             185
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  1                MR. SCAROLA:   We are making sure that there isn't.

  2                Your Honor, we are going to accept 125 and -- oh, I'm

  3     sorry.   Mr. Garcia is going to announce on behalf of the

  4     plaintiffs' team the two peremptory challenges that we are

  5     going to exercise on the remaining eight jurors.

  6                THE COURT:    Yes, sir.

  7                MR. GARCIA:    Your Honor, we previously exercised a

  8     strike on 125, Mr. Pablo Rodriguez.       We would like to take that

  9     back and exercise it on Daniel Reeves, Number 127.

 10                THE COURT:    You are sure about that now?     You want to

 11     take a poll to make sure?

 12                MR. GARCIA:    Unless there are any other inputs, yes.

 13                THE COURT:    So Pablo Rodriguez is in?

 14                MR. GARCIA:    Stays.

 15                THE COURT:    And Mr. Reeves is out; is that correct?

 16                MR. GARCIA:    Yes.

 17                THE COURT:    All right.   So let me announce the jury

 18     numbers, and tell me if I have got it correct.

 19                Number 3, Number 21, Number 31, Number 58, Number 70,

 20     Number 96, Number 109, Number 125, Number 130, and 133; is that

 21     correct?

 22                MR. SCAROLA:   Yes, your Honor.

 23                THE COURT:    Defense agree those are the correct jurors

 24     that have been seated?

 25                MR. CIOFFI:    We agree, your Honor.
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  1               THE COURT:    Okay.   All right.   I am just going to

  2     point out Mr. Fisher said he had a trip on June 17.         I surely

  3     hope we are not still here on June 17.       But if we are here on

  4     June 17, I am going to let him go on his trip.

  5               MR. SCAROLA:    Yes, sir.

  6               THE COURT:    Okay.   And Irene is going on her trip too.

  7     That's even more important.

  8               All right.    So let's bring the jurors in.      I am going

  9     to ask all of you to please vacate the jury box.         We are going

 10     to seat the jurors in the jury box, have them sworn, and then

 11     we will recess for the evening.

 12               MR. SCAROLA:    While we are waiting for the jurors to

 13     come in, would it be possible to have access to the courtroom

 14     tomorrow at 8:00 a.m. to set up?

 15               THE COURT:    I assume as soon as they open up the

 16     courthouse and the court security clears or screens the

 17     courtroom, and they have to go through a screening or process

 18     every morning, once that's done, yes.

 19               MR. SCAROLA:    Thank you, sir.

 20               THE COURT:    So I will tell them to do it as soon as

 21     possible so you can get in as early as possible.

 22               MR. SCAROLA:    Thank you very much.     Your Honor, in an

 23     abundance of caution, in light of objections that have been

 24     raised to things that I have shown to the jury, I have a flip

 25     chart here, and it is my custom during opening statement,
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  1     occasionally, to write a note on the flip chart.         Is there any

  2     problem with doing that?

  3                THE COURT:   Well, I guess Mr. Cioffi is going to say

  4     you should have shown it to us, because you were supposed to

  5     exchange everything you were going to use in opening.

  6                MR. SCAROLA:   No, sir, our commitment was to

  7     exchange --

  8                THE COURT:   Let's talk about after we excuse the

  9     jurors.   Okay?

 10                All right.   Let's bring the jurors in.

 11                (The panel of prospective jurors entered the courtroom

 12     at 4:36 p.m.)

 13                THE COURT:   Welcome back.    Sorry again for the long

 14     wait.    I apologize.   But I always underestimate the amount of

 15     time it's going to take to pick the jury, so I was being

 16     optimistic.    Sorry to keep you waiting.

 17                Again, we appreciate your patience, and if you would

 18     try to understand how important it is, this part of the trial,

 19     to obtain a fair and impartial jury, and we thank you for your

 20     time and your efforts.

 21                I am going to call ten names.     When I call your name,

 22     if you could please take a seat in the jury box, and

 23     Ms. Ferrante will show you which seat you should sit in.          All

 24     right?

 25                Mr. Aguilar, Mr. Fisher, Ms. Kerr, Ms. Gonzalez,
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  1     Mr. White, Ms. Howard, Ms. Adams, Mr. Rodriguez, Mr. Perez, and

  2     Ms. Daly-Young.

  3               Everyone else, thank you again for your cooperation

  4     and your sacrifice of being with us.       You have all been here

  5     for two days, and we thank you for your willingness to serve.

  6     It was a pleasure having you, and good luck to all of you.           You

  7     need to keep calling for -- this is a second week; right?

  8               THE DEPUTY CLERK:    Yes.

  9               THE COURT:    You need to keep calling for the rest of

 10     the week to see if you are needed back on another case.         I

 11     don't believe there are any other cases scheduled for trial

 12     this week, so you are pretty safe, but just in case, you need

 13     to call that number until the end of the week.        All right?

 14     Thank you very much, and good luck to you.

 15               (Prospective jurors not selected exit the courtroom.)

 16               THE COURT:    Please be seated, everyone.

 17               Ladies and gentlemen, you are the jury that's going to

 18     try this case, and the first order of business is to have you

 19     sworn to be the jurors.     So if you can all rise and face

 20     Ms. Ferrante.    She will swear you in.

 21               (Jurors sworn in.)

 22               THE COURT:    Ladies and gentlemen, we are not going to

 23     keep you any longer this evening.      I am just going to remind

 24     you that we are going to recess.      Irene is going to show you

 25     where the jury room is and how to get into the jury room.           And
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  1     so tomorrow morning, when you come in, just go directly into

  2     the jury room.    Do not go downstairs to the third floor, where

  3     you have been the last few days.      Come up.    And she will show

  4     you how to get into the jury room.       And stay in that jury room,

  5     and that's where you will spend your breaks, in that room, for

  6     the remainder of the trial.

  7               I am going to remind you that you should not discuss

  8     this case with anyone, you should not form any opinions about

  9     the case, you should not do any research about the case, or

 10     about any of the people that have been introduced to you.          And

 11     tomorrow morning, we will get started with -- I will give you

 12     some additional introductory instructions, then we will hear

 13     the opening statements from the lawyers, and that will take up

 14     most of the day, and then we will see if we are going to get

 15     beyond opening statements tomorrow.       We will talk about that.

 16     I want to talk to the lawyers about that.        We will let you know

 17     tomorrow.   But most of the day is going to be listening to the

 18     opening statements of the attorneys, and then we may start with

 19     the testimony tomorrow afternoon.       All right?   So, again, thank

 20     you for your willingness to serve.       We appreciate it all very

 21     much.   And we will see you tomorrow morning at 9:00 o'clock.

 22               Yes, sir.

 23               THE JUROR:    A couple of questions.     What time do we

 24     report into this room?

 25               THE COURT:    9:00 o'clock.
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  1                THE JUROR:   9:00 o'clock?

  2                THE COURT:   9:00 o'clock.

  3                THE JUROR:   Back to the estimates of the length of

  4     this trial.    I heard you say four to six weeks.      Then I heard

  5     one of the counsel say, "Oh, it might go longer than eight."

  6     What is the accurate assessment?      Because when I spoke to

  7     hardship, it was in that four-to-six range.        If we go beyond

  8     six, then that's another story.      What is the accurate estimate?

  9                THE COURT:   Okay.   Well, I have to rely on the lawyers

 10     to tell me how long they think the case is going to take to

 11     present.

 12                THE JUROR:   I heard only four to six, up until today.

 13                THE COURT:   I understood it's six, and the only reason

 14     they may have said longer is because it's taken us a few extra

 15     days to get the jury selected, and then we are going to have a

 16     couple of days off during the course of the trial, so maybe

 17     they are thinking it might take maybe a little bit beyond the

 18     six weeks, but I'm not sure about that.

 19                THE JUROR:   Four to six is no longer accurate, in your

 20     estimation?

 21                THE COURT:   I think six is accurate.

 22                THE JUROR:   Okay.   Very good.

 23                THE COURT:   Okay.   But let's assume it goes past six,

 24     what is your issue?

 25                THE JUROR:   Well, there's things, family matters, that
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  1     are coming up in the -- certainly the seventh, particularly the

  2     eighth week, yes.

  3                THE COURT:   Okay.   Well, I don't expect us --

  4                THE JUROR:   If it goes to the tenth, it's even more.

  5                THE COURT:   Well, I not have any doubt --

  6                THE JUROR:   I do not have a hardship through six

  7     weeks.    Beyond that, I do.

  8                THE COURT:   Okay.   Well, we certainly will do our best

  9     to get it done within the time frame that we represented to

 10     you.

 11                THE JUROR:   Thank you.

 12                THE COURT:   All right.   Anything else before we

 13     recess?

 14                Yes, sir.

 15                THE JUROR:   May 29, for my daughter's graduation.

 16     That's the only issue I have.

 17                THE COURT:   May 29 is a day we are not going to be in

 18     session; is that correct, or was it the 31st?

 19                Oh, I'm sorry, it's the 31st.     When is your daughter's

 20     graduation?

 21                THE JUROR:   The 29th.

 22                THE COURT:   The 29th.    What time is that?

 23                THE JUROR:   10:00 a.m.

 24                THE COURT:   10:00 a.m.   Okay.   May 29.   That was the

 25     31st that we had off.     Okay.
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  1               All right.    We are not going to let you miss your

  2     daughter's graduation.

  3               And I saw another hand.

  4               Yes, ma'am.

  5               THE JUROR:    So we don't know what time we will be here

  6     until tomorrow?

  7               THE COURT:    9:00 o'clock.

  8               THE JUROR:    We will be here in the morning, but how

  9     long?

 10               THE COURT:    I don't expect us to be later than 5:00.

 11     So the normal schedule will be 9:00 to 5:00.        I mean, it's

 12     possible that if we are trying to finish with a witness and

 13     it's going to be a relatively short amount of time, past 5:00

 14     o'clock, to get the witness completed so we don't have to have

 15     the witness come back the next day, we might ask you to stay a

 16     little longer.    But if there are think problems with that, I

 17     will ask you whether you can stay past 5:00 on a particular.

 18     "Is it okay if we stay a little longer to finish this witness?"

 19     If you say, "No, I have got something planned, and I can't stay

 20     past 5:00," then we are not going to stay past 5:00.

 21               THE JUROR:    I had a doctor's appointment tomorrow at

 22     2:00.   That's why I was asking.     I didn't know if I was going

 23     to be selected.    It was up in the air.     So this was a really

 24     important appointment.     That's why I was asking how long was it

 25     going to be tomorrow.
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  1               THE COURT:    Tomorrow, we are going to be here past

  2     2:00.   Are you going to be able to change your appointment?

  3               THE JUROR:    I am going to have to.

  4               THE COURT:    Okay.    All right.   I'm sorry about that.

  5               All right.    So follow Ms. Ferrante into the jury room.

  6     We will see you tomorrow at 9:00 o'clock.        Thank you very much.

  7               (The jury exited the courtroom at 4:46 p.m.)

  8               THE COURT:    We are going to have all kinds of

  9     scheduling issues here.

 10               So you can all be seated.      One of the jurors, I think,

 11     said she may have left her phone.       Does anybody see a phone

 12     back there?

 13               What is it you want to do in opening, Mr. Scarola?

 14               MR. SCAROLA:    Your Honor, from time to time during my

 15     opening statement, I make notes on a yellow pad.         I find that

 16     many jurors are visual learners as well as auditory learners,

 17     and to assist the visual learners, I might write a couple of

 18     words on the flip chart during my opening statement.         They

 19     don't exist now.    I am not sure what the words might be.        And

 20     even if I knew what they might be, I would prefer not to

 21     disclose them in advance.       But I don't know what they might be.

 22               THE COURT:    All right.    Well, we will see how it

 23     develops, and if there are any objections, I will deal with

 24     them when they are raised.

 25               MR. SCAROLA:    Thank you, sir.
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  1                MR. CIOFFI:   Judge, just so the record is clear, as

  2     long as can I do the same thing.

  3                THE COURT:    I am certainly not going to let him do one

  4     thing and you can't do what I let him do.        Yes, of course.

  5                MR. CIOFFI:   From time to time, I might jot down some

  6     things.

  7                THE COURT:    If he's going to get to to do it, you will

  8     get to do it.

  9                MR. CIOFFI:   Thank you, Judge.

 10                In terms of the timing tomorrow, is three hours still

 11     what --

 12                THE COURT:    That's what I understood, and so it sounds

 13     like the morning is going to be taken up with the plaintiffs'

 14     opening.    We are going to have to take at least one break.         I

 15     would suggest after Mr. Scarola presents his initial

 16     presentation on liabilities, as he indicated that was his area

 17     for the opening, that we take a break then, and then let the

 18     other attorneys do their openings.       Then we are probably going

 19     to run into the lunch hour, and have to take a lunch break, and

 20     then you get to present yours.      I don't know.

 21                How long do you think yours is going to take?

 22                MR. CIOFFI:   Something less than three hours.

 23                THE COURT:    Yeah, that's what I assumed.     So let's

 24     assume we finish with the openings around 3:00 o'clock, 3:30.

 25     Are we going to start with evidence tomorrow?
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  1               MR. SCAROLA:    We have a witness by deposition that I

  2     think we could have ready to go.

  3               THE COURT:    And who is that witness?     Because is it a

  4     deposition that I have already done?

  5               MR. SCAROLA:    Yes, sir, it is.

  6               THE COURT:    All right.    All right.   We better use up

  7     as much time as we can.     So if we have time for a witness

  8     tomorrow, let's do it.

  9               MR. DANTE:    Your Honor, we don't have the video from

 10     plaintiffs yet, if they are planning on playing a video

 11     tomorrow.

 12               THE COURT:    Okay.   I don't know what the arrangement

 13     or understanding was as far as exchanging the videos.

 14               MR. SCAROLA:    Twenty-four hours in advance.      If I

 15     recall correctly.    Isn't that right?

 16               MS. FUNDORA-MURPHY:      Yes, which we are past that now.

 17     So 24 hours --

 18               MR. SCAROLA:    Well, I didn't anticipate --

 19               THE COURT:    Hold on.   Hold on.

 20               Yes.

 21               MR. SCAROLA:    I did not anticipate putting witnesses

 22     on tomorrow.     With three hours on our part in the morning and

 23     three hours on their part in the afternoon, I didn't anticipate

 24     that.   But if we are going to put a witness on, it will be

 25     Mr. Aguirre by video deposition.
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  1                THE COURT:    Okay.   So let's think about the timing.

  2     Obviously, the whole morning is going to be taken up with

  3     plaintiffs.    Defense says less than three hours.       Let's assume

  4     we start at 1:30 p.m. in the afternoon.       It's going to be at

  5     least two hours, maybe two hours at least?

  6                MR. CIOFFI:    Yes.

  7                THE COURT:    So that's 3:30 by the time we finish.      So

  8     we were going to have maybe an hour to an hour and a half of

  9     time available.    How long is Aguirre's deposition going to take

 10     to play?

 11                MR. SCAROLA:   We don't -- those of us who are seated

 12     in the courtroom don't have that timing right now.

 13                THE COURT:    Okay.   So get them the video, you know,

 14     immediately, please, so they can review it.        And then we will

 15     deal tomorrow with the issue of whether they have had enough

 16     time to review the video and whether we are going just to put

 17     off until Wednesday the first witness.       Okay.

 18                MR. SCAROLA:   Yes, sir.    Will do.

 19                MR. CIOFFI:    The witnesses, your Honor, the remainder

 20     of the week?

 21                MR. DANTE:    Before we move on to witnesses, your

 22     Honor, with respect to Mr. Aguirre, if there are any exhibits

 23     that were going to be disclosed during the deposition to the

 24     jury tomorrow, we were supposed to have those by noon today.

 25     So we'd just ask for those immediately as well.
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  1               THE COURT:    Okay.   Yes.

  2               You will get them the exhibits as well?

  3               MR. SCAROLA:    Yes, sir.

  4               MR. CIOFFI:    And witnesses for the remainder of the

  5     week.

  6               THE COURT:    Well, I guess you are supposed to give

  7     them to them two business days ahead of time.        So I guess I am

  8     not sure that you are due for the Friday ones yet, but I guess

  9     you are due for the others.      So I have to -- I guess I have to

 10     keep a timer up here.     So you can talk about that --

 11               MR. SCAROLA:    Thank you, sir.

 12               THE COURT:    -- after we recess.    All right?

 13               Have a nice evening, everyone.

 14               MR. SCAROLA:    You too.     Thank you, your Honor.

 15               THE COURT:    I have been advised that the earliest you

 16     can have the room tomorrow is 8:30.

 17               MR. SCAROLA:    Thank you, your Honor.

 18               (Proceedings adjourned to 4/30/2024, at

 19     9:00 a.m.)

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              I hereby certify that the foregoing is an accurate

        transcription of the proceedings in the above-entitled matter.



        April 29, 2024            /s/ Jill M. Wells
                                  Jill M. Wells, RMR, CRR, CSR
                                  Federal Official Court Reporter
                                  400 N. Miami Avenue
                                  Miami, FL 33128
                                  jill_wells@flsd.uscourts.gov
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